     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 1 of 249



 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN , et al   :
 7           Defendants.     :
   ------------------------x
 8

 9                           Thursday, June 15, 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 9:57 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE TESTIMONY AND PROCEEDINGS
15       OF THE CASE AS RECORDED    AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




                                                                Page     1
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 2 of 249



 1                               I N D E X

 2
                           DIRECT       CROSS    REDIRECT   RECROSS
 3 Nathan King                            17       33         42

 4 Dave Martini            48             73       75,132      91,136

 5 Horace   Smith          141           176       198

 6 Kyle Fulmer             206           219       228         236

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23                                                          Page

24 Reporter's Certificate                                   249

25 Concordance                                              250




                                                                  Page   2
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 3 of 249



 1            THE COURT:     I understand    there 's a preliminary

 2 matter ?

 3            MS. GREENBERG:     Your Honor , just relating          to the

 4 discussion     we had yesterday       as to cross-examination         of

 5 witness es under Rule 609 .

 6            As to Horace    Smith , the court ruled that the

 7 notice     was sufficient , given the nature          of this case .

 8 Mr. Martin     gave me a list of the follow ing convictions

 9 as to Mr. Smith .        The first , a conviction        on June 23 ,

10 19 95 , larceny   by check in Fairfax          county ; September     19 ,

11 19 95 , forgery   of check s in Arlington C ounty ; January

12 24 , 19 97 , credit     card fraud in Fairfax        County ; January

13 24 , 19 97 , larceny , in Alexandria;          Au gust 15 , 19 97 ,

14 burglary     and grand larceny , Virginia .

15            I appreciate    him giving    me the additional

16 convictions     within    the ten year s, and I just have two

17 question s for the court .       1.     H as the court already

18 made the determination        as to the one s outside         the ten

19 year s that the 609 (b) standard         is met ?     In other words ,

20 that these would substantially           --

21            THE COURT:     No , I have not made that

22 determination .

23            MS. GREENBERG:     Your Honor , at this time I would

24 submit , then , that for a larceny            and forgery   of check s,

25 which is basically , you know , falsifying             check s to get




                                                                    Page      3
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 4 of 249



 1 money , that are at this point 11 year s old , that the

 2 probative    value is not the substantial               -- the

 3 prejudicial     effect    of these -- of introducing             these

 4 conviction s is not substantially             out weigh ed by the

 5 prob ative value under 609 (b).            As the     court know s,

 6 that 's a different       standard    than 609 (a), which 609 (a)

 7 does not have the substantial              language .

 8            My second    question    is just to clarify           -- again ,

 9 I appreciate     Mr. Martin       giving    me this list , but there

10 is also a probation        before    judgment       conviction    as to --

11 if you want to call it a conviction                 -- as to Mr. Smith ,

12 and I just don't want to be blind -side d that it 's not

13 on the list but it is within           ten year s.        I would bring

14 up the    probation     judgment    at the bench .        But since he

15 gave me an entire        list of prior convictions           that he

16 intends    to use , I trust that the probation              before

17 judgment    is not going to become           an issue .

18            THE COURT:     That should       not become     an issue

19 unless    there 's something       Mr. Martin       is going to tell me

20 that I'm wrong .

21            MR. MARTIN:     No .    Those were the convictions            I

22 intend ed to focus on , Your Honor .

23            In term s of address ing the 403 balanci ng

24 requirement , I would respond          by say ing , any witness          who

25 take s the witness       stand put s their credibility            at




                                                                        Page     4
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 5 of 249



 1 issue .    These crime s go direct ly to trustworthiness .

 2           THE COURT:       Tell me what the crime s are that are

 3 more than ten year s old .

 4           MR. MARTIN:       If you can stand by, sir .

 5           THE COURT:       I was n't able to keep up with      Ms.

 6 Greenberg 's list .

 7           MR. MARTIN:       Actual ly , I made a second     copy .     If

 8 she has a second       copy , I can just hand it to the court .

 9           THE COURT:       Yeah , that would be easier      if you

10 could just hand it to me .

11           MR. MARTIN:       May I approach ?

12           THE COURT:       Yes , you may .    Just hand it up here .

13           That 's fine .     Thank you .

14           MR. MARTIN:       I'll read them into the record ,

15 Your Honor .

16           THE COURT:       Okay .

17           MR. MARTIN:       The first , as the court can see , is

18 the 23 June , 19 95 larceny         conviction   in Fairfax   County ;

19 the second     is the 19 September       '95 forgery   of check s in

20 Arlington    County ; the third being the 24 January           19 97

21 credit    card fraud conviction        in Fairfax   County ; the

22 fourth    being the 24 January        '97 larceny   in Alexandria;

23 and the last being the 15 August             '97 burglary   and grand

24 larceny    conviction    in Virginia .

25           THE COURT:       What is the status     -- are these the




                                                                 Page      5
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 6 of 249



 1 state at the time of the conviction , or the date s that

 2 the sentence     was concluded ?

 3            MR. MARTIN:     That 's a good question , Your Honor .

 4 I think those were the date s he was actual ly convict ed ,

 5 but I can check very quick ly if you 'd like .

 6            MR. WARD:     Your Honor , I think under 609 (b), the

 7 rule , it is from the witness ' conviction          or re lease

 8 from confinement,        which ever is later .

 9            THE COURT:     Do we know the re lease date on

10 these ?

11            MR. MARTIN:     Sorry , sir ?

12            THE COURT:     Do we know the re lease date under

13 these ?

14            MR. MARTIN:     I don't .

15            THE COURT:     These may all be less than ten year s

16 is why I'm asking .

17            MR. MARTIN:     If it 's less than ten year s, then

18 the rule , I don't think , even appli es .

19            THE COURT:     I mean , the first two -- unless        the

20 sentence    was very light , it would appear        to be -- might

21 be less than ten .        I don't know .

22            MR. MARTIN:     The larceny     by check that I

23 referred    to -- let 's see .     Guilty   June 23 , 19 95 .

24            Did I list that , Your Honor ?

25            MS. GREENBERG:     Yes .    It 's your first one .




                                                                   Page    6
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 7 of 249



 1            MR. MARTIN:    It simply      says , "found guilty ."

 2 That 's the day he was found guilty .           It does n't say

 3 whether    or not   that was the date he was actual ly

 4 sentence d.     There was a false pre tense s.          There was no

 5 indict ment on that , so I didn't         list it .

 6            There was a forgery     of check s where he was found

 7 guilty    on 21 -- I'm sorry , on the 21st day of February

 8 19 97, and it simply      says , "guilty ."     It does n't say

 9 whe ther he was sentenced       on that date .        So , I guess

10 what I did was I just went through            the rap sheet , and

11 wherever    I saw the date that a "guilty " verdict               was

12 entered , those were the date s that I listed .

13            THE COURT:    So we don't know the re lease date ?

14            MR. MARTIN:    No, sir .      I don't .

15            THE COURT:    A ll right .     Assuming    that the first

16 two are one s outside       the ten year s, what is the

17 government 's argument       on them ?

18            MS. GREENBERG:     Your Honor , not to take up the

19 court 's time simply      re stati ng the rule -- and as we'll

20 certain ly get to convictions         like this in the defense

21 case , I want ed the court to know about the standard ,

22 which is hard to meet but not im possible              to meet .

23 Based on the offense s, it look look s like they're

24 standard    pass ing bad check s by a different          name .

25            THE COURT:    I think the probative         value of these




                                                                     Page   7
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 8 of 249



 1 convictions , in light of the fact that they deal with

 2 dis honest     behavior      going to credibility , outweigh s the

 3 prejudicial      effect , and I will permit        the

 4 cross-examination        .

 5           MS. GREENBERG:         Your Honor , the second           thing --

 6 just as a housekeeping           matter , and to move thing s

 7 along .      If any defense      counsel    want s to use this

 8 system , it does take some time to make sure that it 's

 9 work ing .     We try and come in early and do that in the

10 morn ing , but if they would like it with a particular

11 witness , a heads up to the case agent would be

12 appreciate d.

13           THE COURT:         Counsel , please   do that so we don't

14 have mechanical         delay s while we're do ing it .

15           MR. MONTEMARANO :           For that , I apologize , Your

16 Honor .      I should    have thought      it through .

17           THE COURT:         That 's fine .

18           Two question s.        Is    the jury here ?

19           THE CLERK:         We were miss ing two just a minute

20 ago .

21           THE COURT:         Okay .    Is the witness     here ?     Because

22 there was an issue about that .

23           THE WITNESS:         He 's back in the hold ing tank .

24           THE COURT:         Mr. Sussman .

25           MR. SUSSMAN :        Just a quick matter .        I told Ms.




                                                                        Page     8
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 9 of 249



 1 Johnston , in look ing at the Jenks , there 's -- a guy 's

 2 going to testify , either          today or tomorrow , Michael

 3 Thurman.     In     reading   his testimony , he relate s an

 4 incident    where a person        name d "Gerald    Isles"    (phonetic)

 5 allegedly    sold drug s to Ms. Martin .           I represent     Gerald

 6 Isles,    and I represent       him in a case that is going to

 7 trial in September         in front of Judge Lamberth          in D. C.

 8            It 's not a problem       with Ms. Martin.        The

 9 incident    does n't concern       anything    that involve s her .       I

10 haven't    consult ed with      Mr. Isles about it .         I don't

11 think he would have a problem , either .              He has been

12 repute d to have sold drug s to many , many people .                I

13 want ed to put it on the record .             I don't think     it 's a

14 conflict    or problem , but I thought          we ought to air it

15 for the court .

16            THE COURT:      Anybody    else want to raise an issue

17 about that ?

18            All right , you've      place d it on the record .

19            Mr. Martin , I was maki ng certain         I didn't     cut

20 you off on a proffer .          Is there any additional         proffer

21 you want to make ?

22            MR. MARTIN:        Not at this time , sir .

23            THE COURT:      All right .    Everybody    get s a chance

24 to proffer        away .

25            MS. JOHNSTON:        Your Honor , jus t so the record          is




                                                                      Page    9
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 10 of 249



 1 clear .     Mr. Thurman     does not know Mr. Sussman 's client

 2 in this case , Ms. Hard in, to the government 's

 3 knowledge .

 4            THE COURT:     I didn't     see any issue , but thank

 5 you for bring ing it to the court 's attention .

 6            All right .    We will see how we're doing with the

 7 juror s.

 8            MR. MONTEMARANO :      One other matter , brief ly .

 9            THE COURT:     Yes, sir .

10            MR. MONTEMARANO :      I just spoke to Ms. Johnston

11 about try ing to    get some information        to insure      that

12 there would not be any impediment            to the continuation

13 of the trial .     At this point , I believe       that I will be

14 seek ing to recall       Nathan   King .   There is a mass ive

15 amount     of information     still in my office     concern ing him

16 that I need to check through           this weekend .   In ,

17 particular     four CDs of call s from       Marion C ounty ,

18 Indiana , the jail where he was locate d.

19            THE COURT:     You mean to recall     him for

20 additional     cross ?

21            MR. MONTEMARANO :      Or as a part of the defense

22 case .

23            THE COURT:     All right .

24            MR. MONTEMARANO :      I'm not sure how the court

25 would like to do that , since he is from out of state .




                                                                   Page 10
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 11 of 249



 1 I understand    he 's do ing time out of state .

 2           Would the court permit        me to do further        cross

 3 examination    on Tuesday?        Or even tomorrow , depend ing on

 4 when I get the materials          sort ed out ?    I will     probably

 5 be in the office     on Sunday      going through      it .    Or , in

 6 the alternative , should         I have a writ and bring him in ?

 7           MS. JOHNSTON:      Your Honor , I would object          to

 8 counsel   do ing cross later .       He has had CDs of jail

 9 call s for many , many , many month s.            He had those in

10 discussion    that would not -- he did not receive               those

11 at the last minute .       That would be beyond         the

12 government 's direct      examination .

13           If there are other call s he want s to question

14 about , there would be question s of admissibility                about

15 those call s in term s of the hearsay             exception    because

16 they would n't necessarily         be statement s of the parti es

17 against   their interest .        It would n't necessarily        be in

18 furtherance    of the conspiracy , clear ly , if the defense

19 want s to introduce     them .     So , there are a myriad        of

20 issue s concern ing that .

21           It would be in appropriate       for him now to have

22 the weekend    to decide     whether   or not he has further

23 basis to cross -examine .         There is nothing      surprisi ng

24 about what Mr. King is say ing .          We went so far as to

25 give him copies     of the transcript       of Mr. King 's




                                                                    Page 11
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 12 of 249



 1 testimony     in his Mississippi       state case back in '95 and

 2 '96 of that suppression        hear ing because       we happened    to

 3 have that .

 4            In term s of those jail call s.         They were

 5 previous ly provided .       So , if counsel      think s there 's

 6 some base s for him to call him as his witness , I don't

 7 know -- the mar shals have been want ing to send our

 8 writ ted prisoner s back as soon as we re lease them so

 9 that -- because        of housi ng problem s here .      If the court

10 wants to     ask the marshals to       hold him so that Mr.

11 Montemarano     has time over the weekend          to decide    whether

12 or not he needs to call him as a defense               witness , the

13 government     has no objection       to that .    I'm sure that the

14 mar shals would       accommodate    hold ing him for a few more

15 day s.    I don't think     the mar shals can send him back and

16 then Mr. Montemarano        do a writ and necessarily          get him

17 back .

18            THE COURT:     I don't want to have them make round

19 trip s if they don't need to, but I can ask the mar shals

20 to keep him here .        We're not going to keep him here

21 forever .

22            MR. MONTEMARANO :        So Ms. Johnston    is clear , we

23 have had these CDs for month s.            I'm speak ing about

24 further     cross .    Call ing him about defense       witness es

25 revolv ing around       question s he answered      yesterday




                                                                   Page 12
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 13 of 249



 1 afternoon , following        the break .

 2            THE COURT:      Look .    If the jury is ready , I want

 3 to bring them , and I will          ask the marshals,     even if he

 4 finishes    today , to keep him here until next week and

 5 we'll finally     resolve     the question     of whether       he get s

 6 --

 7            MR. MONTEMARANO :        Thank you , sir .

 8            THE COURT:      -- further    cross -examine d or held

 9 here for a defense       witness .

10            MR. MCKNETT :     May I consult     with the government

11 while the jury is comi ng in , just for ten seconds ?

12            THE COURT:      That 's fine .

13            MS. JOHNSTON:      One other matter .        I've spoke n to

14 defense    counsel , and they have agreed to stipulate                  that

15 the call s that were play ed -- the jail call s that were

16 play ed were actual      record ing from the Marion C           ounty

17 Jail that were made on the date and time as set forth

18 in the transcript .

19            THE COURT:      Why don't you announce        that

20 stipulation     when jury come s in ?

21            MS. JOHNSTON:      I will.

22            We are work ing on a drug stipulation           to

23 eliminate    another    witness     later this morn ing that has

24 to do with Mr. Martin 's client , and I believe                 they've

25 all sign ed that .      So , we will save that one .




                                                                     Page 13
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 14 of 249



 1           THE COURT:     All right .

 2           MR. MONTEMARANO :      So it 's clear , Your Honor .

 3 Those are call s from      the CDs that I would be seek ing to

 4 perhaps    introduce    other call s on from , so we're on the

 5 same page .

 6           THE COURT:     All right .

 7           MR. WARD:     I asked for the large board with

 8 picture s on it to be produced          today , and I want to make

 9 sure it 's here .

10           THE COURT:     I think it 's right there , isn't it ?

11 Unless    that 's a different    exhibit , that 's right in

12 front of them .

13           MR. WARD:     Is that the same one ?

14           THE COURT:     Yes .   It 's right here .

15           MR. WARD:     Oh , good .    Thank you , Judge .

16           THE COURT:     Well , I see the back of it , but I

17 assume    it 's the same one .

18           One of the juror s is late because          he was stuck

19 be hind a presidential       motor cade .     You can use that

20 excuse    once during    this trial .       The , "I forgot   my coat "

21 routine    -- yes, ma'am ?

22           MS. JOHNSTON:      Your Honor , Mr. McKnett         has asked

23 the government      to stipulate      to a change   of one of the

24 transcript s.     The government       does n't recall   what was

25 said on the tape , so I've suggest ed to him that he just




                                                                  Page 14
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 15 of 249



 1 play that call , but I don't want , in his question , or

 2 in front of the       jury , any reference    to the fact that he

 3 asked the government       to agree to this change       and that

 4 we didn't .       So , we'll cue it up and play it for him .

 5           THE COURT:      Let the jury decide     what the correct

 6 version    is .    That 's what I've told them when the case

 7 began .

 8           MR. MCKNETT :     Your Honor , I would not -- I would

 9 simply    not do that .    I would ask the gentleman        to a --

10 for the record , I what I asked was , there 's a word on

11 Page 25 , Line 3 --

12           THE COURT:      Wait a minute .    I've got to get --

13 which volume ?

14           MR. MCKNETT :     It 's in Mr. King 's transcript .

15           THE COURT:      Mr. King ?

16           MR. MCKNETT :     Page 25 .

17           Your Honor , it 's just a tense change         from "send "

18 to "sent ."       That 's all I was asking    about .   I was not

19 im ply ing the government      was not cooperating      in any way .

20           THE COURT:      What page was it ?

21           MR. MCKNETT :     Page 25 , Your Honor .

22           THE COURT:      Page 25 .

23           MR. MCKNETT :     It 's the conversation      on December

24 21 at 15 :03 hours .

25           THE COURT:      Where is it on the page ?




                                                                Page 15
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 16 of 249



 1          MR. MCKNETT :      The third line down .

 2          THE COURT:      Where it says , "Y ou send me ?"

 3          MR. MCKNETT :      Where it says , "You send me ."       I

 4 heard it to say , "Y ou sent me ."

 5          THE COURT:      Sent me ?

 6          MS. JOHNSTON:       Your Honor , it 's in the middle          of

 7 a section   that we play ed .

 8          With the court 's permission , can the agent cue

 9 it up now while we're wait ing for the jury ?

10          THE COURT:      Yeah , cue it up .

11          MS. JOHNSTON:       You will hear it play ed .

12          THE COURT:      Ready for the jury ?

13          Okay , bring them in .

14          Bring the witness      in .

15                  (Witness    resume s the stand at 10 :15 a.m .)

16                  (Jury returns       at 10 :15 a.m. )

17          THE COURT:      Good morn ing , ladies and gentlemen          .

18 We're ready to proceed       with further     cross-examination

19 of the witness .

20          MR. MARTIN:      With the court 's permission .

21          THE COURT:      You may proceed .

22          MR. MARTIN:    Thank you, sir.

23                          CROSS-EXAMINATION

24          BY MR. MARTIN:

25 Q.       Good morn ing , Mr. King .       My name is Anthony




                                                                Page 16
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 17 of 249



 1 Martin , and I represent       Mr. Goodwin .

 2            Yesterday , Mr. King , you were shown a chart --

 3 this chart here .      Do you remember     that ?

 4 A.         Yes .

 5 Q.         And at the time you were shown the chart , you

 6 identifi ed Mr. Goodwin      as somebody    you had known .

 7            Do you remember     that ?

 8 A.         Yes .

 9 Q.         All the name s were mask ed out , with the

10 exception     of the name s at the very top where it says ,

11 "Goodwin- Martin     Organization ."

12            Do you see that ?

13 A.         Yes .

14 Q.         And Mr. Goodwin 's photo is right next to

15 Paulette     Martin 's ; is that's correct ?

16 A.         Yes , it is .

17 Q.         You've   known Mr. Goodwin    from many , many year s

18 ago , isn't that true ?

19 A.         Yes .

20 Q.         In fact , you knew Mr. Goodwin      when you were a

21 child ; right ?

22 A.         Yes .

23 Q.         You know Larry Lane .

24 A.         Yes .

25 Q.         And Larry Lane is Mr. Goodwin 's stepson ; right ?




                                                                Page 17
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 18 of 249



 1 A.        Yes .

 2 Q.        You never had any deal ings related         to drug s with

 3 Mr. Goodwin , did you ?

 4 A.        No, sir .

 5           MR. MARTIN:       N o further   question s, Your Honor .

 6           MR. HALL:     Your Honor , I have     no question s of

 7 this witness .

 8           MR. MITCHELL:       Just a few , Your Honor .

 9                          CROSS-EXAMINATION

10           BY MR . MITCHELL:

11 Q.        Mr. King , hi .     My name is Tim othy Mitchell .       I

12 represent     Mr. Bynum .

13           You had mention ed some of Paulette         Martin 's

14 friends     and also family     that you're    familiar   with ;

15 correct ?

16 A.        Yes .

17 Q.        Are you familiar      with her daughter ?

18 A.        Yes .

19 Q.        And her granddaughter ?

20 A.        Yes .

21 Q.        Are you familiar      with the father    of her

22 granddaughter ?

23 A.        I seen him one time .

24 Q.        You've   seen him one time before ?

25 A.        Yes .




                                                                Page 18
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 19 of 249



 1 Q.       Would you recognize      him again if you saw him ?

 2 A.       Not -- not really .

 3 Q.       Did you see him on any of the -- you were

 4 previous ly shown this chart .        Did you recognize      him

 5 from this chart ?

 6 A.       No .

 7 Q.       Do you want to take a closer         look and make sure ?

 8 A.       No .

 9 Q.       You're   certain   that you met him before ?

10 A.       Yeah .   He came by her house one time when I came

11 by there .

12 Q.       You're   certain   about that ?

13 A.       Yes .

14          MR. MITCHELL:      No further     question s.

15          THE COURT:      Mr. Ward .

16          MR. WARD:      A couple , Your Honor .

17                          CROSS-EXAMINATION

18          BY MR. WARD:

19 Q.       Good morn ing , Mr. King .

20 A.       Good morn ing .

21 Q.       Referring    to this chart , which is Exhibit         CH -1 .

22 Let me get over here so that you can see and the jury

23 may see .

24          May I stand here , Your Honor ?

25          THE COURT:      Certain ly , you may .




                                                                Page 19
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 20 of 249



1           BY MR. WARD:

2 Q.        You identifi ed Larry Lane ; is that correct ?

3 A.        Yes, sir .

4 Q.        That 's what you wrote there , the name "Larry

5 Lane ."

6 A.        Yes .

7 Q.        And a "Mr. Nunn ;" is that right ?

8 A.        Yes .

9 Q.        And a "Bridget?"

10 A.       Yes .

11 Q.       Now , does that say "Bridget Brim ?"

12 A.       Yes .

13 Q.       Now , that 's your father 's name ; right ?

14 A.       Yes .

15 Q.       Who is Bridget B rim in relation        to your father ?

16 A.       His wife .

17 Q.       Oh , his wife .

18 A.       Yes .

19 Q.       And Bridget B rim is someone       that you know very

20 well ; is that correct ?     Or you knew very well .

21 A.       Yes .

22 Q.       Now , is this his first wife , your mother ?          Or is

23 this the second     wife ?

24 A.       Second   wife .

25 Q.       This is the woman he marri ed when he went out to




                                                               Page 20
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 21 of 249



 1 California ; is that right ?

 2 A.       Yes, sir .

 3 Q.       Over how long a period            of time did you know

 4 Bridget B rim ?

 5 A.       A couple        year s.

 6 Q.       A couple        of year s?     Did you see her fair ly

 7 regular ly ?

 8 A.       Not really , because           I didn't     really   go over my

 9 dad 's house because         me and her didn't        get along .

10 Q.       Once a month ?            Twice a month ?

11 A.       Probably        twice a month .

12 Q.       Twice a month .            But you certain ly saw her enough

13 that when you saw this photograph              today you recognized

14 it as being your stepmother .              Is that right , sir ?

15 A.       Look s like it , yes .

16 Q.       Now , is your stepmother , Bridget B rim , in the

17 courtroom      today ?

18          I want you -- if I may , Your Honor -- to stand

19 up and look around          the courtroom     and tell the ladies

20 and gentlemen of the jury              if Bridget B rim is in the

21 courtroom .

22 A.       No .

23          MR. WARDS:         Okay .     Thank you , so very much .

24          That 's all .

25                                    CROSS-EXAMINATION




                                                                       Page 21
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 22 of 249



 1          BY MR. SUSSMAN :

 2 Q.       Good morn ing .    My name is Ed Sussman .         I

 3 represent    Ms. Harden    over there , who you indicated

 4 previously    you don't know Ms. Harden .        Correct ?

 5 A.       Yes .

 6 Q.       You grew up in the area of Riggs R oad ,

 7 Northeast;    is that right ?

 8 A.       No, sir .

 9 Q.       What part of town did you grow up in ?

10          What area ?

11 A.       I grew up in northwest .

12 Q.       You went to Coolidge H igh School .          That 's on the

13 other side of Blair Road;        right ?

14 A.       Yes .

15 Q.       Your mother    operate d a restaurant      on Riggs R oad ;

16 is that right ?

17 A.       Yes .

18 Q.       And that restaurant      was locate d at the

19 inter section     of Riggs and South Dakota      Avenue .       Would

20 that be accurate ?

21 A.       Yes, sir .

22 Q.       So it was just a couple        of door s down from where

23 Ms. Martin 's dance studio       was ; is that right ?

24 A.       Yes .    Next door .

25 Q.       Okay .    Now , the restaurant .     Is that a soul food




                                                                   Page 22
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 23 of 249



 1 place ?

 2 A.        Yes , it was .

 3 Q.        It was kind of a neighborhood          gathering     place ?

 4           People   would come through , hang out , talk , and

 5 buy food ?

 6 A.        Yeah , buy food .

 7 Q.        And was it fair to say that          you didn't     have a

 8 lot of interest      yourself      in danci ng lesson s?      Is that

 9 right ?

10 A.        Yes .

11 Q.        But you saw kids going in and out of the dance

12 studio ; isn't that right ?

13 A.        No .

14 Q.        Didn't   pay attention ?

15 A.        I didn't   pay attention .

16 Q.        But in the community , the common         knowledge     was

17 that Ms. Martin      ran a dance studio .       Is that right ?

18           MS. JOHNSTON:       Objection .

19           MR. SUSSMAN :      It 's not for the truth .

20           THE COURT:       Sustained .

21           MR. SUSSMAN :      Can we approach ?

22           THE COURT:       Yes .

23                    (At the bar of the Court.)

24           MR. SUSSMAN :      I'm asking     based on what his

25 understand ing was , and people          talk ed about it .     It 's




                                                                   Page 23
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 24 of 249



 1 not for the truth of the matter .           I'm not asking       that

 2 it be taken as the truth of the matter .             It 's just the

 3 general    discussion    in the commun ity .

 4           MS. JOHNSTON:      It 's irrelevant.      If he is not

 5 asking    him for the truth of the matter        assert ed that

 6 she ran the danci ng school , then it 's not relevant              what

 7 he think s about what the understand ing was in the

 8 community .

 9           THE COURT:      That 's what he said .     He does n't

10 know anything       about it .

11           MR. SUSSMAN :     He said he didn't      see , so I asked

12 him the next question       about    what was the general

13 discussion     and his understand ing was .

14           MS. JOHNSTON:      Are we talk ing about in the '80 s?

15 In the early '90s ?       The mid -'90s ?

16           THE COURT:      He can ask him , did you discus s with

17 anyone    else whether    people    dance there , and when did

18 you have those discussion s.          I mean , I think you have

19 to lay a foundation       to go into something       like this .

20           MS. JOHNSTON:      My objection    also is that it is

21 irrelevant .

22           What's    the purpose    of the question    if it is not

23 to show that there were student s at that dance school ?

24 I don't know       what the relevance    is of what his

25 knowledge     is with what the community       thought .    It




                                                                Page 24
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 25 of 249



 1 certain ly does n't go to his cross-examination              , and it

 2 does n't go to his credib ility,         if it 's not being

 3 offered    for the truth that there -- that people              in the

 4 community     believe d she operate d a dance studio .

 5            THE COURT:      For what purpose      are you offering

 6 it ?

 7            MR. SUSSMAN :     There is a general         importance    to

 8 help people 's reputation .          If people   hold themselves

 9 out as dance studio        operator s or promoter s, and they're

10 known that way , it 's a reasonable         -- it 's reasonably

11 relevant     for -- to elicit       that information .       Other

12 people    can rely on that -- how people           --

13            THE COURT:      Unless   you're going    to proffer       that

14 he 's going to testify       that he 's talk ed to people        and

15 he 's seen people       going in and out -- who have seen

16 people    going in and out and get ting dance lesson s, I

17 think you are --

18            MR. SUSSMAN :     I can only ask the question .

19            THE COURT:      I sustain   the objection .

20                          (Back in open court .)

21            BY MR.   SUSSMAN :

22 Q.         Mr. King , I think you also testifi ed it was your

23 understand ing that there were fashion             show s on going

24 during    that period     of time ; isn't that right ?

25 A.         Yes .




                                                                   Page 25
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 26 of 249



 1 Q.        There was some guy name d Harvey        who you talk ed

 2 about in a phone call as having         something    to do with

 3 those fashion        show s; is that right ?

 4 A.        Yes .    Harvey   would do the fashion    show s.

 5 Q.        Fair to say you didn't      have much interest       in the

 6 fashion    show s?

 7 A.        No .

 8 Q.        Okay .     Now , let me ask you -- you testifi ed

 9 about deliveri es an d pick up s you made from Ms. Martin 's

10 house ; is that correct ?

11 A.        Yes .

12 Q.        You indicated      that there was a woman name d

13 "G ranny " who live d under Ms. Martin 's roof ; is that

14 right ?

15 A.        Yes .

16 Q.        There was no indication       to you that "G ranny "

17 knew anything        about what was going on ; isn't that

18 right ?

19 A.        No .

20 Q.        Okay .     Similar ly , you indicated   that on at least

21 one occasion       you asked a friend   of your s, Marcus , to

22 drive you over to the house ; is that right ?

23 A.        Yes, sir .

24 Q.        Was that instead      of call ing a cab , or hail ing a

25 cab ?




                                                                 Page 26
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 27 of 249



 1 A.         Excuse   me .

 2 Q.         Was that instead       of call ing a tax i, or hail ing a

 3 tax i?    You asked a friend        to do you a favor ?

 4 A.         Yes .

 5 Q.         When he drove you over , did he just wait outside

 6 while you went in side ?

 7 A.         Yes , he did .

 8 Q.         Okay .   It 's fair to say you didn't      tell him

 9 anything     about your business ; isn't that right ?

10 A.         No , I did not .

11 Q.         So he was seat ed right next to whatever         it was ,

12 seven key s or ten key s of cocaine ; is that right ?

13 A.         Yes .

14 Q.         He didn't       know what was in that car ; is that

15 right ?

16 A.         No , he did not .

17 Q.         Now , later on , you indicated      that you had --

18 after you were lock ed up in Indiana , you had phone

19 call s and phone conversation          with Ms. Martin ; correct ?

20 A.         Yes, sir .

21 Q.         It 's fair to say that the basic reason         you were

22 call ing her is you were try ing to         get back that

23 $75 ,000 ; is that right ?

24 A.         Yes .

25 Q.         You testifi ed -- you indicated       you knew the




                                                                Page 27
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 28 of 249



 1 phone was tapped ; isn't that right ?

 2 A.        That 's what it says .     It says , "C onversation s

 3 are being record ed ."

 4 Q.        There is a sign in front of the phone say ing

 5 your conversation      will be record ed ; right ?

 6 A.        Yes .

 7 Q.        Nevertheless , you had to talk to her because

 8 that was your only form of communication ; is that

 9 right ?

10 A.        Yes .

11 Q.        You had to use a kind of vail ed -- well , let me

12 change    the word on it .

13           You had to use a kind of secret         way of talk ing ,

14 would that be fair ?

15 A.        Yes .

16 Q.        Had you not been on a tapped        phone , you could

17 have talk ed to her a lot different ly ; right ?

18 A.        Probably   the same -- probably      use the same thing

19 to talk to her .

20 Q.        In this case you have no choice         but to use that

21 phone ; is that right ?

22 A.        Yes .

23 Q.        During   the course   of that conversation , she

24 mention ed to you the name s "Alisha        Keyes " and another

25 performer ; is that right ?




                                                                Page 28
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 29 of 249



 1 A.        Yes .

 2 Q.        Okay .   That had nothing     to do with any drug code

 3 or anything , did it ?

 4 A.        No .

 5 Q.        It just was something      she was tell ing you about ,

 6 a concert    or music business ; right ?

 7 A.        Yeah .   That 's what she said .

 8 Q.        You weren't     particular ly interest ed in that ;

 9 right ?

10 A.        No , I was n't .

11 Q.        In term s of -- you testifi ed at the grand jury ;

12 is that correct ?

13 A.        Yes .

14 Q.        And before    you go in a grand jury , you sit down

15 with the government       and you general ly talk about what

16 you know ; is that right ?

17 A.        Yes .

18 Q.        During   the course    of those discussion s, were you

19 shown photograph s -- a book of photograph s?

20 A.        Yes .

21 Q.        Were you shown approximately        100 photograph s?

22 A.        Yeah .   It was a lot of photograph s.

23 Q.        Would 80 to 100 be a fair estimate ?

24 A.        Somewhere    in that area .

25           MR. SUSSMAN :      Thank you very much .




                                                                Page 29
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 30 of 249



 1           I have nothing         more .

 2           THE COURT:      Mr. McKnett .

 3           MR. MCKNETT :         Thank you , Your Honor .

 4                           CROSS-EXAMINATION

 5           BY MR.     MCKNETT :

 6 Q.        Good morn ing , Mr. King .

 7 A.        Good morning .

 8 Q.        Mr. King , I just want to go back and ask you a

 9 couple    of question s about some of the conversation s we

10 heard yesterday       and some of the content s of them .

11           This gentleman         name d Harvey .      You've   met him ;

12 right ?

13 A.        Yes .

14 Q.        He 's a promoter ; right ?           He put s on show s?

15 A.        Yes .

16 Q.        Fashion     show s?

17 A.        Fashion     show s.

18 Q.        Entertain ment ?

19           Do you know if he does entertain ment , as well ?

20 Musical    show s?

21 A.        I just know fashion             show s.

22 Q.        You just know fashion             show s?

23 A.        Yes .

24 Q.        You met him through             Ms. Martin , didn't    you ?

25 A.        No , I did not .




                                                                      Page 30
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 31 of 249



 1 Q.       How did you meet him ?

 2 A.       Harvey    was -- we went to --

 3 Q.       I'm sorry ?

 4 A.       We both in junior      high school    together .

 5 Q.       You knew he was an associate         of Ms. Martin ;

 6 correct ?

 7 A.       Yes .

 8 Q.       Do you have your transcript         book in front of

 9 you ?

10 A.       Yes , I do .

11 Q.       Could you turn to Page 29 , please ?

12 Q.       Do you have it there ?

13 A.       Yes .

14 Q.       At the top , there 's -- it start s with " P. M. "

15 That 's Paulette     Martin ; correct ?

16 A.       Yes .

17 Q.       Five line s down -- four line s down , Ms. Martin

18 says to you -- you're       in this conversation       as well ;

19 correct ?

20 A.       Yes .

21 Q.       She says to you , "I got to run to Danker's            for

22 two hour s.      I got ta go and pick up some accessori es ."

23          Do you see that ?

24 A.       Yes .

25 Q.       Are you familiar      with Danker's ?




                                                                Page 31
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 32 of 249



 1 A.        It 's a furniture    store .

 2 Q.        It 's a furniture    store ; correct ?

 3 A.        Yes .

 4 Q.        So , what Ms. Martin    was say ing is she was going

 5 to a furniture       store and pick up some household

 6 accessori es ; correct ?

 7 A.        Yes .

 8 Q.        Would you turn to Page 25 , please ?         And I want

 9 to ask you a question .

10           I'm sorry , Your Honor .        I mis place d my Page 25

11 for a moment .

12           At the top of Page 25 , the third line down , it 's

13 "N.K. ," which is you ; correct ?

14 A.        Yes .

15 Q.        And on the transcript         it says , "A nd I'll write

16 the address       that you send me ."

17           Do you remember     yesterday     when that portion    of

18 the conversation       was play ed that it said , "And I'll

19 write the address       that you sent me ?"      It was pas t

20 tense .   Do you remember     that ?

21 A.        Yes .

22 Q.        Did you remember     that ?

23 A.        Yes.

24 Q.        So the word "send " should        actual ly be "sent ?"

25 A.        Okay .    Yes .




                                                                Page 32
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 33 of 249



 1 Q.        The address      that Ms. Martin , right , "sent " you

 2 was Granny 's address .        Correct ?

 3 A.        Yes , it was .

 4 Q.        Granny 's is the address          in northeast ; correct ?

 5 A.        Yes .

 6 Q.        You say that was on Nicholson ?

 7 A.        I belie ve Nicholson        Street , yes .

 8 Q.        Ms. Martin    didn't    live there , did she ?

 9 A.        As far as    I know , she live here .

10 Q.        As far as    you know , she live d there ?

11 A.        Yeah .

12 Q.        That was the address           that she would have you

13 meet her , according       to your testimony ; correct ?

14 A.        Yes .

15 Q.        And that was the address           that she want ed you to

16 send thing s to , or the letter           in this case ; correct ?

17 A.        Yes .

18 Q.        And I think you said on -- and your testimony

19 was that the person        Granny , to the best of your

20 knowledge , had no idea what was going on , correct ,

21 between   you and Ms. Martin ?

22 A.        Yes .

23           MR. MCKNETT :      Thank you .

24           THE COURT:       Re direct .

25           MS. JOHNSTON:       Yes .      Thank you , Your Honor .




                                                                 Page 33
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 34 of 249



 1                          REDIRECT EXAMINATION

 2            BY MS. JOHNSTON:

 3 Q.         Mr. King , just a few question s.

 4            Yesterday , Mr. Montemarano , the gentleman          seat ed

 5 here to my left , had asked you about your father 's

 6 murder .

 7            Do you recall       those question s?

 8 A.         Yes, ma'am .

 9 Q.         To your knowledge , has your -- has anybody           been

10 charge d or arrested          for your father 's murder ?

11 A.         No, ma'am .

12 Q.         So it still remain s open ?

13 A.         Yes, ma'am .

14 Q.         Counsel   also asked you about your drug -- your

15 deal ings with Lionel          Nunn .

16            Do you recall       those question s?

17 A.         Yes .

18 Q.         Do you recall       testify ing in the grand jury on

19 November     10 of 2004 ?

20 A.         Yes, ma'am .

21 Q.         I'm going to mark this as Miscellaneous            1 for

22 identification       only .

23            Back in November       2004 , when you were in front of

24 the grand jury -- I'm call ing your attention               to Page

25 1415 .     Just read over those -- P age 14 .       Take your time




                                                                  Page 34
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 35 of 249



 1 to read that , and read the top of Page 15 .

 2 A.       Yes , I remember .

 3 Q.       And look at the top of Page 15 .

 4          Back in November       of 2004 , did you de scribe      your

 5 drug deal ings with Lionel        Nunn to the grand jury ?

 6 A.       Yes, ma'am .

 7 Q.       Also in front of the grand jury -- call ing your

 8 attention   to Page 21 , back in November          of 2004 -- did

 9 you also discuss     with the grand jury --

10          MR. WARD:       Objection , Your Honor .

11          MS. JOHNSTON:       What , if any , discussion     --

12          MR. WARD:       That 's lead ing .

13          BY MS. JOHNSTON:

14 Q.       What , if any , discussion      did you have with the

15 grand jury concern ing the $20,000            that was owe d to your

16 father , beginning     on the bottom     of Page 20 ?

17 A.       Yes , I see .

18 Q.       And the top with Page 21 ?

19 A.       Yes .

20 Q.       What information       did you provide     the grand jury

21 back in November     2004 concerning      the $20,000 ?

22          What did you tell the grand jury ?

23 A.       That my dad asked me to pick that up for him ,

24 the $20,000 .

25 Q.       What did you tell the grand jury in term s of who




                                                                Page 35
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 36 of 249



 1 you were suppose d to pick it up from ?

 2 A.        Paulette    Martin .

 3 Q.        Before    the grand jury -- back in November         of

 4 2004 -- what if any information         did you give them

 5 concern ing the -- where you pick ed it up ?

 6 A.        I told them I pick ed it up at Adelphi , Maryland .

 7 Q.        Similar ly , back when you testifi ed in front of

 8 the grand jury in 2004 , did you provide           them any

 9 information       concern ing the additional    trip s that you

10 made to Ms. Martin ?

11           Call ing your attention     to Page 22 .

12 A.        Yes .

13 Q.        And Page 23 .

14 A.        Yes .

15 Q.        And Page 24 .

16 A.        Yes, ma'am .

17 Q.        You provided    -- would you de scribe      for us what

18 you told -- general ly what you told the grand jury back

19 in 2004 ?

20 A.        I told them that my dad asked me to deliver

21 stuff to Paula , make sure it got up there , and follow

22 Louis .

23 Q.        And call ing your attention      to Page 3 of the

24 grand jury .

25           Were you able to provide       them with a    description




                                                                 Page 36
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 37 of 249



 1 of who Louis was ?

 2 A.         Yes, ma'am .

 3 Q.         Similar ly , did you -- when you were in front of

 4 the grand jury -- call ing your attention            to Page 38 of

 5 your grand jury testimony , at the bottom            of Page 37 .       I

 6 believe    it begin s -- start s, really , at the top of Page

 7 37 .

 8            MR. MONTEMARANO :    Your Honor , I'm going to

 9 object    at this time and request        to be heard at the

10 bench .

11            THE COURT:     All right .

12                    (At the bar of the Court.)

13            MR. MONTEMARANO :    When Ms. Johnston      began using

14 Mr. King 's grand jury testimony , as a matter           of

15 courtesy    I decide d to give her a lit tle bit of leeway .

16 I would , at this point , inject         she is intend ing to go

17 all of the thing -- go through           this transcript      and say

18 he said all these thing s he said yesterday .            She never

19 asked him to read the        predicate    question s as to whether

20 he remembered     what he said in front of the grand jury .

21            Second ly , using this , which is not cross -

22 examination , reach es proffer .         She can ask him what he

23 said ; she can attempt       to cross on his in ability        to

24 recollect .     But simply    having    him parrot   what is in the

25 grand jury transcript , as he has been do ing , is




                                                                  Page 37
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 38 of 249



 1 entire ly inappropriate       of the grand jury testimony .

 2            MS. JOHNSTON:      First of all , counsel , Mr.

 3 Montemarano     made a point that this witness           didn't

 4 mention     his drug deal ing with Lionel      Nunn .     So ,

 5 initial ly , I raise d that question       because      in deed he had

 6 provided     that information     to the government       in a prior

 7 statement .

 8            Second ly , the other question s I'm asking            about

 9 go to show that he 's give n a prior consistent             statement

10 with his testimony      here in court in rebuttal          to Mr.

11 Montemarano 's question ing of him , try ing to show that

12 his statement s were not consistent         that he was not

13 being truthful     yesterday .

14            THE COURT:   How much farther      do you intend         to

15 go ?

16            MS. JOHNSTON:      I think this is probably           close to

17 the end .

18            THE COURT:   I think you're     about close to the

19 end of    going over his wire .      Two more question s.

20            MS. JOHNSTON:      That 's all I intend      to do .

21            MR. MONTEMARANO :     Thank you , Your Honor .

22                  (Back in open court .)

23            BY MS. JOHNSTON:

24 Q.         Call ing your attention    to Page 30 -- beginning

25 on Page 35 of your grand jury testimony , continui ng




                                                                    Page 38
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 39 of 249



 1 through   page 38 .

 2           What information     did you provide     the grand jury

 3 concern ing the $75,000 , back in November          of 2004 ?

 4 A.        It was the only Paula Martin        owed $ 75 ,000 from

 5 $150,000 .

 6 Q.        And call ing your attention       to Page 38 .

 7           What if any discussion       did you have with the

 8 grand jury concern ing Mr. Byrd 's role in try ing to get

 9 that $75,000       for you ?

10           Beginning    on Page 37 , at the bottom , continui ng

11 over on the top of 38 .

12           What did you tell the grand jury in November            of

13 2004 concern ing $75,000       that was owe d to Mr. Byrd ?

14 A.        I asked Mr. Byrd to go ask Paula about the

15 money , and he came back with , he said , $3,500           that she

16 gave him .

17 Q.        Is that what you told the grand jury back in

18 2004 ?

19 A.        Yes .

20 Q.        You've    never been given a copy of your grand

21 jury testimony       to read , have you ?

22 A.        No , I haven't .

23           MR. MONTEMARANO :     Objection , Your Honor .

24           THE COURT:      Go ahead .   Approach   the bench .

25                     (At the bar of the Court.)




                                                                Page 39
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 40 of 249



 1            MR. MONTEMARANO :     In view of that , the defense

 2 -- that is a back door way -- That is             entire ly

 3 in appropriate     in light of Your Honor 's ruling           that she

 4 go a bit further        with regard     to the objection      that I

 5 raise d.

 6            MS. JOHNSTON:     I think I asked      two or three

 7 question s about what was in the grand jury testimony .

 8 We didn't     have any discussion        up here tat bench

 9 concern ing my last question , which was to establish

10 before     this jur y that he didn't        read his grand jury in

11 preparation      for his testimony       here in court yesterday .

12            THE COURT:     All she 's asking     him is to re view --

13 did you re view your grand jury testimony            before     you

14 testifi ed today .

15            MR. MONTEMARANO :     It is permitting     the

16 government     to have the witness        vouch for the grand jury

17 testimony     which , I'm submitting , was use d

18 in appropriately     for purpose s of direct       examination        and

19 not for purpose s of rehabilitation           when he establish ed

20 he could not remember        thing s.

21            MS. JOHNSTON:     I don't believe      he said he

22 could n't remember       thing s Monday .

23            MR. MONTEMARANO :     She never asked .      That 's my

24 point .

25            MS. JOHNSTON:     I don't think      I had to ask




                                                                   Page 40
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 41 of 249



 1 whether   he remembered       thing s or not .     I asked    question s

 2 about what he said before           the grand jury to show his

 3 statement s were consistent         .

 4           THE COURT:       I think she 's made proper         use of the

 5 grand jury testimony .         I didn't      let her go any fa rther ,

 6 and I think she certain ly can ask if he read it .

 7           Over ruled .

 8           MR. MONTEMARANO :      Thank you , Your Honor .

 9                          (Back in       open court .)

10           MS. JOHNSTON:       Now , Mr. King --

11           THE COURT:       I don't think      he answered .

12           Did he answer      the question ?

13           BY MS. JOHNSTON:

14 Q.        Mr. King , were you ever given a copy of your

15 grand jury testimony        to read before       you came into the

16 courtroom    to testify ?

17 A.        No, ma'am .

18 Q.        You mention ed Granny 's house .

19           What street      is that on ?

20 A.        I believe      it's Nicholson      Street .

21 Q.        Who se house was that , granny 's or Ms. Martin 's ?

22 A.        It was Granny 's house by my -- you know , from my

23 understand ing .

24 Q.        I think it was Mr. Sussman           who asked you if

25 Granny was stay ing with Ms. Mart in .




                                                                   Page 41
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 42 of 249



 1 A.         Yes .    She was in -- it 's her house , I believe .

 2 Q.         It was whose house ?

 3 A.         Granny 's house .

 4 Q.         So it was Ms. Martin          stay ing with Granny ?

 5 A.         Yes .

 6 Q.         Mr. Montemarano      asked you if you expect ed to get

 7 anything     in return     for your testimony .

 8 A.         No .

 9 Q.         Did we have a discussion          concern ing your 20 -year

10 sentence ?

11 A.         Yes .    It 's a 20 -year sentence .

12 Q.         What were you told concern ing whether              or not

13 anything     would be done to reduce          your sentence ?

14 A.         Nothing .

15 Q.         You fully understand          that ; is that correct ?

16 A.         Yes .

17            MS. JOHNSTON:       I have nothing      further .

18            THE COURT:      Any re cross ?

19            MR. MONTEMARANO :          Thank you , Your Honor .

20                           RECROSS EXAMINATION

21            BY MR.    MONTEMARANO :

22 Q.         This is the same grand jury that Ms. Johnston

23 show ed you .       Correct , sir ?

24 A.         Yes, sir .

25 Q.         November     10 , 2004 .     Correct , sir ?




                                                                     Page 42
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 43 of 249



 1            Does that sound about right ?

 2 A.         Yes .

 3 Q.         So here with the math -- I'm not real good with

 4 number s -- that 's a year after you were arrested            in

 5 Indian apolis;      right ?

 6            It 's a year after your dad 's kill ed ; right ?

 7 A.         Yeah .

 8 Q.         It 's a year after you made a statement         to the

 9 Indiana     State Police , or the Indian apolis      police , the

10 officer     who arrested      you , the guy with the dark hair ,

11 kind of heavy set , name d Johnson .

12            Does that sound right ?

13 A.         I believe   so .

14 Q.         A year after you were inter view ed by the DEA out

15 in Indiana ; correct ?

16 A.         Yes .

17 Q.         And at no time in that did you tell them about

18 Paulette     Martin ; right ?

19 A.         No .

20 Q.         And at no time during      that year did you tell

21 them about the $75,000 ; right ?

22 A.         No .

23 Q.         That the $75,000      that we don't find in those

24 telephone     conversation s until you tell us about them

25 today ; right ?




                                                                Page 43
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 44 of 249



 1 A.        I mean , I was asking         about my money .       I mean ,

 2 the money in the conversation .              Yes , it was .

 3 Q.        It was     your dad 's money , was n't it ?

 4 A.        Yes .

 5 Q.        And you said your father 's murder              is still open ;

 6 correct ?

 7 A.        To my knowledge         it is .

 8 Q.        To your knowledge .

 9           And were you asked question s about prior threat s

10 to your father        when you were in front of the grand

11 jury ?

12 A.        Yes .

13 Q.        Was n't there a time when Bridget , his new wife ,

14 was stepping        out on him with another       man ?    Correct ?

15           MS. JOHNSTON:          Objection .

16           Relevance .

17           THE COURT:          Over ruled .

18           MR. MONTEMARANO :          Thank you , Your Honor .

19           BY MR.     MONTEMARANO :

20 Q.        Was n't there a time when he was -- his new wife ,

21 Bridget B rim , was stepping           out on him and see ing

22 another     man ?    Correct ?

23 A.        Not to my knowledge          that she stepped       out on him ,

24 see ing another       man .

25 Q.        She didn't      have a new boyfriend ?




                                                                     Page 44
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 45 of 249



 1 A.        I don't know .

 2 Q.        There was n't a time when he went to the new

 3 boyfriend    in Bridget 's new place of abode , their new

 4 residence , and Bridget        gave a gun to the boyfriend           and

 5 pull ed it on your dad ?

 6           MS. JOHNSTON:       Objection .

 7           Relevance , and beyond          the scope of re direct .

 8           THE COURT:       Over ruled .

 9           THE WITNESS:       No .    My father    went to his house

10 on Chester       Street and there was a guy there , but I

11 don't know       if the guy is Bridg et 's boyfriend       or who

12 the guy was .       I can't say that .        Bridge t gave the guy a

13 gun .

14           BY MR. MONTEMARANO:

15 Q.        Bridge t gave this guy a gun ?

16 A.        Yes .

17 Q.        The guy pull ed it on your dad ?

18 A.        Yes , he did .

19 Q.        Was your dad shot at that time ?

20 A.        No .

21 Q.        But he was shot at another           time ; right ?

22 A.        Yes .

23           MR. MONTEMARANO :         No further    question s, Your

24 Honor .    Thank you .

25           THE COURT:       Any further      re cross ?




                                                                   Page 45
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 46 of 249



 1            MR. MARTIN:       Nothing     from Mr. Goodwin , sir .

 2            MR. HALL:      No , Your Honor .

 3            MR. MITCHELL:       No , Your Honor .

 4            THE COURT:       Mr. Ward ?

 5            MR. WARD:      If I may , Your Honor .

 6            THE COURT:       You may .

 7                           RECROSS EXAMINATION

 8            BY MR. WARD:

 9 Q.         You were asked about what you told the grand

10 jury , Mr. King .       Tell these ladies and gentlemen          what

11 you told the grand jury about a woman name d "Lavon

12 Dobie ."

13 A.         Who ?

14 Q.         Lavon Dobie .

15 A.         I don't know      her .

16 Q.         You never heard the name before ; right ?

17 A.         Right .

18 Q.         You didn't     mention    "Lavon Dobie " to the grand

19 jury because       you've   never heard the name before ; is

20 that right ?

21 A.         Right .   I don't know        her .

22 Q.         Do you see -- well , if you don't know "Lavon

23 Dobie ," obvious ly you cannot           identify     her in court , but

24 let me ask the lady on the end .                 Could you stand up ,

25 please ?




                                                                   Page 46
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 47 of 249



 1          (Defendant Dobie stands.)

 2          MS. JOHNSTON:       Objection .

 3          BY MR. WARD:

 4 Q.       Do you know that lady ?

 5 A.       No , I don't .

 6          MR. WARD:     Thank you .

 7          That 's all , Your Honor .

 8          MS. JOHNSTON:       Your Honor , just for the record

 9 there , I was object ing to counsel         asking    his client    to

10 say anything .

11          THE COURT:       She didn't    say anything , so your

12 objection   is sustained .

13          MS. JOHNSTON:       Thank you , Your Honor .

14          THE COURT:       But we know who stood up .

15          MR. WARD:     I never asked her to say anything ,

16 Your Honor .     I just asked her to stand up .

17          THE COURT:       Any further    re cross ?

18          Any further      examination    of this witness ?

19          MS. JOHNSTON:       No , Your Honor .

20          THE COURT:       All right , you may step down .       Thank

21 you very much .

22                        (Witness   excused    at 10 :52 a.m. )

23          MS. JOHNSTON:       Your Honor , before      we call the

24 next witness , the parti es -- the government            and all

25 defendant s, through      their counsel , have agreed that the




                                                                Page 47
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 48 of 249



 1 Marion C ounty Jail call s that were play ed yesterday              and

 2 have been identifi ed as being contain ed on CD 2 and

 3 that are associate d with the transcript            CD 2A through      F

 4 are actual , true record ings of the telephone           call s from

 5 the Marion Co unty Jail in Indiana           that occurred    on the

 6 date s and the time s as reflect ed in the transcript s.

 7           THE COURT:     All right .

 8           Ladies and gentlemen       , what she just read to you

 9 was a stipulation , which mean s the part ies have simply

10 agreed that those fact s are true , and you need not have

11 in dependent   testimony    to that effect .       So , you may

12 accept    you're    those fact s as true .

13           MR. MONTEMARANO :        Your Honor , before   the next

14 witness    take s the stand , can I have 30 seconds          to speak

15 to the marshals?

16           THE COURT:     Yes .

17           MR. MONTEMARANO :        Thank you .

18           Thank you , Y our Honor .

19           THE COURT:     All right .

20           MS. GREENBERG:         Your Honor , the government 's

21 next witness       is Sergeant    Dave Martini .

22 Thereupon,

23                            DAVID MARTINI ,

24 having been called as a witness on behalf of the

25 Plaintiff, and having been first duly sworn by the




                                                                 Page 48
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 49 of 249



 1 Courtroom Deputy, was examined and testified as

 2 follows:

 3            THE CLERK:     If you would, state your name for

 4 the record.

 5            THE WITNESS:     I'm Sergeant David Martini:

 6 M-A -R- T- I-N -I.

 7                           DIRECT EXAMINATION

 8            BY MS. GREENBERG:

 9 Q.         Sir, could you tell the jury, please, your

10 background, training and experience?

11            Where are you currently employed?        Let's start

12 with that.

13 A.         I'm employed by the     Prince    George's   County

14 Police Department.

15 Q.         As a sergeant; is that correct?

16 A.         Yes, ma'am.

17 Q.         Could you give them some idea of your

18 background, training and experience?

19 A.         I was originally --     I started off in law

20 enforcement as a member of the            United   States Secret

21 Service Uniformed Division.       While       I was in their

22 police academy,      I received training in basic narcotic

23 investigation, identification, field testing, street

24 values.

25            Then I got hired by the        Prince   George's   County




                                                                  Page 49
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 50 of 249



 1 Police department.     While     I went through their six-

 2 month training academy, there         I also got training in

 3 basic drug identification, field testing, street

 4 values.

 5           Since I've been on the department,          I've been to

 6 several different schools and conferences.         One

 7 conference that     I've attended several times is

 8 McGlothlin     Narcotics Investigation Sharing Conference.

 9 That's a seminar where we go over different drug

10 trends, sales, distribution schemes and technologies

11 and investigative technologies.

12           I've also been to the Financial Investigators

13 School given by the      Maryland State Police.          I've been

14 through the basic narcotics investigator school given

15 by the Prince George's County Police Department; I've

16 been to conspiracy school given by the Maryland State

17 Police;   I've been to a concealed compartment seminar

18 given by the     New York Unified Intelligence Division.

19           I've been to managing confidential informants/

20 managing undercover investigation school            given by the

21 DEA , D rug Enforcement Administration.

22           I've been through drug interdiction school given

23 by the Maryland State Police.

24           I've been through the basic drug investigators

25 school given by the Drug Enforcement Administration.




                                                                Page 50
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 51 of 249



 1            I've been through the clandestine laboratory

 2 investigation safety certification program given by the

 3 Drug Enforcement Administration; also several

 4 certification schools to follow up that.

 5            I've been to a crack cocaine practical knowledge

 6 training that was given by the         DEA and the     Prince

 7 George's    County Police Department's drug lab.

 8            I've been to interception secure communication

 9 school, which is a wiretap school given by the

10 multi-jurisdictional counter-drug task force.

11            I've been through National Guard Counter-drug

12 technology seminar.

13            I've also been through jump chain with the

14 Prince George County Police.

15            Also, I have been an instructor at the          Prince

16 George's    County Police Academy for drugs.           I have been

17 instructor with several grand juries that have been

18 presented to the     Prince   George's    County Police.

19            Also, in a lab setting, I've personally

20 converted powder cocaine to crack cocaine, cocaine base

21 and also in a lab setting        I've personally manufactured

22 or made methamphetamine.

23 Q.         Now, sir, is it fair to say with all that

24 training that you've spoken about in your current job

25 that your time in law enforcement has been involved in




                                                                Page 51
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 52 of 249



 1 the area of drug enforcement?

 2 A.       Yes, ma'am.    My time on the police department --

 3 I spent approximately 12 and a half years within the

 4 narcotics enforcement division.

 5 Q.       And you moved up the ranks to -- currently

 6 you're a sergeant?

 7 A.       Yes, ma'am.

 8 Q.       Were you employed as a       Prince   George's    County

 9 law enforcement officer in        November of 2003?

10 A.       Yes, ma'am,    I was.

11 Q.       Specifically, on November 25, 2003 were you so

12 employed?

13 A.       Yes, ma'am.

14 Q.       Did you work with a confidential informant               on

15 that date?

16 A.       Yes, ma'am.

17 Q.       Since the date of that incident, has the name of

18 the informant been disclosed?

19          It it's no longer a secret confidential

20 informant; is that correct?

21 A.       To the best of my knowledge the name has been

22 disclosed in connection with this investigation.          Yes,

23 ma'am.

24 Q.       During normal circumstance there is times               when

25 you keep a confidential informant confidential, and




                                                                Page 52
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 53 of 249



 1 there's some times when you reach an agreement, either

 2 with the prosecutor or with the informant that that

 3 name gets disclosed?

 4 A.        Yes, ma'am.

 5 Q.        The person you were working with that day is

 6 Raynard   -- R -A -Y -N -A -R -D -- Dorsey -- D-    O-R -S -E -Y?

 7 A.        Yes, ma'am, that is the individual.

 8 Q.        Known on the street as "Nard?"

 9 A.        Yes, ma'am.

10 Q.        Now, without telling -- without stating what was

11 discussed between you and        Mr. Dorsey, did you work with

12 him to make a series of phone calls to a potential

13 target?

14           MR. MONTEMARANO:    Objection,      Your Honor.

15           Leading.

16           THE COURT:    Sustained.

17           MS. GREENBERG:     I'm trying to not get into the

18 conversations.

19           THE COURT:    Sustained.

20           Just ask it in a different way.

21           BY MS. GREENBERG:

22 Q.        I don't    want you to talk about what you and            Mr.

23 Dorsey discussed, but what did you and             Mr. Dorsey do on

24 November 25, 2004?

25 A.        He gave information to us pending a potential




                                                                 Page 53
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 54 of 249



 1 investigation, and on that day we made several

 2 attempted -- several pages and cell phone calls to the

 3 target of the investigation.

 4 Q.         Given the words that you just used,

 5 "investigation" and "target" -- I don't want to be

 6 pedantic, but what were you doing on that date?

 7            What was it relating to?

 8 A.         It was related to what     I always do: drug

 9 investigations.

10 Q.         In your job, what were you using        Mr. Dorsey for?

11 A.         As I stated, he was working as a confidential

12 informant that was calling out or contacting a drug

13 supplier.

14 Q.         What was your goal that day as a law enforcement

15 officer?

16 A.         To have the informant contact the drug supplier,

17 bring a quantity of illegal drugs to the informant, at

18 which time we would stop the individual and make an

19 arrest.

20            MR. MONTEMARANO :    Objection,    Your Honor.     Can we

21 be heard at the bench?

22                    (At the bar of the Court.)

23            MR. MONTEMARANO :    Apparently, there is going to

24 be testimony following shortly behind this suggesting

25 that the drug supplier -- to use          Mr. Dorsey's term --




                                                                Page 54
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 55 of 249



 1 because that's where this language is coming from, not

 2 from Detective Martini -- Sergeant Martini is that the

 3 drug supplier will be one of the defendants here.                I

 4 respectfully submit that all of this is hearsay.          They

 5 can say that we had him call the subject of our

 6 investigation, but saying he called a "drug supplier"

 7 is a conclusion, an allegation, or at very best a claim

 8 not subject to cross-examination because            Mr. Dorsey is

 9 not here.

10           If Mr. Dorsey thinks he's a drug supplier, good

11 for Mr. Dorsey; they can put         Mr. Dorsey on the stand.

12 Unless they're going do that, they can't use anything

13 out of   Mr. Dorsey's mouth from this person, and the

14 mere suggestion of a drug supplier is -- it goes to the

15 very issue of why we're here,         Your Honor.

16           MS. GREENBERG:     Judge, it's not what the witness

17 said.    He's misinterpreting what the witness said.        He

18 said that was the goal of his investigation that day.

19           THE COURT:   The intent is to always have the

20 informant make communication with drug suppliers, not

21 that Mr. Dorsey told him anything.

22           MR. MONTEMARANO:     How does he know --

23           THE COURT:    I will sustain an objection to the

24 extent that the answer of this witness is dependent on

25 what Mr. Dorsey told him, and         I'm sure   Ms. Greenberg




                                                                Page 55
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 56 of 249



 1 will ask further questions that can steer away from

 2 anything that     Mr. Dorsey told him.       He will simply say

 3 he instruct ed Mr.       Dorsey to make phone calls.

 4            MS. GREENBERG:      Your Honor, that's what he

 5 already said.    Without saying what Mr. Dorsey told you,

 6 what were you trying to do that day?         That's all he

 7 said.

 8            THE COURT:    That's proper.

 9            MR. MARTIN:     Your Honor, if     I can be heard

10 briefly.     I understand the government is going to call

11 Mr. Dorsey, and this testimony is --

12            THE COURT:    You said what?

13            MR. MARTIN:     That the government is going to

14 call Raynard     Dorsey.

15            THE COURT:     I don't know what they're going to

16 do.

17            MR. MARTIN:     If they're not going to call

18 Raynard    Dorsey,   I would object based on       Crawford versus

19 Washington.      I think we need an opportunity to

20 cross-examine     Mr. Dorsey on his basis -- the claim he's

21 making that somebody is a supplier.

22            MS. GREENBERG:      Your Honor,    I specifically led

23 this witness to not get into any conversations with

24 Mr . Dorsey.    We are trying very hard to keep on the

25 court's schedule.         I want to wait and see how today




                                                                  Page 56
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 57 of 249



 1 goes and may or may not call           Mr. Dorsey.   If counsel

 2 wants to call     Mr. Dorsey if we don't -- we're just

 3 trying to limit things where we can.

 4          THE COURT:    Are you going to offer recordings

 5 with this witness?

 6          MS. GREENBERG:      No.

 7          Your Honor, I can proffer what I'm going to do.

 8 I'm going to -- he was present when these telephone

 9 calls were made.     He's going to state the number that

10 he either directly dialed or           Mr. Dorsey dialed.he was

11 at the   Prince   George's   County Plaza Center where             Mr.

12 Goodwin showed up, and conducted a search of the

13 vehicle and seized certain items.         He is not going to

14 get into any conversations.

15          MR. MONTEMARANO :         Where is the basis for

16 knowledge that the person he's on the phone with is a

17 drug supplier?     That's a claim from         Mr. Dorsey.     This

18 officer has not stated he has arrested this person or

19 seized drugs from this person.         This person could be

20 the Queen of the      May as far as Agent Martini --

21          THE COURT:    The questions so far have not asked

22 anything about what      Dorsey told him.

23          MR. MONTEMARANO :         I completely agree,      Your

24 Honor.   But when he says there is this person, a drug

25 supplier, there has to be a basis for knowledge.            There




                                                                  Page 57
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 58 of 249



 1 has been no basis demonstrated.       If they can

 2 demonstrate that knowledge out of Detective Martini's

 3 mouth and his knowledge, he's a drug supplier.

 4 Otherwise, he's just a suspect.

 5           MS. GREENBERG:      Your Honor,    I think my question

 6 was -- it's very pedantic.      He's a drug investigator.

 7 He is to work with the drug informant and get that

 8 person to get some drugs.      He is not out there to catch

 9 a murderer or to catch a fraud person.        He is to put

10 the whole thing in context.      He never said it's what

11 the person told him.     It's not a proffered issue.

12           THE COURT:    I don't think there is a proffered

13 issue, but it could be if you don't ask the right

14 questions.    So far    I think you've asked the correct

15 questions.

16           Do not steer this witness into what          Mr. Dorsey

17 told --

18           MS. GREENBERG:      I've been leading him so he may

19 not get into those conversations.

20           THE COURT:   Y ou may appropriately lead him.

21           MR. MONTEMARANO :     For scheduling purposes, we

22 would lodge a continuing objection.

23           THE COURT:   I will give you a continuing

24 objection.

25           MR. MONTEMARANO :     Thank you, sir.




                                                                Page 58
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 59 of 249



 1                          (Back in open court.)

 2            BY MS. GREENBERG:

 3 Q.         Now, to follow up with what happened next

 4 Sergeant    Martini.     Without telling us what was

 5 discussed, did you then work with          Mr. Dorsey to make a

 6 series of phone calls?

 7 A.         Yes, ma'am,    I did.

 8 Q.         You were there when the numbers were dialed?

 9 A.         Yes, ma'am.

10 Q.         And either you dialed them or you directed           Mr.

11 Dorsey to dial them?

12 A.         Yes, ma'am, that is correct.

13 Q.         Did you make a record of these telephone numbers

14 --

15 A.         Yes, I did.

16 Q.         -- on your notes?

17 A.         Yes, ma'am.

18 Q.         Could you tell the jury what cell telephone

19 number you called?

20            If you need to look at your notes, please go

21 ahead.

22 A.         Thank you.

23            The cellular telephone number that         I provided       --

24            MR. WARD:     I'm going to interpose another

25 objection,     Your Honor.     I hesitate to do it, and       I hate




                                                                Page 59
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 60 of 249



 1 to do it, but     I think there's an issue here.

 2            THE COURT:    All right, approach the bench.

 3                           (At the bar of the Court.)

 4            MR. WARD:    Your Honor, unless these telephone

 5 numbers originated with this witness and not with               Mr.

 6 Dorsey, then     I think we have a -- they were okay if

 7 they originated with        Mr. Dorsey and    Dorsey said, here's

 8 a number we want to call, you know, whatever that

 9 number is.      I think that that is hearsay.

10            THE COURT:    She hasn't asked the witness where

11 he got the number from.

12            MR. WARD:    Well --

13            THE COURT:    Unless and until -- if the answer to

14 the question is,        Mr. Dorsey gave it to me, then there

15 might be a problem, but she hasn't asked that question.

16            MR. WARD:     I think she has to ask it.     She can't

17 just ask    him what number did he dial.      We want to know

18 where it came from.

19            MS. GREENBERG:    You can ask him if you want.

20            MR. WARD:    No, no, no, no   , no.    Absolutely not.

21            THE COURT:    All she's asked this witness is,

22 what number did you call?

23            MR. WARD:    No, sir.   Because if the number came

24 from Dorsey, it's the same as having             Dorsey testify and

25 identify --




                                                                Page 60
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 61 of 249



 1            THE COURT:    The question does not presuppose

 2 anything    about where he got the number from.

 3            MR. WARD:     Your Honor, it's very simple for her

 4 to say, the number you dialed.       Where did it come from?

 5            THE COURT:     I can't tell the prosecutor what

 6 questions to ask.        I don't think there's anything wrong

 7 with the question.       She said, what number did you cause

 8 the informant to dial?

 9            I overrule your objection.

10                          (Back in open court.)

11            BY MS. GREENBERG:

12 Q.         If we can continue with what you did that day,

13 Sergeant    Martini.     What numbers did you either directly

14 or tell the --     Mr. Dorsey to dial?

15            What were we, on cellular or pager?          I forget.

16 A.         The cellular telephone number.

17 Q.         If you can tell the jury the cellular telephone

18 you told him to dial.

19 A.         The number provided was (202) 832-0125.

20 Q.         Was there also a pager number that was called

21 during the course of the day?

22 A.         Yes, ma'am.

23 Q.         What was that pager number?

24 A.         It was pager number (202)837-9705.

25 Q.         These calls were made between what time and what




                                                                Page 61
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 62 of 249



1 time?

2           Without getting into each individual call, if

3 you could give a span of time when the first pager or

4 cellular telephone call was sent by you and              Mr. Dorsey

5 and when the last call was made.

6 A.        It started at about 3      :50 p.m. in the afternoon,

7 and the last call was about 9:00 p.m. at night.

8 Q.        During that day on, and at those times, 3           :50 and

9 9:00 p.m. on November 25, 2003, did you receive a call

10 back from your calls to either the pager or the cell

11 phone number?

12 A.       Yes, ma'am.

13 Q.       Were you able to tell from the caller            ID what

14 number was calling you back?

15 A.       Yes, ma'am.

16 Q.       Would you give -- there was -- was there more

17 than one number?

18 A.       Yes, ma'am.

19 Q.       And could you give the jury the numbers which

20 you received calls back from in response to your calls

21 to the cellular telephone or to a page?

22 A.       The one cell phone -- the one telephone number

23 we received a telephone call or return call from was

24 (202) 388-9033.    We also received a return call from

25 (202) 832-0125.    We received another call from another




                                                                Page 62
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 63 of 249



 1 phone number which was (202) 247-5303.

 2 Q.         The number (202) 247-5303.    Approximately what

 3 time was that received?

 4 A.         We received that call at approximately 9:51 p.m.

 5 Q.         All right.   As a result of these -- let me just

 6 ask you.     On the cellular telephone -- were you able to

 7 record a message on the cellular telephone during your

 8 work that day?

 9 A.         No, ma'am, we didn't.

10 Q.         Why not?

11 A.         I know that we didn't have the proper ear piece

12 that you need to make a recorded telephone call.

13 Q.         Let me ask you a different way.

14            Were you able to leave -- was the person's cell

15 phone accepting your message that you were calling the

16 cellular telephone that you called?

17 A.         No.   Many times when the call was placed to the

18 target's cellular telephone, it rolled over to voice

19 mail, and the voice mail was full and wouldn't let our

20 C.I. leave a message.

21 Q.         What did you end up doing at approximately 9:00

22 o'clock that evening?

23 A.         We went to 3500 Eas    t W est Highway,    Hyattsville ,

24 Prince   George's     County,   Maryland, which is the Prince

25 George's Shopping Center.




                                                                Page 63
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 64 of 249



 1 Q.        Did you have assistance there at the time?

 2 A.        Yes, I did.      I had several other members from

 3 the police department that were assisting with the

 4 investigation at that time.

 5 Q.        You arrived there at approximately what time?

 6           What time did you arrive there?

 7 A.        At approximately 8:25 p.m.

 8 Q.        Was anyone with you?

 9 A.        Yes, ma'am, other officers.      We also had the

10 confidential informant,        Mr. Dorsey.

11           MS. GREENBERG:    Your      Honor, to prevent another

12 objection, may we approach --

13           THE COURT:    You may.

14           MS. GREENBERG:     -- and     I'll proffer something?

15           Thank you.

16                    (At the bar of the Court.)

17           MS. GREENBERG:      Your Honor, given the previous

18 objections as to       Mr. Dorsey's hearsay,     I wanted to let

19 the court know that one thing          I intend to elicit from

20 this witness is how did he know to stop the car that

21 drove in, and it's because         Mr. Dorsey pointed out the

22 car.   It's not to say that the person is a drug dealer;

23 it's to explain why the officer approached the car that

24 he did.

25           MR. MARTIN:      I don't have any objection to that.




                                                                Page 64
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 65 of 249



 1 It's my client, okay?         Learley    Goodwin is my client,

 2 and this testimony,      I think, goes to      Learley    Goodwin.

 3 With that,     I don't have an objection.

 4          THE COURT:    There's no objection.

 5          Mr. Montemarano      has one.

 6          MR. MONTEMARANO :      Not at all.

 7          So the record is clear.        If the question had

 8 been answered by the sergeant, as a person             Mr. Dorsey

 9 claimed was a drug dealer, the person we wanted to

10 investigate or something like that, but when he said no

11 more -- no predicatory language to it,           I'm going to

12 have to come out on my of my seat on Sergeant Martini

13 and every other witness who goes down that route.          Just

14 so it's clear.

15          MR. MARTIN:    Just to make my position clear,           I

16 don't have any objection to        Mr. Dorsey identifying

17 vehicle that     Mr. Goodwin was driving.      If that's all

18 he's going to say -- he's going to say that's the

19 vehicle you're looking for, fine.            I don't have any

20 objection to that.

21          MR. WARD:    Well,    I do because.    I guess     I'm

22 maintaining my hearsay objection, but --

23          MS. GREENBERG:       Your Honor, it's a hearsay

24 exception just to explain why this officer did what he

25 did.




                                                                 Page 65
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 66 of 249



 1          MR. MARTIN:    For that limited purpose, I have no

 2 objection.

 3          THE COURT:    All right, thank you.

 4                        (Back in open court.)

 5          BY MS. GREENBERG:

 6 Q.       Sergeant   Martini, did you see a vehicle come

 7 into the parking lot about 20 to 25 minutes after you

 8 received your last call from that particular cell

 9 phone?

10 A.       Yes, ma'am.    A white     Cadillac El Dorado arrived

11 on the parking lot.

12 Q.       What time was that?

13 A.       That was approximately 9       :25 p.m.

14 Q.       How did -- what did you do with the respect to

15 that white El Dorado      Cadillac?

16 A.       The Cadillac pulled onto the parking lot and

17 parked in a parking spot in front of the Outback

18 steakhouse, at which time the informant indicated that

19 that was the target we were looking for, and a stop

20 team of officers approached the vehicle --

21          MR. MARTIN:    Objection to what the confidential

22 witness identified as "the target."

23          THE COURT:    Sustained.

24          Ask it a different way.

25          MS. GREENBERG:      Your Honor, if      I may lead this




                                                                Page 66
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 67 of 249



 1 witness?

 2            BY MS. GREENBERG:

 3 Q.         Did you stop that vehicle, the white El Dorado

 4 Cadillac?

 5 A.         Yes, ma'am.

 6 Q.         What caused you to stop the vehicle?      Did

 7 anybody say anything to you?

 8 A.         The informant told me that that was --

 9            MR. WARD:     Objection.

10            BY MS. GREENBERG:

11 Q.         Did the informant tell you that was the vehicle

12 you should be looking for?

13 A.         Yes, ma'am.

14 Q.         And therefore you approached that vehicle?

15 A.         Yes, ma'am.

16 Q.         What did you do then?

17 A.         A group of officers stopped the occupants of the

18 vehicle, they were detained, and then we conducted a

19 search of the vehicle.

20 Q.         Did you identify occupants of the vehicle?

21 A.         Yes, ma'am.

22 Q.         Who were they?

23 A.         The driver of the vehicle was       Mr. Learley

24 Goodwin, his 17 year-old daughter and 14 year-old

25 grandson.




                                                                Page 67
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 68 of 249



1 Q.          Was a search of the vehicle conducted?

2 A.          Yes, ma'am.

3 Q.          What was your role with respect to the search of

4 this vehicle?

5 A.          When any officers found anything that they felt

6 would be pertinent to the case, they would call for me

7 and I came over and       I recovered anything that was

8 evidence.

9 Q.          Is that sort of standard operating procedure for

10 searches?

11 A.         Yes, ma'am.

12 Q.         Could you explain to the jury how that works in

13 terms of how many officers were searching and how

14 physically did you become the recovering officer for

15 those items?

16 A.         Since I was the lead investigator for the case,

17 I'm right there on the scene, and maybe there's a

18 couple of officers that are searching a vehicle while

19 somebody else is dealing with the occupants of the

20 vehicle.     Whenever anybody is searching and they come

21 across an item, they call me over.       At that time,          I

22 come over and     I'll take custody of whatever we believe

23 to be evidence.      I'll put it into an evidence bag and

24 take notes on where we found the item.

25 Q.         Did you cause pictures to be taken?




                                                                Page 68
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 69 of 249



 1 A.       Yes, ma'am.

 2 Q.       First of all,      Your Honor, if    I may approach.

 3          THE COURT:     You may.

 4 Q.       Showing you what's been marked as government's

 5 Exhibit 28 and 28     A.

 6          Could you tell the jury what these are?

 7 A.       This is a    Motorola cellular telephone, and this

 8 is also a   Motorola telephonic paging device.        It's a

 9 pager.

10 Q.       At the time of your stop in         November of 2003,

11 did you record the numbers off these two items, the

12 telephone number of the pager and -- the telephone

13 number associated with the pager and the telephone

14 number associated with the cellular telephone?

15 A.       No, ma'am,     I didn't.

16 Q.       Was it necessary to do in connection with this

17 trial?

18 A.       I didn't do that, ma'am.

19 Q.       Not possible as far as you know?

20 A.       No, ma'am.

21 Q.       Government's      Exhibit 29.

22          What is that?

23 A.       This is a wallet that had several documents in

24 it.

25 Q.       That was seized from where?




                                                                Page 69
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 70 of 249



1 A.        It was from Mr . Goodwin's pants pocket.

2 Q.        Did you receive any money -- was any money

3 seized on that day?

4 A.        Yes, ma'am.

5 Q.        Showing you government's        Exhibit 30.

6           What is that?

7 A.        These are the property records that records the

8 amount of money that was seized during the

9 investigation on that day.

10 Q.       Could you tell the jury where the money was

11 seized from?

12 A.       From Mr. Goodwin's person.       He had several

13 different bundles in three different pockets.

14 Q.       Do you have a recollection of where the money

15 was and in what amount?

16 A.       I believe that there was $7,000 in one inside

17 coat pocket, another $2,025 in another coat pocket, and

18 about $685 or $695 in a pants pocket.

19 Q.       And you recorded the quantity and type of bills

20 recovered from each place?

21 A.       Yes, ma'am.

22 Q.       That's on Government's       Exhibit 30?

23 A.       Yes, ma'am.

24 Q.       For example:    M-1.   Would that be one location,

25 and then it's all listed under there?




                                                                Page 70
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 71 of 249



 1 A.         Yes, ma'am.

 2 Q.         For a total of $7,000?

 3 A.         Yes, ma'am.

 4            MS. JOHNSTON:       Your Honor, apparently there's a

 5 problem with the monitors.

 6            THE COURT:    Oh.

 7            MS. JOHNSTON:    The large monitor is not working,

 8 but the smaller ones are; is that correct?

 9            THE COURT:    Okay.    It's on now.

10            MS. GREENBERG:        Ms. Johnston has the magic touch

11 with this machine.

12            BY MS. GREENBERG:

13 Q.         M-2 lists the bills that were recovered from the

14 second location on       Mr. Goody's person      for a total of

15 $2,025?

16 A.         Yes, ma'am.

17 Q.         And M-3 lists the quantity and type of bills

18 that were recovered in the third location on             Mr.

19 Goody's person for a total of 685 dollars; is that

20 correct?

21 A.         Yes, ma'am.

22 Q.         And in your work as a drug law enforcement

23 officer in the drug area, did you notice anything

24 typical about these types of bills?

25 A.         Aside from the fact it was a large quantity of




                                                                  Page 71
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 72 of 249



 1 money, it was broken down into smaller bundles that

 2 were wrapped in rubber bands.

 3 Q.       What does that mean to you?

 4 A.       Well, what it --

 5          MR. MARTIN:    Objection.

 6          THE WITNESS:     -- in legitimate businesses --

 7          MR. MARTIN:    Objection.

 8          THE COURT:     Wait a minute.    Wait a minute.

 9 Don't keep answering once the objection is made.

10          Do you want to approach on it?

11                   (At the bar of the Court.)

12          THE COURT:     All right, what is the basis for

13 your objection?

14          MR. MARTIN:    Did you proffer him as an expert?

15          MS. GREENBERG:     No.

16          MR. MARTIN:    He's talking generally about what

17 bundles of money means, and        I think that's

18 inappropriate for him to talk about generally what

19 happens in drug cases.        I think he has to talk

20 specifically about this case and whether he has any

21 base of knowledge for believing that that is drug money

22 or the   proceeds of drug sells.

23          THE COURT:     Ms. Greenberg?

24          MS. GREENBERG:      Your Honor,     I can certainly

25 proffer him, in that case, as an expert.             I think his




                                                                Page 72
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 73 of 249



 1 recitation in all that he's done in his many years of

 2 narcotics work.

 3          THE COURT:    If you want him to be able to give

 4 viewpoints like that,       I think you need to qualify him.

 5 You may have already done that.

 6          All right, thank you.

 7          MS. GREENBERG:      Your Honor,     I believe    Mr.

 8 Martini's background as already given to the jury is

 9 sufficient for him to be qualified as an expert in the

10 field of narcotics trafficking, and           I ask that he be so

11 allowed to be give his opinion as to the nature and

12 trends of drug trafficking.

13          THE COURT:    All right.    Any objection?      Anybody

14 wish to inquire?

15          MR. MONTEMARANO:       I do, Your Honor.

16          THE COURT:      You may.

17          MR. MONTEMARANO:     Thank you.       I only have two

18 questions.

19                          CROSS-EXAMINATION

20          BY MR. MONTEMARANO:

21 Q.       You've been in narcotics investigation and

22 enforcement for about 12 years, give or take, sergeant?

23 A.       Yes, sir.

24 Q.       That's all in     P. G.?

25 A.       Yes, sir.




                                                                   Page 73
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 74 of 249



 1 Q.       It's during that time you attended that

 2 exhaustive list of classes; correct, sir?

 3 A.       Yes, sir.

 4 Q.       Classes all taught by police officers; correct?

 5 A.       Either law enforcement officers, retired

 6 officers --

 7 Q.       Prosecutors?

 8          MS. GREENBERG:       Your Honor, please let the

 9 witness finish.

10          THE COURT:     Yeah, let him finish.

11          THE WITNESS:     At times prosecutors and civilians

12 that are usually involved with law enforcement.

13          BY MR. MONTEMARANO :

14 Q.       You don't have a law degree; correct?

15 A.       No, sir,    I don't.

16 Q.       No defense attorney has ever spoke there; right?

17 A.       I have had classes where defense attorneys have

18 spoke.

19 Q.       Oh, okay.    Good.

20          Thank you,     Your Honor.

21                          CROSS-EXAMINATION

22          BY MR. MARTIN:

23 Q.       Good day, detective.

24 A.       Good afternoon.

25 Q.       Anthony    Martin for   Mr. Goodwin.




                                                                Page 74
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 75 of 249



 1            Are you published?

 2 A.         No, sir.

 3 Q.         Have you ever been subject to peer review to

 4 determine how good you are in terms of any articles

 5 that you may have written?

 6 A.         We don't have a peer review system with the

 7 Prince    George's     County Police Department.

 8 Q.         Have you ever been qualified before as an

 9 expert?

10 A.         Yes, sir.

11 Q.         Where?

12 A.         With the Circuit Court of      Prince   George's

13 County, Maryland and District Court with            Prince

14 George's    County,     Maryland.

15 Q.         I have no further questions,        Your Honor.

16            THE COURT:    All right,    I will accept him to give

17 expert opinions in the field that you've proffered.

18                         REDIRECT EXAMINATION

19            BY MS. GREENBERG:

20 Q.         Sergeant    Martini, given that the court has

21 accept you as an expert, can you tell this jury how

22 you've seen this type of bundles of bills before you

23 recovered from        Mr. Goodwin?

24 A.         What it is, when people are involved in a

25 legitimate business they have cashiers and cash




                                                                 Page 75
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 76 of 249



 1 registers, and they have computer systems that keep a

 2 legitimate record of exactly the transactions that take

 3 place and how they exchange money, but in an illegal

 4 distribution scheme of drugs you don't have a checkout;

 5 you don't have a cashier; you don't have a nice drawer

 6 that has a place for $1s and $5s and $10s and $20s.

 7            So, how does a drug person deal with their money

 8 is they'll put it in bundles or piles of maybe $100,

 9 fold it in half, put it in a rubber band, and that

10 small bundle represents $100.       Other times you will see

11 it in $1,000, in a thicker bundle, again folded              in half

12 with a rubber band.     You know, ten of these small

13 stacks equals $1,000, maybe.      Ten of these large stacks

14 equals $10,000.

15            With a drug transaction, it's very quick.

16 There's not a lot of time on these.        You don't want to

17 be caught by law enforcement.       So when you give

18 somebody -- let's say for instance -- a kilogram of

19 cocaine, and that person is going to exchange you

20 $30,000, you may get a paper bag with 30 of those

21 $1,000 bundles.    You count the bundles, you have 30,

22 you have    $30,000.

23            Again, they don't have a cash register.       How do

24 drug dealers keep track of their money?        By their

25 bundles.     Their casher register is their coat pockets,




                                                                Page 76
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 77 of 249



1 their pants pockets, their glove box, maybe a duffel

2 bag in the car.

3 Q.         And based on what you've seen in terms of your

4 -- have you seen that in terms of your work, what

5 you've just described?

6 A.         Yes, ma'am.   Numerous times.

7 Q.         How does that relate to the seizure that we had

8 here from    Mr. Goodwin on November 25, 2003?

9 A.         This quantity of money -- a majority of the

10 money was broken down into what         I would consider a drug

11 fold, or bundles.     They were folded in half, wrapped in

12 rubber bands in increments of,         I believe, you know,

13 $100, a $1,000.

14 Q.        Is that -- that drug folder or drug bundle.        Is

15 that a term you're just using here, or is that common

16 terminology in the law enforcement and drug community

17 for what you saw here?

18 A.        It's called a "drug fold," a "doper fold," a

19 "bundle."

20 Q.        So the approximate $9,710 that you seized from

21 Mr. Goodwin on November 25, 2003 fit what you have seen

22 before?

23 A.        Yes, ma'am.

24 Q.        Could you explain -- on the jurors' screen

25 there's this notation to 303 quantity of $20 bills.




                                                                Page 77
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 78 of 249



 1          Does that comport with your view that these were

 2 drug bundles or drug folds?

 3 A.       Again, it's a larger quantity of money, and a

 4 majority of the bills are larger quantities of bills, a

 5 lot of $20s, some $50s, some $100s.

 6 Q.       What is the significance of so many $20 bills?

 7 A.       Like other commodities, drugs are sold in either

 8 larger amounts or they cost more.

 9          MR. MONTEMARANO :      Objection,    Your Honor.

10          Calls for supposition about things.        This is a

11 bit far afield I submit,        Your Honor.

12          MS. GREENBERG:      Your Honor, it's his training

13 and experience.

14          THE COURT:    Ask it a different way so we don't

15 have this objection.

16          BY MS. GREENBERG:

17 Q.       Is there a significance to that large number of

18 $20 bills?

19 A.       A lot of times drugs are sold in increments of

20 $20, $100 -- there's not a lot of drugs that are sold

21 for $1.87.   There's not a lot of change involved.

22 Q.       Now, I'd     like to show you some items that are

23 contained within      Goodwin 29.

24          The wallet.    That was recovered from where?

25 A.       From his --    I believe it was his right rear




                                                                Page 78
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 79 of 249



 1 pants pocket.

 2 Q.        And were the numbers here recovered from the

 3 wallet?   This piece of paper?

 4 A.        Yes, ma'am.

 5 Q.        And I won't have you read all these, but two

 6 little yellow slips of paper with some numbers on it.

 7           Was that recovered from the wallet?

 8 A.        Yes, ma'am.

 9 Q.        And a MAMSI card.

10           Can you see that on your screen?

11 A.        Yes, ma'am.

12 Q.        Can you read the member name?

13 A.        It is --

14 Q.        Would you like me to zoom in a little?

15 A.        Mr. Learley     Goodwin.

16 Q.        How is that?

17 A.        The member name is     Mr. Learley     Goodwin.

18 Q.        Effective date?

19 A.        Is July 1st 1996.

20 Q.        The expiration date?

21 A.        Is June 30, 2004.

22 Q.        Do you see -- underneath the plan number do you

23 see a Group Name?

24 A.        Yes, ma'am.

25 Q.        What is that?




                                                                Page 79
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 80 of 249



 1 A.       Paula's School of Performing -- and it looks

 2 like an " A" for the last letter before it's cut off.

 3 Q.       Also in the wallet was there a driver's license?

 4 A.       Yes, ma'am.

 5 Q.       And in whose name is that?

 6 A.       That is    Mr. Learley   Reed Goodwin.

 7 Q.       Was that the same person that you arrested on

 8 that date?

 9 A.       Yes, ma'am.

10 Q.       Do you see this individual in the courtroom?

11 A.       Yes, ma'am.

12 Q.       Could you identify him by where he's sitting and

13 what he's wearing?

14 A.       He's going to be that gentleman sitting right

15 there with the brown shirt on.

16 Q.       Your Honor, let the record reflect that the

17 witness has identified       Mr. Goodwin.

18          MR. MARTIN:     No objection.

19          THE COURT:    The record will so indicate.

20          BY MS. GREENBERG:

21 Q.       What was    Mr. Goodwin doing in the car?      Was he a

22 passenger?   A driver?    Inside?    Outside?

23 A.       He was the driver of the vehicle.

24 Q.       Who was with him again?

25 A.       It was his 17 year-old daughter and 14 year-old




                                                                Page 80
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 81 of 249



 1 grandson.

 2 Q.       Was this card also in the wallet that was marked

 3 as Government's     Exhibit 29?

 4 A.       Yes, ma'am.

 5 Q.       Could you read, for the record, what's on this

 6 card in terms of the name and the business?

 7 A.       It's Lobo's Discount Car Center, and the

 8 person's name is     Mr. Good.

 9 Q.       And Department of Consumer and Regulatory

10 Affairs business license.

11          In what business name is that?

12 A.       The business name is       Lobo's Discount Car Center.

13 Q.       And licensing name?

14 A.       Learley   Goodwin.

15 Q.       Were there a couple of cards relating to another

16 individual recovered from        Mr. Goodwin?

17 A.       Yes, ma'am.

18 Q.       Could you read what this -- the name and the

19 description on this card?

20 A.       The card is for      Paulette   Martin, and Designer

21 Clothing.

22 Q.       Could you read what the number was on this card?

23 A.       Telephone number (301) 439-3545.

24 Q.       Court's indulgence.

25          Did you take pictures of this particular




                                                                Page 81
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 82 of 249



 1 vehicle?

 2 A.         I don't recall if we did take pictures of the

 3 vehicle.

 4 Q.         Let me show you     P-77 and ask if that image is

 5 familiar to you.

 6 A.         Oh, yes.

 7            I mean, we took pictures of items and things we

 8 recovered in the vehicle.            I don't recall pictures of

 9 the vehicle.

10 Q.         That was a bad question.

11            Do you recognize what's depicted in P-77?

12 A.         Yes, ma'am,     I do.

13 Q.         What is that?

14 A.         That's a   Pepsi bottle -- actually, a fake

15 compartment that you can conceal items in.

16 Q.         What is reflected in P-78?

17 A.         That's that same        Pepsi bottle that's been taken

18 apart to demonstrate how it comes apart to conceal

19 items.

20 Q.         Where was this     Pepsi bottle that's reflected in

21 P-77 and P-78 when you recovered it?

22 A.         It was located on the front passenger seat of

23 the Cadillac El Dorado         Mr. Goodwin was driving and

24 parked in front of the Outback steakhouse.

25 Q.         Is this picture substantially how you saw that




                                                                Page 82
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 83 of 249



1 Pepsi bottle in the car?

2 A.         Yes, ma'am.

3 Q.         When you opened up this bottle, as reflected in

4 P-78, did you find anything inside it?

5 A.         Yes, ma'am.

6 Q.         What did you find inside it?

7 A.         Approximately 30 to 32 grams of suspected

8 cocaine base or crack cocaine.

9 Q.         Is that what is depicted in P-79?

10 A.        Yes, ma'am.   That's an overall picture of all

11 the items that were found within the bottle and the

12 bottle beside it.

13 Q.        You have the -- you've seized the bottle, so you

14 have it to show the jury?

15 A.        Yes, ma'am.

16 Q.        Could you describe this picture of what is

17 depicted in the picture before you showed them the

18 bottle?

19 A.        The base of the bottle is sitting upright, the

20 top of the bottle is laying on its side, and then

21 within it are small plastic Ziploc baggies which

22 contain quantities of suspected cocaine base and also

23 another larger plastic bag that had some smaller Ziploc

24 baggies within it.

25 Q.        This item there.    Is that marking on the plastic




                                                                Page 83
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 84 of 249



 1 baggy?

 2 A.        It looks like it's a little apple-type.

 3 Q.        What is depicted in P-80?

 4 A.        That's some of the currency that was seized.

 5 Q.        And P-81?

 6 A.        That's more of the currency that was seized in

 7 its original bundle form.

 8 Q.        And P-82?

 9 A.        That's also another item of the money that was

10 seized.

11           Again, those are in the original bundle form.

12 Q.        Is it correct to say that before you made up

13 your list --

14           A JUROR:     Your Honor, we did not see --

15           MS. GREENBERG:        Your Honor, maybe   I could

16 publish the pictures to the jury.

17           A JUROR:    It's bleeding out.

18           THE COURT:    Yeah.    They couldn't see it.

19           MS. GREENBERG:        I will publish this to the jury.

20           THE COURT:    Circulate it to the jury.

21           BY MS. GREENBERG:

22 Q.        So the pictures the jury is looking at are

23 originally how you seized them from           Mr. Goodwin?

24 A.        Yes, ma'am.

25 Q.        Now, I showed you this particular card and            I




                                                                 Page 84
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 85 of 249



 1 asked you to read       Mr. Good and the business, but        I

 2 neglected to ask you, sir, to read the number -- the

 3 telephone number on the top.

 4            Could you read that for the jury?

 5 A.         The telephone number is (202) 388-9033.

 6 Q.         How does that number relate, if at all, to the

 7 calls that you received during your work that day back

 8 from the individuals that you and          Mr. Dorsey were

 9 calling?

10 A.         Well, Mr. Dorsey was trying to make contact with

11 the target of our investigation, and he received a

12 telephone call back; the caller         ID showed that number

13 of (202) 388-9033.

14 Q.         Your Honor, with the court's permission          I think

15 that this exhibit would be better seen if the witness

16 approaches the jury.

17            THE COURT:   All right, you may.

18            BY MS. GREENBERG:

19 Q.         For the record,     I am handing you Government's

20 Exhibit    Goodwin 27 and Drugs 1.

21            Taking Government's     Exhibit 27.    Could you

22 explain to the jury where you found them?

23 A.         When we found it, it was just laying on the

24 passenger front seat of the vehicle which is flat on

25 the seat.    If you saw it in the picture, that's how we




                                                                 Page 85
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 86 of 249



 1 discovered it, just laying there like that.

 2 Q.       Did you end up discovering what's marked as

 3 Drugs 1 in that bottle?

 4 A.       Yes, ma'am.

 5 Q.       That is depicted on the pictures that we showed

 6 the jury a few minutes ago?

 7 A.       Yes, ma'am.

 8 Q.       Could you show them with that         Pepsi bottle how

 9 that works and where Drugs 1 was?

10 A.       What it is is that in the lower portion of this

11 is a water substance that's been colored -- it might

12 even be real    Pepsi -- but you can see it.       It looks

13 like it's a full      Pepsi.    It has a weight of a      Pepsi

14 bottle so it's been half drank so you'd never know,               and

15 the items that are concealed would be behind the label.

16 So when you take this off, it comes off, and they're

17 hidden right inside there.

18 Q.       And Drugs 1.    Where did that come from?

19 A.       From right inside here.

20 Q.       Your Honor, may       I publish Drugs 1 and Goodwin 30

21 to the jury?

22          THE COURT:     You may.

23          BY MS. GREENBERG:

24 Q.       Sir, while the jury is looking at Drugs 1, could

25 you approximate the street value of those drugs?




                                                                 Page 86
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 87 of 249



 1 A.       Approximately $6,000.

 2 Q.       Based on your experience, is that a quantity

 3 consistent with possession or a quantity consistent

 4 with distribution?

 5 A.       With possession with intent to distribute.

 6 Q.       Is it a quantity consistent with simple

 7 possession?

 8 A.       No, it wouldn't be.

 9          What it is, it's approximately 30 grams.         An

10 individual serving of cocaine or crack cocaine is

11 usually a small rock.     It's      .1 gram -- a tenth of a

12 gram.   There's approximately 30 grams there, so that

13 would be approximately 300 servings contained within

14 that bag.   If each serving costs $20, that's

15 approximately $6,000 worth of cocaine.

16 Q.       Court's indulgence.

17          Your Honor, just to be clear,         Goodwin 27 is the

18 Pepsi bottle, for the record, that will be moved in as

19 an exhibit.

20          THE COURT:    All right.

21          MS. GREENBERG:     Just to be careful.

22          No further questions.

23          THE COURT:    All right.    This would be an

24 appropriate time for a break.       Let's recess until five

25 minutes of 12.




                                                                  Page 87
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 88 of 249



 1                         (Witness excused from the stand.)

 2                         (Jury excused at 11:36 a.m.)

 3                         (Off the record at 11     :36 a.m.)

 4                         (On the record at 11     :57 a.m.)

 5            THE COURT:   Ready for the jury?

 6            MR. MONTEMARANO :    Just a couple of preliminary

 7 matters.

 8            MS. GREENBERG:    Does     Mr. Montemarano   need the

 9 witness to step out of the room?

10            MR. MONTEMARANO :    I don't believe so.

11            Your Honor, the defense would proffer that

12 Sergeant    Martini was not identified in advance as an

13 expert.    Unless the government can proffer to the

14 contrary, we don't recall it.            I don't think any of us

15 has the formal expert notification from the government,

16 number one, and there were rulings with regard to that.

17 We are entitled to make requests under Rule 16.                Your

18 Honor recalls ruling on several motions by defendants

19 concerning the materials upon which the expert would be

20 relying, A, as well as, B, the summary of their

21 qualifications.    That's number one.

22            Moving past that.        I will open the cross on

23 Sergeant    Martini but     I'm going to do a small and

24 limited section.        I'm just going to do it in advance of

25 Mr. Martin, who will be -- in essence is the primary




                                                                 Page 88
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 89 of 249



 1 cross-examiner.

 2           Is that acceptable to the court, or would the

 3 court want    Mr. Martin to proceed?

 4           THE COURT:    You have already had an opportunity

 5 to cross-examine him on qualifications.

 6           MR. MONTEMARANO:     This gentleman has just

 7 finished.

 8           MS. GREENBERG:     About his qualifications.

 9           THE COURT:     I inquired as to whether anybody

10 wished to cross on qualifications, and nobody said

11 "yes."

12           MR. MARTIN:    This isn't about qualifications.

13           MR. MONTEMARANO:     We're talking about not the

14 question of qualifications but, rather, the question of

15 advanced notice, which we are entitled to, which we

16 demanded and which we raised issues regarding.

17           THE COURT:    You didn't raise any issue about it

18 when he was -- in fact, the defense asked that the

19 prosecution qualify him.      When the prosecution

20 qualified him, no objection was made to him being an

21 expert.

22           Isn't it a little late to be doing this?

23           MR. MONTEMARANO:      I'm sorry?

24           THE COURT:    I sn't it a little late to be making

25 this objection?




                                                                Page 89
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 90 of 249



 1           MR. MONTEMARANO :     When   the government offered

 2 him as an expert witness, we did object.             I think that

 3 is adequate to preserve the record, based upon what we

 4 have been through up to this point relative to --

 5           MS. GREENBERG:    Your Honor, may I just put on

 6 the record, Rule 16, Expert Witness section, which is

 7 under subsection (a)(1)(g) said, "any witness the

 8 government intends to use as an expert."             I didn't

 9 intend to use this witness as an expert.             I merely

10 responded to defense       counsel' s objection, and therefore

11 acceded to    their request that he be qualified as an

12 expert before he talk about the drug bundles.         It

13 wasn't somebody we called as an expert witness during

14 their testimony.     There was an objection and            I met that

15 objection, and     I did not foresee him testifying as an

16 expert.   Therefore,     I have not violated the rule.

17           THE COURT:    I'm going to overrule the objection.

18           You may inquire, if you wish, on

19 cross-examination.

20           MR. MONTEMARANO :     Thank you.

21           As to the cross-examination order, the court has

22 no problem with our suggestion that           I will precede     Mr.

23 Martin, but    I'm only to do a limited portion of his

24 testimony.

25           THE COURT:   You mean because you're not the lead




                                                                 Page 90
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 91 of 249



 1 cross-examiner?

 2          MR. MONTEMARANO:     Pretty much.

 3          THE COURT:    All right,     I'll tolerate that.

 4          Bring the jury in.

 5                        (Witness resumes the stand.)

 6                        (Jury returns at 12     :01 p.m.)

 7          MS. GREENBERG:      Your Honor, the exhibits did not

 8 make their way around the jury, so if we can continue

 9 publishing the exhibits they had before the break.

10          THE COURT:    You may.

11          Mr. Montemarano, you may proceed.

12          MR. MONTEMARANO:     Thank you,      Your Honor.

13                        RE CROSS EXAMINATION

14          BY MR. MONTEMARANO:

15 Q.       Good morning,     Sergeant   Martini.    How are you?

16 A.       Good morning.    Fine.

17 Q.       I've got a couple of questions for you about the

18 testimony you gave based upon your expertise concerning

19 money.

20 A.       Yes, sir.

21 Q.       You're an expert, so you can qualify --

22 A.       All right.

23 Q.       Let's imagine you needed legal representation,

24 okay?

25 A.       I needed what?




                                                                Page 91
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 92 of 249



 1 Q.        Legal representation.     Needed to hire an

 2 attorney.

 3 A.        Okay.

 4 Q.        Let's assume you call up that attorney, and

 5 let's assume you call me.      You know my name.     It is

 6 Italian like yours.     So you see my name in the phone

 7 book and you call me up, okay?

 8 A.        All right.

 9 Q.        Let's assume we set up an appointment, and let's

10 assume you come to my office.       Okay?

11           Let's assume you told me that        I would -- that

12 you need me to start work immediately, okay?         Fair

13 enough?

14 A.        Yes, sir.

15 Q.        In your experience, you're aware that an

16 attorney wouldn't start work until he was paid; is that

17 a fair statement?

18           MS. GREENBERG:      Your Honor, I object.         I'm

19 willing to give this some leeway, but I don't at all

20 see how this is relevant to this witness's direct

21 testimony.

22           THE COURT:   Tie it together pretty soon.

23           MR. MONTEMARANO :     Absolutely,    Your Honor.

24           THE COURT:   Overruled.

25           BY MR. MONTEMARANO :




                                                                Page 92
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 93 of 249



1 Q.        Let's assume you came to my office and you

2 brought cash to pay your legal fees.

3 A.        Okay.

4 Q.        Let's assume you sat down across the desk from

5 me and you handed me cash.       Would it be possible you

6 might have counted out that cash and separated it into

7 bundles to save the time for it to be counted?          Would

8 that be possible?

9 A.        That is possible.

10 Q.       It would be possible that as a lawyer            I might

11 not have a cash register in my office?

12 A.       That's possible.

13 Q.       So if I sat and counted the money and separated

14 it into folds so that       I could take it to the bank and

15 save my teller some time, that wouldn't make me a drug

16 dealer would it?

17 A.       If you're telling me in that circumstance that a

18 legitimate client came to you and gave you legitimate

19 money and now you're taking that money to the bank, no,

20 I don't see how that would make you a drug dealer.

21 Q.       It wouldn't    make you a drug dealer that you came

22 into my office with the money already bundled in your

23 pocket, would it, sir?

24 A.       No, sir, it wouldn't.

25 Q.       And the part of     P.G. County where you made the




                                                                Page 93
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 94 of 249



 1 arrest, what is the racial composition of that neck of

 2 the woods in    P. G., because      I'm from   P.G. so   I don't

 3 know.

 4 A.        I don't know the exact racial composition

 5 myself.

 6 Q.        Based on your training and your experience as a

 7 P. G. County narc -- narcotics officer for 12 years,

 8 give or take, would it be fair to say that a majority

 9 of the people you investigate and/or arrest happen to

10 be African-American?

11           MS. GREENBERG:    Objection.

12           THE COURT:   What's the relevance of that?

13           MR. MONTEMARANO :     Just asking.

14           THE COURT:   Sustained.

15           BY MR. MONTEMARANO :

16 Q.        So you would agree that there are lots of

17 reasons that somebody might have money folded and

18 separated into bundles in discreet amounts?

19 A.        There are usually several explanations for

20 everything everybody does.

21 Q.        No further questions, sergeant.      Thank you for

22 your time.

23           THE COURT:   All right.

24                         CROSS -EXAMINATION

25           BY MR. MARTIN:




                                                                Page 94
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 95 of 249



1 Q.        Good afternoon, Detective Martini.        My name is

2 Anthony    Martin and    I represent    Mr. Goodwin.

3           You testified about this stop at the           P. G.

4 shopping plaza, and your confidential witness was a                  Mr.

5 Raynard    Dorsey; is that correct?

6 A.        Yes, sir.

7 Q.        You had investigated       Mr. Raynard    Dorsey prior to

8 this stop taking place; is that correct?

9 A.        That I investigated      Mr. Dorsey?     No, sir.      I

10 never had an investigation against          Mr. Dorsey.

11 Q.       Mr. Dorsey was in custody at the time, wasn't

12 he?

13 A.       Yes, sir, he was.

14 Q.       And Mr. Dorsey, as a result, was facing

15 potential charges at the time, was he not?

16 A.       Yes, sir.

17 Q.       Mr. Dorsey was not free to leave and go where he

18 wanted, was he?

19 A.       That is correct, sir.

20 Q.       So Mr. Dorsey makes these phone calls because

21 you tell him that you want to target suppliers of

22 drugs; is that your testimony?

23 A.       Yes, sir.

24 Q.       And you also tell him what quantities you're

25 interested in; isn't that correct?




                                                                Page 95
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 96 of 249



 1 A.        Yes, sir.

 2 Q.        As a result of that,      Mr. Dorsey agrees to

 3 cooperate with you; right?

 4 A.        Yes, sir, that's correct.

 5 Q.        So Mr. Dorsey makes some phone calls, and at

 6 some point he tells you that a white           Cadillac is going

 7 to come at a certain place at a certain time; correct,

 8 sir?

 9 A.        Yes, sir, along with some other information that

10 he provided.

11 Q.        Along with some other information.

12           And eventually you see the quite         Cadillac show

13 up, and   Mr. Dorsey says, that's the vehicle; correct?

14 A.        Yes, sir.

15 Q.        As you testified earlier that in the vehicle

16 were three people, including         Mr. Goodwin.

17 A.        Yes, sir.

18 Q.        Now you go and search this vehicle, but let me

19 ask you this.    Before doing so, did you check the

20 registration on that car?

21 A.        No, sir,    I didn't.

22 Q.        Did you know that the car was registered to

23 Doran Dorsey?

24 A.        Not at the time of the incident, no, sir.

25 Q.        Did Mr. Dorsey ever tell you that that was his




                                                                Page 96
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 97 of 249



1 vehicle?

2 A.         Not until after -- no, he never told me it was

3 his vehicle; and       I didn't know about the registration

4 until after the event took place.

5 Q.         Did Mr. Dorsey also tell you that the contents

6 in the vehicle belonged to him?

7 A.         No, sir.

8 Q.         Now, there was a substantial amount of time that

9 passed before any drugs were actually found in that

10 car; isn't that true?

11 A.        Substantial.    Reasonable.      I didn't clock it

12 but, yes, it was a little bit of time until we

13 discovered it in the hidden bottle.

14 Q.        In fact, you were having trouble finding the

15 drugs, didn't you?

16 A.        That is true.

17 Q.        Did you    call Mr. Dorsey, or     Mr. Dorsey called

18 you and he told you where to look; isn't that correct?

19 A.        No, sir, he didn't.

20 Q.        And as a result of your search, you found these

21 drugs in a plastic container; correct?

22 A.        Well, while on the scene we received indication

23 why the -- where to look for the drugs.

24 Q.        Who gave you that information?

25 A.        It was his 17 year-old daughter that was in the




                                                                Page 97
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 98 of 249



1 vehicle.     She said that's where her father kept it.

2 Q.         Did you at any time take that plastic bottle

3 and test it for fingerprints?

4 A.         I tested it for fingerprints myself, sir.

5 Q.         You didn't find    Mr. Goodwin's fingerprints on

6 there, did you?

7 A.         I didn't have any luck recovering any

8 fingerprints.

9 Q.         Did you check to see if       Mr. Dorsey's

10 fingerprints were on that bottle?

11 A.        When I dusted the bottle for latent

12 fingerprints,    I couldn't recover any.

13 Q.        You wrote a report regarding this stop, did you

14 not?

15 A.        Yes, sir.

16 Q.        And you put everything that was pertinent and

17 relevant -- everything that was important in that

18 report; right?

19 A.        I don't believe    I put --    I don't believe     I put

20 anything and everything.         I put enough to have the

21 person charged -- criminally charged.

22 Q.        You never mentioned in your report that his

23 daughter said there was drugs in the bottle, did you?

24 A.        I don't believe that I put that anywhere, sir.

25 Q.        No, you didn't.




                                                                Page 98
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 99 of 249



1           What else did you find in that car, detective?

2 You said you found money from          Mr. Goodwin.     Did you

3 find money in any other place in the car?

4 A.        No, not that     I can recall.

5 Q.        You don't recall.

6           You also said that you noted certain telephone

7 numbers, and one of those telephone numbers was from

8 Lobo's discount; is that correct?

9 A.        Yes.    It was on that business card and it was on

10 the caller      ID from an earlier made phone call.

11 Q.       There was no surveillance of anyone at            Lobo's

12 Discount prior to the stop taking place at             P. G.

13 shopping plaza; isn't that correct?

14 A.       We didn't have any addresses prior to that stop

15 that we could set up on.      We didn't know where that

16 number came back to.

17 Q.       Mr. Dorsey told you that he knew this particular

18 supplier and he knew about his whereabouts; right?

19 A.       I don't know if you would say his "whereabouts,"

20 but he was familiar with the individual and knew of

21 some potential addresses where he could be.

22 Q.       So you could have set up a surveillance at

23 Lobo's Discount; correct?

24 A.       Prior to the stop we did not have the address or

25 the name of      Lobo's Discount.




                                                                  Page 99
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 100 of 249



 1 Q.       You could have asked       Mr. Dorsey for that and

 2 gotten it; right?

 3 A.       To the best of my recollection we did talk to

 4 him about him.       I don't know if he ever had a true,

 5 good address where he knew exactly that he could give

 6 us and we could go set up on it.

 7 Q.       So your testimony is that         Mr. Dorsey did not

 8 know where to find      Mr. Goodwin?     Is that your

 9 testimony?

10 A.       I'm saying he didn't provide us with an exact

11 address for anywhere we could go and set surveillance

12 prior to this taking place.

13 Q.       He mentioned a      Tiffany Vessels to you, did he

14 not?

15 A.       Pardon me?

16 Q.       He mentioned     Tiffany Vessels to you, didn't he?

17 A.       I would have to maybe refer to my notes.

18 Q.       Would you like to refer to your notes?

19 A.       Yes, sir.

20          I don't have anything in my notes, or            I can't

21 recall anything that about a         Tiffany Vessels.

22 Q.       You don't recall her name at all?

23 A.       No, sir.

24 Q.       That's fair.

25          I'm going to give you your notes anyway.         You




                                                                Page 100
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 101 of 249



 1 may want to look them during the course of your

 2 testimony, if the judge allows me to do that.

 3          Did Raynard     Dorsey tell you where he lived?

 4 Where Raynard     Dorsey lived?

 5 A.       Did Raynard tell me where he lived himself.

 6 Q.       Yeah.

 7 A.       Mr. Dorsey?

 8 Q.       Yeah.

 9 A.       Again, if    I can refer back to my notes.

10 Q.       If I may approach,        Your Honor --

11          THE COURT:     You may.

12          BY MR. MARTIN:

13 Q.       -- just to give him his notes.

14          Just for the record,        I'm handing the police

15 officer all of the discovery that           I got relating to

16 this particular incident -- this particular stop on

17 November 25, 2003.

18          So, your testimony is that despite all of your

19 experience investigating narcotics dealers and

20 suppliers and buyers, you never thought to ask              Mr.

21 Dorsey where he could find         Mr. Goodwin?

22 A.       Yes, sir,    I did.   Definitely.

23 Q.       And he never mentioned to you that           Mr. Goodwin

24 lived with his aunt,       Tiffany Vessels?     That's your

25 testimony?




                                                                 Page 101
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 102 of 249



 1 A.        No, sir, he didn't.

 2 Q.        Did Mr. Dorsey ever tell you that          Mr. Goodwin

 3 had paid to get him out of jail?

 4 A.        I'm a little bit confused.

 5 Q.        Did Mr. Dorsey tell you that        Mr. Goodwin paid to

 6 get him out of jail?

 7 A.        You mean on another occasion?

 8 Q.        Yes.

 9 A.        If he did, again,       I don't recall.

10 Q.        And did    Mr. Dorsey tell you that the        Cadillac

11 that Mr. Goodwin was stopped in was collateral for

12 repayment?

13 A.        No, sir, he didn't.

14 Q.        With respect to     Lobo's Discount.

15           Do you know how many cars        Mr. Goodwin sold on

16 that particular day at        Lobo's Discount?

17 A.        No, sir,    I don't.

18 Q.        But you did check out       Lobo's Discount afterward

19 and discover that it was a car dealership, did you not?

20 A.        No, sir,    I didn't.

21 Q.        So you never checked to see whether or not there

22 was a legitimate source for the money that you found on

23 Learley   Goodwin?

24 A.        I didn't, but we have people within our unit

25 that do those things.




                                                                Page 102
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 103 of 249



1 Q.         Did anybody within your unit check that out?

2 A.         I'm not sure.

3            After I seized the money, we have another

4 investigative unit that does the followup on any money

5 seizure.

6 Q.         You didn't follow up on that because at that

7 point, as far as you were concerned, you had your man;

8 right?

9 A.         It's not my duty to follow up on where money --

10 whether it's legitimate or not.      We have a financial

11 unit that follows up on whether it's legitimate funds

12 or not, but that's not my duty.

13 Q.        Are you finished testifying?

14 A.        Yes, sir.

15 Q.        You testified that based on your training and

16 experience, certain things that you see lead you to

17 believe that the money is illegitimate and that it's

18 tainted money; isn't that correct?       Isn't that what you

19 testified to earlier?

20 A.        There are certain pieces of the puzzle that

21 combine to lead you to certain decisions or certain --

22 Q.        Conclusions?

23 A.        There you go, conclusion.

24 Q.        Certain conclusions.    And that was your opinion;

25 right?




                                                               Page 103
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 104 of 249



 1 A.       Yes, sir.

 2 Q.       You didn't look for anything that may have

 3 contradicted that conclusion, did you?

 4 A.       Like I said,     I seized the money;       I seized drugs;

 5 I made the arrest.     Then there's a followup unit that

 6 looks into the money and whether it's legitimate.          They

 7 do their thing as far as the financial aspect.

 8 Q.       Sir, I'm going to ask you the question again.

 9 It's a real easy question.

10          So there was nothing that you did that led you

11 to investigate whether or not there were other

12 explanations for your conclusion; is that correct?

13          It's either yes or no.

14 A.       I didn't do any followup either way to come to

15 the conclusion, or either to prove or disprove what                I

16 felt.

17 Q.       So the answer is no; correct?

18 A.       I didn't do any further investigation or look

19 into it further to prove or disprove what             I thought it

20 was.

21 Q.       If I might, just for a minute -- court's

22 indulgence.

23          How many people were involved in the search

24 there on November 25, 2003, if you recall?

25 A.       Approximately four or five investigators --




                                                                Page 104
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 105 of 249



1 officers.

2 Q.       While they were doing that search, you also had

3 some people there with cameras; right?

4 A.       I mean, we had a camera on the scene, and we

5 were taking pictures of things as we found them.

6 Q.       Isn't it a fact that what really happened was

7 you placed the items in a position so that you could

8 get a clear picture of them?

9 A.       If we found an item of evidence, we tried to

10 take it in its original position where it was.         Some of

11 the photographs that the jury has seen where things are

12 laid out on the floor, now that's where we had it back

13 at our office.    Before we process it as evidence, we

14 like to take good pictures of it.

15 Q.      Right.    So when you testified earlier that you

16 found the   Pepsi bottle in the front of the car, that,

17 in fact, is not where it was found.

18 A.      Detective Grant discovered that          Pepsi bottle.

19 That's where it was found, laying on the passenger

20 front seat.

21 Q.      So you didn't find it, somebody else did.

22 A.      That's correct.

23 Q.      So you're just testifying as to what somebody

24 else found.

25 A.      Yes, sir.




                                                               Page 105
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 106 of 249



1 Q.          And you had no reason to doubt him, because he's

2 a police officer; right?

3 A.          I have no clear cut reason to doubt him.

4 Q.          Mr. Dorsey, you said, was in custody.      Where was

5 he?

6 A.          He was right in close proximity standing by the

7 vehicle.

8 Q.          Did you monitor   Mr. Dorsey in the 24 hours prior

9 to this stop taking place?

10 A.         No, sir,   I didn't.

11 Q.         Do you know whether      Mr. Dorsey made any phone

12 calls in the 24 hours prior to this stop at            P. G.

13 shopping plaza?

14 A.         No, sir, I don't have any first hand knowledge

15 of that.

16 Q.         Did Mr. Dorsey tell you that other people had

17 access to the white       Cadillac besides     Mr. Goodwin?

18 A.         No, sir.   That never came up.

19 Q.         Did you assume, based on your training and

20 experience, that because          Mr. Goodwin was driving that

21 car that he was the owner of the vehicle?

22 A.         I don't know if   I assumed at any point that he

23 owned the vehicle.        I know he utilized the vehicle from

24 what I was told.

25 Q.         Did you assume that because       Mr. Goodwin was




                                                               Page 106
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 107 of 249



1 driving at that time that he had exclusive use of the

2 vehicle?

3 A.         I don't know if he had --       I never thought that

4 maybe he had exclusive use, but he had the use of it at

5 the time when      I stopped him.

6 Q.         So you assumed at the time of the stop that any

7 contraband found in the vehicle belonged to him.

8 A.         He was the driver of the vehicle and in

9 possession, so, yes,       I did.

10 Q.        And you didn't actually find the drugs on his

11 person, did you?

12 A.        No, sir.

13 Q.        Okay.   Now,   I think if   I heard you correctly you

14 also said that there were no recordings of any of the

15 conversations between        Mr. Dorsey and   Mr. Goodwin prior

16 to the stop; is that correct?

17 A.        That is correct, sir.

18 Q.        Were you standing next to       Mr. Dorsey when he

19 made the phone calls to        Mr. Goodwin?

20 A.        Yes, sir.

21 Q.        And you had the ability or capacity to make

22 recordings if you wanted to, didn't you?

23 A.        That was in    November of 1993.

24 Q.        2003, sir.

25 A.        I'm sorry, 2003.




                                                               Page 107
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 108 of 249



 1          I don't think     I had the ear piece adapter to

 2 make recorded phone calls on that day.         Cell phones

 3 take a little bit of a different recording device.

 4 Q.       So your testimony is that on 25 November 2003,

 5 just a few days shy of 2004, you didn't have the

 6 technology to record a telephone conversation in a

 7 setup buy?

 8 A.       In a what?

 9 Q.       It's not a controlled by, it's set up.         A sting

10 operation.    That's your testimony?

11 A.       Oh, no, no, no, no.      The technology is there.              I

12 personally, and my partner on that day, did not have

13 the proper ear piece adapter to make the phone call or

14 record a phone call.

15 Q.       Based on your training, your experience and your

16 background, that would have been a good investigative

17 technique, wouldn't it?

18          You could have done that.

19 A.       Any piece of the pie you can present to the jury

20 is always a good thing.

21 Q.       Exactly.     And that would have been a powerful

22 piece of evidence to submit to the jurors -- to the

23 ladies and gentlemen of the jury to consider to

24 corroborate    Mr. Dorsey; correct?

25 A.       If at that time we were going to disclose who




                                                                Page 108
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 109 of 249



1 the confidential informant at the time to the jury.           If

2 we weren't going to disclose him, we would be doing

3 that now.

4 Q.       You wouldn't have been worried about exposing

5 the identity of an informant at the time of trial,

6 would you?

7 A.       Sometimes there is like -- as it was stated

8 earlier, sometimes you do divulge informants and

9 sometimes you don't.

10 Q.      So we don't have any way of knowing exactly what

11 Mr. Dorsey said to     Mr. Goodwin other than your

12 recollection of something that occurred almost two and

13 half years ago; is that correct?

14 A.      Yes, sir.

15 Q.      You didn't tap the telephone line at            Lobo's

16 Discount, did you?

17 A.      No, sir.

18 Q.      So we don't have a recording from that end

19 either, do we?

20 A.      No, sir.

21 Q.      Did Mr. Dorsey tell you that         Mr. Goodwin owned

22 several apartments?

23 A.      I don't recall being told he owned several

24 apartments.      I knew he stayed at several different

25 locations, or     I was told.




                                                               Page 109
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 110 of 249



 1 Q.        This was near the end of the month, wasn't it?

 2 A.        November 25.    Close to the end of the month,

 3 yes, sir.

 4 Q.        Close to the end of the month.

 5           Court's indulgence; ladies and gentlemen,

 6 please.

 7           Your Honor, if     I may approach and take back the

 8 items that    I gave to the witness earlier.

 9           THE COURT:     You may.

10           BY MR. MARTIN:

11 Q.        There were a number of items that were taken

12 from the vehicle on that day.           I think that was your

13 testimony; is that correct, officer?

14 A.        There was -- well, there was only a few items:

15 Some documents, the drugs, the          Pepsi bottle.

16 Q.        And there was some paperwork, too?

17 A.        Yes, sir.

18 Q.        I think, if    I recall correctly, trial counsel

19 for the government had put up some documents for               you to

20 look at, phone numbers and things like that?

21 A.        Yes, sir.

22 Q.        There were small slips of paper?

23 A.        Those were taken from his wallet that was on his

24 person.

25 Q.        Do you recall whether or not        Mr. Goodwin had any




                                                                Page 110
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 111 of 249



 1 bank deposit slips on him at the time?

 2 A.        No, I don't.

 3 Q.        Just to make absolutely certain, your testimony

 4 is that   Mr. Goodwin's daughter told you her dad keeps

 5 drugs in the bottle?      That's your testimony?

 6 A.        I said that she related information to us that

 7 that's where her dad kept it.       She spoke those words to

 8 Detective Grant and Detective Grant spoke those words

 9 to me.

10 Q.        I have no further questions of this witness,

11 Your Honor.

12           One last thing.    You said "Detective Grant;" is

13 that correct?

14 A.        Yes, sir.

15 Q.        I have nothing further.

16           MR. HALL:    Your Honor, if      I may.

17           THE COURT:     You may.

18           MR. HALL:    Government counsel, could         I see

19 number 29?    If   I may approach the witness,         Your Honor.

20           THE COURT:     You may.

21                              CROSS-EXAMINATION

22           BY MR. HALL:

23 Q.        Sergeant, isn't it; correct?

24 A.        Yes, sir.

25 Q.        I'm showing you what has been introduced as




                                                                Page 111
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 112 of 249



1 Government's Exhibit        Goodwin 29.

2            Is that an exhibit you were shown earlier this

3 morning?

4 A.         Yes, sir, it was.

5 Q.         Do you recall that?

6 A.         Yes, sir.

7 Q.         Okay.   Hold onto it just for a second, if you

8 will.

9            Sir, did you -- you went through everything that

10 was in that wallet; is that correct?       You looked at all

11 the items?

12 A.        At one time, yes,     I did.

13 Q.        Yes.    And you found -- if     I recall correctly,

14 you found a number of business cards?

15 A.        Yes, sir.   Some business cards, documents,

16 little slips of paper.

17 Q.        And a couple of small pieces of paper that would

18 fit in a wallet; correct?

19 A.        Yes, sir.

20 Q.        Okay.   And a number of those items had phone

21 numbers written on them; is that fair to say?

22 A.        Yes, sir.

23 Q.        Okay.   And some of those phone numbers have

24 individuals' names next to it; is that right?

25 A.        Yes, sir.




                                                               Page 112
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 113 of 249



1 Q.          And would you -- did you look at all of them?

2 A.          At one time, yes,    I did.

3 Q.          Not this morning necessarily, but at some point

4 in your investigation or your handling of this case you

5 looked at all of those names and numbers; right?

6 A.          Yes, sir.

7 Q.          Would you agree with me that the name "        Reece

8 Whiting" is not on any of those pieces of paper?

9 A.          What name?

10 Q.         "Reece Whiting."

11 A.         There's several different phone numbers, several

12 different    names, and    I haven't looked at this for a

13 while.     I don't recall whether it's there or not.

14 Q.         Go ahead and take a look.     Tell me if you see

15 the name " Reece Whiting."

16 A.         Do you want me to break the seal on this?

17 Q.         Or I can show you -- go ahead and open it.

18 A.         The name " Reece Whiting" is not on any of these

19 papers.     I didn't see it.

20 Q.         Okay.   All right.   Now, let me ask you this.          I

21 believe you indicated in your direct examination that

22 the phone calls that were made involving this             Mr.

23 Dorsey were made from -- were they made from a police

24 station?     Is that correct?

25 A.         Yes, sir.




                                                               Page 113
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 114 of 249



1 Q.          Which station was it?

2 A.          It was the District 3 station located in Palmer

3 Park.

4 Q.          That's what's commonly referred to sometimes as

5 the Seat Pleasant Station, or officially known as

6 District 3; right?

7 A.          Yes, sir.

8 Q.          And there's a detective bureau there; is that

9 correct?

10 A.         Yes, sir.

11 Q.         As there are at each one of the primary          Prince

12 George's    County Police Department stations; right?

13 A.         Yes, sir.

14 Q.         And you indicated that neither you nor -- I

15 believe it was Officer Grant -- had an appropriate

16 listening device for cell phone; is that right?

17 A.         Yes, sir.

18 Q.         Did you attempt to see if you could locate one

19 in the District 3 station from any of your colleagues

20 in the detective bureau?

21 A.         No, sir, we didn't.

22 Q.         And the homicide bureau was also at that

23 location; right?

24 A.         That is correct.

25 Q.         You didn't try to go get one from them, either,




                                                               Page 114
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 115 of 249



1 did you?

2 A.         No, sir.

3 Q.         That's all the questions       I have.

4                           CROSS-EXAMINATION

5            BY MR. MITCHELL:

6 Q.         Sergeant    Martini, just to expand a little bit on

7 what previous counsel just asked you.

8            In the process of speaking with          Mr. Dorsey,   I

9 would assume that you had numerous contacts with him

10 and discussed what he knew and didn't know about

11 various individuals that may have some relation to the

12 drug trade; correct?

13 A.        Yes, sir.

14 Q.        And the purpose of that was to expand your

15 investigation and find more people that might be

16 involved in this type of activity; correct?

17 A.        Yes, sir.

18 Q.        In the course of those discussions, did you ever

19 come across the name of "       Derrek   Bynum" or begin any

20 investigation of "     Derrek   Bynum" based on anything that

21 you learned from      Mr. Dorsey?

22 A.        No, sir,    I never did.

23 Q.        I assume that if you had, you would have put

24 that into some report or some document to memorialize

25 that information so you could further investigate;




                                                               Page 115
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 116 of 249



1 correct?

2 A.          Yes, sir.

3 Q.          Thank you very much.     No further questions.

4             MR. WARD:    Just a couple of short questions,

5 Your Honor.

6                             CROSS-EXAMINATION

7             BY MR. WARD:

8 Q.          Good afternoon, detective.

9 A.          Good afternoon.

10 Q.         Detective, at the time you stopped this

11 gentleman and found the money on him and so forth, you

12 already testified you found a          Lobo's Discount Auto

13 Center card in his pocket -- in his wallet; is that

14 correct, sir?

15 A.         Yes, sir.

16 Q.         All right.     And in the same wallet you found a

17 D. C. business license in his name for           Lobo's Discount

18 Car Center; is that correct, sir?

19 A.         Yes, sir.

20 Q.         As far as you know, was that a legitimate

21 license?

22 A.         I couldn't answer yes or no to it.         I don't have

23 any experience with validating licenses.

24 Q.         You don't have any reason to believe it wasn't a

25 legitimate license; correct?




                                                               Page 116
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 117 of 249



1 A.          That's correct.     I didn't have any reason not to

2 believe it.

3 Q.          I think you've already testified that you did

4 not go to the address of         Lobo's to check up and see if

5 in fact it was an ongoing and legitimate auto sales and

6 repair business; is that correct, sir?

7 A.          That is correct, sir.

8 Q.          I assume that means then that at the same time

9 you didn't find at that address a business going on

10 known as    B & B Auto; is that correct, sir?

11 A.         I never did any followup as far as the         Lobo's

12 car dealership.

13 Q.         All right, sir.    But you did look at the list of

14 telephone numbers that you found in his wallet with

15 names; is that correct, sir?

16 A.         Yes, sir.

17 Q.         And you just looked at them again now.

18 A.         Yes, sir.

19 Q.         Did you see the name "    Lavon Dobie" on that list

20 at all?

21 A.         What's the name?

22 Q.         "Lavon Dobie."     D-O-B-I-E.

23 A.         I'd have to look at them again.

24 Q.         Of course.   I understand.      I don't you expect

25 you to keep it all in your mind, but just take a look.




                                                               Page 117
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 118 of 249



 1 You might also look for the name "          Becky" while you're

 2 at it.    Lavon "Becky"     Dobie.

 3 A.       No, sir.     I didn't see either of those names.

 4 Q.       It's fair to say that a number of the telephone

 5 numbers listed on those papers you just looked at do

 6 not have names listed next to them, is that correct?

 7 A.       That is correct, sir.

 8 Q.       And as   I understand it, you did not follow up

 9 yourself on the phone numbers to see who they were

10 registered to.

11 A.       That is correct, sir.

12 Q.       You cannot say to this jury that any of those

13 telephone numbers on that list belong to or were

14 identified with      Lavon Dobie.

15 A.       No, sir.     I don't know who those numbers belong

16 to.

17 Q.       Okay.    Thank you, detective.

18          MR. SUSSMAN :     Briefly.

19                          CROSS-EXAMINATION

20          BY MR.   SUSSMAN :

21 Q.       Sergeant, you've qualified as an expert witness

22 on a number of occasions; is that correct?

23 A.       Yes.

24 Q.       How many times have you testified in court?

25          Ballpark.




                                                                Page 118
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 119 of 249



 1 A.        Dozens of times.      I don't have an exact number.

 2 Q.        You've had many, many seminars and training; is

 3 that correct ?

 4 A.        Yes, sir.

 5 Q.        As an experienced witness, you know you're only

 6 supposed to testify to what you personally observed; is

 7 that correct?

 8           MS. GREENBERG:     Objection.

 9           MR. SUSSMAN:      As a fact witness, you testify to

10 --

11           MS. GREENBERG:     To answer the question.      That's

12 not a fair question.      He's supposed to answer the

13 question.

14           THE COURT:     Overruled.

15           You answer the question.

16           THE WITNESS:     Could you repeat the question,

17 please.

18           BY MR. SUSSMAN:

19 Q.        As a witness, you testify to what you personally

20 observe; correct?

21           MS. GREENBERG:     Objection.

22           BY MR. SUSSMAN:

23 Q.        Let me ask it this way.

24           As a witness, you understand you're not supposed

25 to testify as to what other people tell you.




                                                                Page 119
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 120 of 249



 1            MS. GREENBERG:       Objection.

 2            THE COURT:     Overruled.

 3            THE WITNESS:     I understand, as a witness, that

 4 if a question is posed to me,           I answer it to the best

 5 of my ability.

 6            BY MR. SUSSMAN :

 7 Q.         During the course of your testimony, you

 8 testified to things that you had no personal knowledge

 9 of; is that correct?

10            MS. GREENBERG:       Objection.

11            THE COURT:     Mr. Sussman , if an objection is not

12 made, the answer will be received, and many questions

13 have been asked of this witness that might be subject

14 to that.     I don't think you're proceeding with a fair

15 inquiry if you proceed that way.

16            BY MR. SUSSMAN :

17 Q.         In terms of your answers to       questions, did you

18 disclose if other officers had told you that before you

19 were specifically asked?

20            MS. GREENBERG:       Objection.

21            THE COURT:     Have you got a specific question you

22 want to refer to?

23            BY MR.   SUSSMAN :

24 Q.         There were questions concerning location of

25 items; is that correct?




                                                                Page 120
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 121 of 249



 1 A.       Yes, sir.

 2 Q.       And you described where items were located,

 3 isn't that correct, in your answer?

 4 A.       Yes, sir.

 5 Q.       In point of fact, later on you said that other

 6 officers had told you about the locations; isn't that

 7 right?

 8 A.       Are you getting into specific -- where items of

 9 evidence were located, or the fact of how the

10 information was related to us about the drugs being

11 within the     Pepsi bottle?

12 Q.       No.    I'm getting into the question you testified

13 that other officers had told you the location of items;

14 isn't that correct?

15          MS. GREENBERG:         Your Honor, objection.

16 It mischaracterizes       his testimony.

17          THE COURT:     Yeah.      I believe what the testimony

18 was was that the daughter told him where he kept drugs.

19          MR. SUSSMAN:     That's a particular location,           Your

20 Honor.

21          There's another question about location.

22          THE COURT:     Ask another question.

23          BY MR. SUSSMAN:

24 Q.       I'll ask the same question, if          I might, about

25 the location.




                                                                Page 121
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 122 of 249



 1          Other than the location of drugs, you were asked

 2 about other locations where items were photographed;

 3 right?

 4 A.       Yes.

 5 Q.       Later on you testified that you didn't see --

 6          MS. GREENBERG:     Objection.    Mischaracterized the

 7 testimony by the question.       He's suggesting something

 8 -- may we approach?

 9          THE COURT:     All right.

10                             (At the bar of the Court.)

11          MS. GREENBERG:       Your Honor, maybe      Mr. Sussman

12 was -- maybe     I lulled him to sleep during my direct

13 testimony, but this witness was the seizing agent.           In

14 other words, during his drug testimony            I went through,

15 he said that when officers found things, he was the one

16 that seized them and that that is the nature of a

17 seizing agent.     He did not represent to anyone -- and

18 by Mr. Sussman     suggesting that he's misrepresenting his

19 testimony, it's incorrect.       That is typical in these

20 search warrants where officers would find things,

21 locate things, and then he would be the seizing agent.

22 He testified on direct as to that, an          d Mr. Sussman      is

23 trying to make it look like he hid the fact from the

24 jury that he didn't find --

25          MR. MARTIN:      On cross-examination -- if         I may be




                                                                Page 122
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 123 of 249



 1 heard,   Your Honor.       On cross-examination he talked

 2 about Detective Grant and what Detective Grant had told

 3 him.   Detective grant.      He specifically mentioned, when

 4 I asked him about where certain items were found in the

 5 photographing of those items.       So now he's going to

 6 Aiesha    Goodwin, but we're not neither talking about

 7 Aiesha Goodwin.      Mr.    Sussman , I believe is talking

 8 about the testimony --

 9          MS. GREENBERG:       He is the seizing agent.     Other

10 officers find things and he seizes them.         You will see

11 that a lot in this trial.

12          THE COURT:        I don't like the form of your

13 question as if he's making some admission to something.

14          MR. SUSSMAN :       That's exactly what I'm trying to

15 imply, because he's giving hearsay responses as well as

16 direct responses, and he's trying to -- until it's

17 unravelled, he --

18          THE COURT:     You can ask the witness, what did

19 you take as opposed to what somebody else took and have

20 him clarify that, but        I don't think this is some great

21 concession that he's making.       He's a seizing agent;

22 he's describing what were the items that were

23 recovered.     If you want to ask him, did you recover

24 that item or did somebody else recover that item, you

25 can do that.




                                                                Page 123
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 124 of 249



 1           MR. SUSSMAN :    I want to define my question.           I

 2 want to ask him particular questions such as how often

 3 does he testify as to what other people told him.          A

 4 seizing agent     -- I've been through a lot of cases where

 5 there's seizing agents, and what a seizing agent does

 6 is he's a list maker.      Other agents come to him and

 7 show him where a piece -- an item is and he writes it

 8 down.

 9           THE COURT:    You may inquire into the

10 circumstances of this particular case, but             I don't

11 think that that's proper to ask a question that treats

12 it as if he's hiding something when he hasn't hidden

13 anything.

14           MS. GREENBERG:      Your Honor, for circumstances of

15 this case, we will bringing in just pretty much the

16 seizing agent because we have so many locations.          We're

17 not bringing in each individual person who made an

18 inventory.

19           MR. SUSSMAN :    That's not how it was portrayed.

20           MS. GREENBERG:    That's how I brought it out on

21 direct.

22           THE COURT:    You can ask questions about specific

23 items that were taken and as to whether he was the one

24 that found it, whether he was the one who seized it.

25           MR. SUSSMAN :    I'm not trying to go through that.




                                                                  Page 124
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 125 of 249



 1 I'm trying to establish the fact that his testimony is

 2 a compendium of hearsay.

 3          THE COURT:      I don't know what it is.       He may

 4 very well have been the person that found one item,

 5 somebody else found another one.        I don't know.

 6          MS. GREENBERG:     Suggesting that this witness

 7 misrepresented that to the jury, it's just patently not

 8 true.

 9          THE COURT:     It's not proper to represent --

10          MR. SUSSMAN:      I took that from his

11 cross-examination that that's what the witness

12 answered.

13          MR. MARTIN:     He told me that Detective Grant was

14 the one who found the bottle.

15          MS. GREENBERG:     Yes.   He finds it and then he

16 seizes it.

17          MR. MARTIN:    He also told me Detective Grant

18 told him.

19          THE COURT:     This can be clarified by specific

20 questions.     I don't think there's anything sinister

21 that he's reporting what items were seized is improper

22 when he wasn't the person who actually found it as

23 opposed to the one who seized it.

24          MR. SUSSMAN:     If the court's ruled, the court's

25 ruled.




                                                                Page 125
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 126 of 249



 1          THE COURT:      I've ruled, so go ahead and ask some

 2 more questions.

 3                        (Back in open court.)

 4          BY MR. SUSSMAN :

 5 Q.       Just to clarify this.

 6          In terms of your investigation and search of the

 7 vehicle, how many times in your testimony did you

 8 testify to things that other officers told you?

 9 A.       That other officers what, sir?

10 Q.       Told you.

11 A.       That other officers told me?

12 Q.       That's correct.

13          Without getting into the --

14 A.       There was one --

15 Q.       I'm just asking for a number, sir.

16          THE COURT:     Let him answer the question.

17          THE WITNESS:     There was one thing that an

18 officer told me that       I testified to, and when items of

19 evidence are located by officers, at that time they

20 notify the seizing officer or recovering officer which

21 is me.   So there would have been several times in this

22 investigation that an officer said, Dave,             I just found

23 some money here, and       I would respond to that location

24 and recover it.

25 Q.       Those items were left in the place where they




                                                                Page 126
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 127 of 249



 1 found them?

 2 A.         Yes, sir.

 3 Q.         Well, you testified some items were removed; is

 4 that correct?

 5 A.         Excuse me?

 6 Q.         You testified some items were removed later on

 7 during some point to be photographed.

 8 A.         They were removed by me.

 9 Q.         But in terms of the actual location, your

10 testimony dealt with the location of other items -- of

11 some of those items by other officers; isn't that

12 correct?

13 A.         Whenever an officer is searching and he finds an

14 item, he then notifies --

15 Q.         I'm asking a yes or no question.

16            MS. GREENBERG:     Objection,    Your Honor.

17            THE COURT:     Sustained.

18            Let him answer the question.     You've got to let

19 him finish.

20            THE WITNESS:     When an officer is searching and

21 he finds an item he believes to be of value, he will

22 immediately call me over because           I'm the lead

23 investigator, or I will come there and determine

24 whether it's something        I believe to be evidence, and at

25 that time I will recover it and take it.




                                                                Page 127
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 128 of 249



 1          BY MR. SUSSMAN :

 2 Q.       Was that the situation with Detective Grant?

 3 A.       Yes, sir.

 4 Q.       Thank you very much.

 5          THE COURT:      Mr. McKnett ?

 6          MR. MCKNETT :     Thank you,    Your Honor.

 7                          CROSS-EXAMINATION

 8          BY MR.   MCKNETT :

 9 Q.       Good afternoon, detective.

10 A.       Good afternoon.

11 Q.       Detective,    I want to ask you a couple of

12 questions based on your experience -- your training and

13 your expertise as an expert.

14          I think you said that a personal use quantity of

15 crack cocaine would be about         .1 gram; is that correct?

16 A.       No.    I just said that's the approximate size of

17 an individual serving.      One small, commonly sold rock

18 of cocaine weighs      .1 gram, and it goes for about $20.

19 Q.       It goes for how much?

20 A.       $20.

21 Q.       I believe you described it as a "serving," and                 I

22 used it as a "quantity," but if you want to use it as a

23 "serving," that's fine.

24          How long would that serving last the user?

25 A.       It would depend on the user's tolerance level,




                                                                Page 128
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 129 of 249



 1 how much they've used it in the past, how long -- that

 2 would determine how high -- how long the high will

 3 last.   Also, possibly, size and body weight will

 4 determine a little bit of it, and also depending --

 5 sometimes a user might take that small rock that they

 6 buy for $20 and they don't have a lot of money, so they

 7 might cut that in half and smoke half now and half in

 8 an hour.     So, there's some different variances to it

 9 but, I mean, that average rock gets smoked up fairly

10 quickly.

11 Q.         Quickly.

12 A.         Yes, sir.

13 Q.         If a person wanted to, he could use the entire

14 quantity in one sitting; right?       One usage?

15 A.         Yes, sir.

16            And then would be high for -- they'd be high for

17 a while.

18 Q.         Based on your training and experience, what

19 would be a personally used quantity of powder cocaine?

20 A.         I don't know if    I ever gave limitations as to

21 what a personal use could be or what a level of

22 distribution could be.         I was just saying what a

23 serving would be.      Like a serving of potatoes, a

24 serving of crack cocaine would be approximately              .1

25 gram.




                                                                Page 129
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 130 of 249



 1            A serving of what you would do for powder

 2 cocaine?     Powder cocaine is sold a little differently.

 3 It's sold in half gram increments and one gram

 4 increments.    You might buy one gram of powder cocaine,

 5 but you would snort or utilize several -- you would get

 6 several lines from it that you would inhale.          It

 7 wouldn't just be something that you inhale at once.

 8 Po wder cocaine isn't sold quite the same as crack

 9 cocaine.

10 Q.         A typical quantity would be one gram?

11 A.         Well, about the lowest quantity you could buy on

12 the street for powder cocaine is a half gram.

13 Q.         And it's sold, as     I think you said --       I just

14 want to be clear.      You've said it's sold in half gram

15 increments?

16 A.         For powder cocaine.    That's usually about as

17 small as you can go for powder cocaine.

18 Q.         If you go up a little bit you get one gram,

19 maybe one and a half, and then maybe two grams?            It

20 depends    on how much money you have,        I assume.

21 A.         Yes, sir.

22 Q.         How much would a half a gram cost?

23            I'm talking in terms of 2004.

24 A.         Of powder cocaine?

25 Q.         Correct.




                                                                   Page 130
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 131 of 249



 1          MS. GREENBERG:         Your Honor,   I think we're well

 2 outside the scope of direct examination.

 3          THE COURT:      I think we're getting close.

 4          Get the cost and --

 5          MR. MCKNETT:     Just about done,       Your Honor.

 6          THE COURT:     Okay.

 7          BY MR. MCKNETT:

 8 Q.       In 2004 what would be the average price of, say,

 9 a gram of powder cocaine?

10          MS. GREENBERG:         Your Honor, now we're a year

11 after.

12          MR. MCKNETT:     Excuse me?

13          THE COURT:     This is November 2003.      You want him

14 to --

15          BY MR. MCKNETT:

16 Q.       He was talking -- on November 25, 2003, what

17 would be, in your experience, the cost to a user of a

18 gram of powder cocaine?

19 A.       To buy a gram of powder cocaine would cost

20 between $80 and $100, depending on your personal

21 circumstances with the person you're buying from.

22 Q.       And in what geographic area are you referring to

23 when you establish that price?

24 A.       Geographic area?         I mean the Washington,      D. C.

25 metropolitan area.




                                                                Page 131
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 132 of 249



 1 Q.       Thank you.

 2                        REDIRECT EXAMINATION

 3          BY MS. GREENBERG:

 4 Q.       Sergeant    Martini,    I just have a few quick

 5 questions.      Just to clarify it, what was your role in

 6 terms of seizing evidence on November 25, 2003?

 7 A.       Since I was the lead investigator in the case,

 8 other officers were searching the vehicle and patting

 9 down Mr. Goodwin.      Whenever an officer finds an item

10 believed to be evidence, they immediately call me as

11 the lead i nvestigator.         I come over.     I then photograph

12 the item where it was located by the officer -- they're

13 called the locating officers and          I'm known as the

14 seizing and recovering officer.           I photograph it.       I

15 then take full custody of the item and             I bring it back

16 to our office and      I process it into evidence.

17 Q.       Is that standard operating procedure?

18 A.       Yes, ma'am, it is.

19 Q.       And showing you up on the screen what's been

20 marked as P-77.

21          During your initial search -- you and the other

22 officers' initial search of the car, did you have any

23 reason to look inside that         Pepsi bottle?

24 A.       During the initial search?

25 Q.       Yes.




                                                                Page 132
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 133 of 249



 1 A.         No, ma'am.

 2 Q.         Did it look like an ordinary       Pepsi bottle?

 3 A.         Yes, it did.

 4 Q.         When Mr.     Martin asked you questions, you

 5 mentioned you received some information which caused

 6 you to seize that        Pepsi bottle.

 7 A.         Yes, ma'am.

 8 Q.         What was that specific information?

 9 A.         I said that we had received information on the

10 scene of the location of cocaine in the            Pepsi bottle,

11 and when    I said "we"     I meant law enforcement officers.

12 I never said     I personally received that information.

13 Q.         Did that cause you to take this picture and

14 seize that     Pepsi bottle?

15 A.         Detective Grant notified me that he had found

16 cocaine.     I immediately came over, and he said --

17            MR. MARTIN:    Objection.

18            THE WITNESS:    -- this is where it was.

19            MR. MARTIN:    Continuing.

20            THE COURT:     Overruled.

21            BY MS. GREENBERG:

22 Q.         You seized that as the locating officer?

23 A.         Yes, ma'am.

24 Q.         Was that in the position that you see it there

25 when it was recovered from the vehicle?




                                                                Page 133
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 134 of 249



 1 A.         Yes, ma'am.

 2 Q.         And the only reason it wasn't recovered earlier,

 3 if I understand it right, is because it looked like a

 4 Pepsi bottle?

 5 A.         It looked and it felt like a       Pepsi bottle.

 6 Q.         In response to     Mr. Martin's questions, what

 7 information was it that caused you to look inside the

 8 Pepsi bottle?

 9            MR. MARTIN:    Objection.

10            THE COURT:    Hasn't he already answered this

11 question?

12            MR. MARTIN:      I know what the answer is going to

13 be, Your Honor.

14            THE COURT:    Well, approach the bench.

15                           (At the bar of the Court.)

16            THE COURT:    State   your objection.

17            MR. MARTIN:    The answer is -- the objection is

18 hearsay.     He's going to say that       Aiesha Goodwin said,

19 My dad keeps the drugs in the bottle.

20            MS. GREENBERG:     Yes,   Your Honor.    He opened the

21 door to that.

22            THE COURT:    Haven't we already had that answered

23 already?

24            MR. MARTIN:      Your Honor,   I had no idea he was

25 going to answer in that way.




                                                                Page 134
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 135 of 249



 1          MS. GREENBERG:     He opened the door,        Your Honor.

 2          THE COURT:     If the door has been opened, it's

 3 already been answered.         I'm going to overrule the

 4 objection.

 5                        (Back in open court.)

 6          BY MS. GREENBERG:

 7 Q.       You may answer the question.

 8          Do you want me to repeat it?

 9 A.       Yes, ma'am.

10 Q.       What caused law enforcement to go over and look

11 inside that    Pepsi bottle?

12          I believe    Mr. Martin talked to you about that,

13 and I just want to put the two incidents together so

14 that the jury can understand.       If I understand your

15 testimony so far --

16          MR. MONTEMARANO:      Objection,     Your Honor.

17          MS. GREENBERG:       I'm trying to lead the witness

18 back to the last question.

19          BY MS. GREENBERG:

20 Q.       Detective Grant told you he found something in

21 the Pepsi bottle and you went over and seized it.

22          What caused the re-look at that          Pepsi bottle as

23 you spoke to     Mr. Martin about on cross?

24 A.       Because we had received -- Detective Grant

25 received information that there was drugs inside of the




                                                                Page 135
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 136 of 249



 1 Pepsi bottle.

 2 Q.         What was that specific information and who was

 3 it from?

 4            MR. MARTIN:     Objection.    Compound.

 5            THE COURT:     Make it --

 6            BY MS. GREENBERG:

 7 Q.         Who provided that information?

 8 A.         Detective Grant told me        I received the

 9 information from his daughter.          She said, that's where

10 my dad keeps it.

11 Q.         Keeps what?

12 A.         The cocaine.

13 Q.         Then, if   I understand the sequence of events

14 right, who actually went inside that            Pepsi bottle?

15 A.         Detective Grant initially located.        It once he

16 saw it was cocaine, he immediately called me.

17 Q.         Is that standard operating procedure?

18 A.         Yes, ma'am.

19 Q.         Court's indulgence.

20            Nothing further,     Your Honor.

21            MR. MONTEMARANO :     Your Honor, court's indulgence

22 please.

23            THE COURT:     All right.

24                           RECROSS EXAMINATION

25            BY MR. MARTIN:




                                                                Page 136
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 137 of 249



 1 Q.         Just to make absolutely clear on this.            I think

 2 I had asked you before -- and if           I didn't,   I'm asking

 3 you now:     Aiesha Grant's alleged statement doesn't

 4 appear anywhere in any of your reports, does it?

 5 A.         No, sir.

 6 Q.         And what's more, when Officer Grant -- when

 7 Detective Grant calls you, he's not on site, is he?

 8 A.         Yes, he is.

 9 Q.         And he's off site with --

10            MS. GREENBERG:     Objection.

11            BY MR. MARTIN:

12 Q.         And he's with    Raynard   Dorsey at the time he

13 calls you; correct?

14 A.         I thought you just asked me the question that he

15 was on site.

16 Q.         There was an objection to that.          I withdraw that

17 question.      I'm asking you now whether or not Detective

18 Grant was with Raynard Dorsey at the time he called you

19 and told you to look in the Pepsi bottle.

20 A.         No, he wasn't.   He was at the vehicle with the

21 Pepsi bottle.

22 Q.         Nothing further.

23            THE COURT:    All right.   Anything further of this

24 witness?

25            You may step down, detective.




                                                                Page 137
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 138 of 249



 1            THE COURT:    Ladies and gentlemen        , we will take a

 2 break for lunch until 2 p.m.

 3                         (Off the record     at 12 :54 p.m .)

 4                         (On the record     at 2: 05 p.m. )

 5            MR. MONTEMARANO :      I would advise      the court we

 6 have a preliminary      matter     we would like to add ress

 7 tomorrow     morn ing , if that 's possible .

 8            THE COURT:    Yes .    I have a sentenci ng tomorrow

 9 morn ing at 9 o'clock       that does n't look like it will be

10 too long .     Be here -- I'll adjourn       today and have the

11 jury told to be back at          10 o'clock , and everybody

12 should   be here ready at 9:45 .

13            MS. JOHNSTON:     Your Honor , could we have some

14 notice   about these preliminary         matter s?

15            THE COURT:    Can you give me a clue about what I

16 should   be ready for ?

17            MS. JOHNSTON:     In term s of Mr. Montemarano ?

18            MR. MONTEMARANO :      There are certain

19 conversation s in the transcript          book s provided    by the

20 government     on Tuesday    that we believe     involve    matter s

21 that are extraneous        to this prosecution       and remarkably

22 inflammatory .

23            For the record , there 's a call , and I believe

24 it 's on Page 48 , where my client         discuss es taking    her

25 denture s out prior to perform ing oral sex .            I'm really




                                                                Page 138
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 139 of 249



 1 not sure what that has to do with this prosecution , but

 2 it 's remarkably     inflammatory      and place s my client     in a

 3 bad light .

 4           THE COURT:      Why don't you flag the pertinent

 5 portion s so I know where it is and I can             look at it ?

 6           MR. MONTEMARANO:         I will   double   check , and I'll

 7 get the page number s to Mr. Krinsky            before    we close

 8 today .

 9           MS. JOHNSTON:       We would like to get the page

10 number s.

11           THE COURT:      Give everybody      what they need .

12           MR. MONTEMARANO :        I will give it to Mr.

13 Johnston .

14           THE COURT:      Yes .    Just make sure you give me a

15 copy or the designation           of what it is , and I'll look at

16 it , Ms. Johnston      can look at it , and we'll talk about

17 it tomorrow    morn ing .

18           Anything   else , preliminarily,       before    I bring the

19 jury in ?

20           MR. MARTIN:       Yes , Your Honor .

21           THE COURT:      Wait a minute .      Mr. McKnett    had his

22 hand up .

23           MR. MCKNETT :     I will    be part of Mr.

24 Montemarano 's presentation .          I have two conversation s

25 I'm concerned     about .




                                                                 Page 139
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 140 of 249



 1          THE COURT:      If you would , before       you go today ,

 2 just give me a scrap of paper , and I can flag it and

 3 take a look at it over night .

 4          Mr. Martin .

 5          MR. MARTIN:      Yes .    This is in regards     to the

 6 testimony     of Detective    Martini , Your Honor .      I have

 7 asked the court reporter          to give me copy of his

 8 testimony .     I'm going to move to strike          it tomorrow

 9 morn ing for two reason s, the first being I think that

10 he was in consistent      in his answer s regard ing Aiesha

11 Goodwin .     At one point I recall      him say ing , "she told

12 me ," and at another      point I recall     him say ing ,

13 "D etective    Grant told me ."

14          The second     point is , I think that his testimony

15 violate s Crawford     in so many way s.      I want to go and

16 read Crawford     tonight    and make a formal       presentation    on

17 the record     tomorrow , but I want to do that after see ing

18 his testimony , and the court reporter           has been kind

19 enough   to tell me that she 's going        to try to get the

20 transcript     of his testimony      transcribe d.

21          THE COURT:      All right .    Okay .   Anything    else?

22          Ready for the jury ?

23          MS. GREENBERG:       Yes , Your Honor .

24          THE COURT:      Who is the next witness ?

25          MS. GREENBERG:       There 's a stipulation , Your




                                                                Page 140
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 141 of 249



 1 Honor , and I will get the witness .

 2            THE COURT:      Okay .

 3                     (Jury returns     at 2:10 p.m. )

 4            THE COURT:      You may proceed .

 5            MS. JOHNSTON:      Your Honor , before      the government

 6 call s its next witness , the parti es have reach ed a

 7 stipulation .       It is mark ed as Exhibit        Stipulation   1,

 8 and it reads as follow s:           "The   parti es here by stipulate

 9 that Government       Exhibit   Drug s 1, re covered     from the

10 vehicle    driven    by Learley     Goodwin     on or about November

11 25 of 2003 , was analyze d by forensic             chemist s and was

12 determine d to contain        29 .14 grams of the controlled

13 substance    cocaine    base , common ly known as 'crack .'"

14            THE COURT:      All right .

15            MS. GREENBERG:       Your Honor , the government         call s

16 Horace    Smith to the witness        stand .

17 Thereupon,

18                              HORACE SMITH ,

19 having been called as a witness on behalf of the

20 Plaintiff, and having been first duly sworn by the

21 Courtroom Deputy, was examined and testified as

22 follows:

23                          DIRECT EXAMINATION

24            BY MS. GREENBERG:

25 Q.         Could you state your name?         And spell your last




                                                                 Page 141
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 142 of 249



 1 name for the record, please.

 2 A.       Horace    Smith.    S-M -I -T -H.

 3 Q.       If you could, sit as close to that microphone as

 4 you can get.      It's a big courtroom; you want to make

 5 sure that the jurors in the back row can hear you.

 6          Can you hear me okay?

 7 A.       Yes.

 8 Q.       Sir, where did you go to high school?

 9 A.       Eastern.

10 Q.       And what town is that located in?

11 A.       Northeast    Washington,     D. C.

12 Q.       Did you grow up in       Washington,    D. C.?

13 A.       Yes.

14 Q.       Did you graduate from high school?

15 A.       Yes.

16 Q.       What did you do after high school?

17 A.       I went into the military.

18          MS. GREENBERG:      Can everybody back there here

19 him.?

20          BY MS. GREENBERG:

21 Q.       Please try not to let your voice drop off.

22          Where did you -- what branch of the military did

23 you go into?

24 A.       The U. S. Army.

25 Q.       What did you do for the         U. S. Army?




                                                                Page 142
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 143 of 249



1 A.       Communications Specialist.

2 Q.       You're discharged?

3 A.       Yes.

4 Q.       Was that honorably?

5 A.       Yes.

6 Q.       How old were you when you got out of the             Army?

7 A.       23.

8 Q.       What was your highest rank you achieved?

9 A.       E-4.

10 Q.      What did you do after the         Army?

11 A.      I went to technical school.

12 Q.      Where was that?

13 A.      Rockville,    Maryland.

14 Q.      I'm actually having trouble hearing you.

15 A.      Rockville,    Maryland.

16 Q.      What technical school was it?

17 A.      Technical Education Center.

18 Q.      Did you start using drugs?

19 A.      Yes.

20 Q.      Were you using drugs at this period of time              when

21 you were going to school?

22 A.      Yes, I was.

23 Q.      What kind of drugs?

24 A.      Crack cocaine.

25 Q.      When did you start using crack cocaine?




                                                               Page 143
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 144 of 249



1 A.       Around 19 years old.

2 Q.       I'm sorry?

3 A.       Around when     I was 19.

4 Q.       Did you steal to support your habit?

5 A.       Yes.

6 Q.       Specifically, did you have a larceny conviction

7 in June of 1995?

8 A.       yes, I did.

9 Q.       And a forgery conviction in         September of 1995?

10 A.      Yes, I did.

11 Q.      And a credit card fraud conviction in 1997?

12 A.      Yes.

13 Q.      And larceny in 1997?

14 A.      Yes.

15 Q.      And burglary and grand larceny in           August of

16 1997?

17 A.      Yes.

18 Q.      And are those -- do you remember the dates

19 specifically ,or are you just saying that's about the

20 proximate time?

21 A.      I don't remember the specific dates.         Those

22 years are the approximate time.

23 Q.      Did you serve some time for the burglary and

24 grand larceny?

25 A.      Yes, I did.




                                                                Page 144
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 145 of 249



 1 Q.         Before we get to that -- actually, did you ever

 2 use a false name?

 3 A.         No.

 4 Q.         Do the names -- does the name        "Joe Smith" or

 5 "Thomas    Smith " do they mean anything to you?

 6 A.         "Thomas" is my middle name.

 7 Q.         Do you ever recall using the name         "Joe?"

 8 A.         "Joe?"    That was a name    I used when    I was

 9 younger.

10 Q.         How young were you when you used that name?

11 A.         Growing up in my teens.

12 Q.         Does that explain how those names ended up on

13 your rap sheet?

14 A.         Yeah ,it could.

15 Q.         Did you also have a nickname that your friends

16 called you?

17 A.         Yes.

18 Q.         What was that?

19 A.         "Jody."

20 Q.         How did you do in school when you were using

21 drugs?

22 A.         Sporadic.    Fairly good at times.

23            MS. GREENBERG:     Your Honor, can I move the

24 microphone up?       Even counsel --

25            THE COURT:     I'm having a hard time hearing him




                                                                 Page 145
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 146 of 249



1 myself.

2           Ms. Greenberg,     I couldn't hear what he said his

3 nickname was.     Could you ask him that again?

4           BY MS. GREENBERG:

5 Q.        What was your nickname, sir?

6 A.        Jody.

7 Q.        If you could continue with how you were doing in

8 school, at technical school.

9 A.        Fairly good.     Pretty good.

10 Q.       Were you making good grades?

11 A.       Yes.

12 Q.       Did you stop going to school after a particular

13 period of time?

14 A.       I finished school.

15 Q.       Did you have to take a break for anything?

16 A.       Yeah.    I had some issues with drugs.

17 Q.       Was it after you got out of jail for the 1997

18 conviction that you got some help with drugs?

19 A.       Say it again?      I didn't hear you.

20 Q.       Let me ask it this way.     Did you end up getting

21 help with your drug problem in or about 1997?

22 A.       Yeah.

23 Q.       Could you tell the jury about that?

24 A.       I was in a long-term treatment program.

25 Q.       Was that a result of the 1997 conviction?




                                                               Page 146
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 147 of 249



1 A.          Yes.

2 Q.          What happened after your long-term treatment

3 program?      Was that in jail?

4 A.          Yes, it was.      I continued it when     I got out.

5 Q.          How did you continue the treatment when you got

6 out?

7 A.          I was in a recovery program in         Virginia, and

8 independent living at Oxford House.

9 Q.          Oxford House?

10 A.         Yes.

11 Q.         Did you end up relapsing while you were in

12 treatment?

13 A.         No.

14 Q.         You didn't end up using drugs again?

15 A.         Not during treatment.    Afterwards.

16 Q.         Okay.   Tell the jury what happened when you

17 relapsed.

18 A.         I relapsed when     I was actually in the Oxford

19 House.

20 Q.         In the what house?

21 A.         In the Oxford House.

22 Q.         Okay.   And did you seek any help for that

23 relapse?

24 A.         Yeah.   I went back in treatment.

25 Q.         How did you get back into treatment?




                                                               Page 147
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 148 of 249



1 A.          Detox .

2 Q.          Did anybody assist you with that?

3 A.          No.

4 Q.          Were you still going to school?

5 A.          Not at that time.

6 Q.          Did you end up going back to school?

7 A.          Yeah.

8 Q.          Did you graduate?

9 A.          Yes.

10 Q.         What year did you graduate?

11 A.         I graduated in '93 from the Technical Education

12 Center.

13 Q.         Did you get a degree?

14 A.         Yes.

15 Q.         What degree was that?

16 A.         Electronics Engineer.

17 Q.         After you finished your rehabilitation, did you

18 get employment?

19 A.         Yes.

20 Q.         Approximately -- if you -- approximately what

21 year did you get your degree in electrical engineering?

22 A.         '93.

23 Q.         What year did you finish with your rehab

24 program?

25 A.         That was after.   That was during '97-98.




                                                               Page 148
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 149 of 249



1 Q.       Did you receive your conviction in 1997?

2 A.       Yes.

3 Q.       How long were you in jail for that conviction?

4 A.       Until 2000.

5 Q.       Did you continue rehab after you got out of jail

6 for that conviction?

7 A.       Yes.

8 Q.       How long did you continue rehab?

9 A.       For a period of six months or more.

10 Q.      What were you doing for employment in 2000?

11 A.      I was working as a Network Engineer.

12 Q.      How long did you continue to have that job?

13 A.      Until approximately 2003, early.

14 Q.      What was the name of the company that you worked

15 for?

16 A.      Genesis.

17 Q.      Where were they located?

18 A.      Fairfax,    Virginia.

19 Q.      Had you sold drugs, also, to support your habit

20 before you began working in 2000 as an engineer?

21 A.      Yeah.   Prior to my incarceration.

22 Q.      What kind of drugs did you sell?

23 A.      Crack cocaine.

24 Q.      What quantities were you buying?

25 A.      Which period of time are you talking about?




                                                               Page 149
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 150 of 249



1 Q.        I'm talking about prior to 2000.

2 A.        Small quantities.    Ounce.

3 Q.        Would you also use the quantities that you

4 bought?

5 A.        At one time, yes.

6 Q.        And again, taking you back to before you went to

7 rehab -- before you went to jail in 1997 and continued

8 in rehab through 2000, you had dealt drugs?

9 A.        Before 1997?

10 Q.       Before 1997.

11 A.       Yes.

12 Q.       Again, what kind of quantities are we talking

13 about?

14 A.       Upwards to an ounce.

15 Q.       Were you also using drugs during that period of

16 time?

17 A.       Yes.

18 Q.       Did something happen with your job in or about

19 January of 2003?

20 A.       Yeah.   I was laid off.

21 Q.       So, what did you do for work?

22 A.       At that point -- for a period of time           I was

23 looking for a job, and       I was collecting unemployment.

24 Q.       Did you pick up any side contracts?

25 A.       Yeah.   I had one short contract with the




                                                               Page 150
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 151 of 249



 1 Smithsonian.

 2 Q.       When did that end?

 3 A.       Around April 2003.

 4 Q.       Did you begin to get involved in the cocaine --

 5 cocaine base business again?

 6 A.       Yes.

 7 Q.       Could you tell the jury how that happened?

 8 A.       Around May 2003      I was approached by my cousin to

 9 get involved with him and to sell crack cocaine on

10 numerous occasions.

11 Q.       Who is your cousin?

12 A.       Raynard    Dorsey.

13          THE COURT:     What was the name?        I didn't get the

14 name.

15          BY MS. GREENBERG:

16 Q.       Could you repeat the name?

17 A.       Raynard Dorsey.

18 Q.       I know it's difficult, but the closer you get to

19 the microphone the less        I'll have to interrupt you.

20          Okay.   Tell the jury about that conversation

21 that you had with      Mr. Dorsey.

22 A.       He approached me in reference to some business

23 he was doing involving selling cocaine on more than one

24 occasion.    The first occasion       I refused to get

25 involved, and he approached me on other occasions in




                                                                Page 151
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 152 of 249



 1 reference to individuals he was involved with selling

 2 cocaine.

 3 Q.         Did you decide to take him up on his suggestion

 4 to get involved?

 5 A.         Eventually, yes.

 6 Q.         Did Mr. Dorsey talk to you about the specifics

 7 at all?

 8 A.         Specifically, he mentioned that he was involved

 9 with an individual who was supplying him with cocaine,

10 you know, as much as he needed or wanted or was able to

11 obtain.

12 Q.         Who was that individual?

13 A.         Goodwin.   Learley .

14 Q.         Could you repeat that, please?

15 A.         Goodwin.   Learley .

16 Q.         What was your understanding of        Mr. Dorsey's

17 relationship with      Mr. Learley    Goodwin.

18            Was there a family relationship?

19 A.         His aunt on his father's side was in

20 relationship with them.

21 Q.         Did Mr. Dorsey tell you how -- about his

22 dealings with     Mr. Goodwin in connection with his

23 request that you join into this business?

24 A.         Yes.

25 Q.         What did he tell you?




                                                                Page 152
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 153 of 249



 1 A.         That he was receiving cocaine on a regular

 2 basis.

 3            MR. MARTIN:   Objection,      Your Honor.

 4            THE COURT:    Can you --

 5            MR. MARTIN:   We've approached many times on

 6 this.    It's the same objection.

 7            THE COURT:    Can you rephrase the question?

 8            MS. GREENBERG:    It's 801,     Your Honor.

 9            MR. MARTIN:   It is Fifth Amendment and Crawford,

10 Your Honor.

11            THE COURT:    Approach the bench.

12                    (At the bar of the Court.)

13            THE COURT:    All right.   Wait a minute.       Just

14 wait a minute.

15            What was he about to -- make sure         I'm

16 understanding what he was about to do that you objected

17 to.

18            MR. MARTIN:   He was going to testify as to what

19 Raynard    Dorsey told him about      Learley    Goodwin,     I

20 believe.

21            MS. GREENBERG:    The testimony so far is that

22 Raynard    Dorsey was trying to get him involved in drugs.

23 Raynard    Dorsey was getting drugs from         Mr. Goodwin and,

24 in order to get him to join the conspiracy, he's

25 telling him what he can get and what they can do.            It's




                                                                 Page 153
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 154 of 249



1 a classic coconspirator statement.

2             MR. MARTIN:    You know, that's a rule of law.     A

3 statute.      Mr. Goodwin stands by his right of

4 confrontation as pronounced by the court in             Crawford.

5             THE COURT:    All right.   Overruled.

6                           (Back in open court.)

7             BY MS. GREENBERG:

8 Q.          Mr. Smith, if you could now tell the jury what

9 Mr. Dorsey told you from -- in connection with his

10 request that you join in the drug business with him and

11 Mr. Goodwin.

12 A.         He told me that he was getting cocaine on a

13 regular basis; the quality was very good.

14 Q.         What kind of cocaine was he getting?

15 A.         Crack.

16 Q.         Did he tell you how long he'd been getting it?

17 A.         He'd been getting it prior to informing me --

18 numerous months before.

19 Q.         Did he tell you the quantity that he was

20 getting?

21 A.         On average, an eighth of a kilo every couple of

22 days -- every few days.

23 Q.         Was this cooked cocaine or uncooked cocaine that

24 he was getting?

25 A.         It was cooked.




                                                               Page 154
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 155 of 249



1 Q.         What did he tell you about the quality?

2 A.         That it was very good.       The individuals liked

3 it.

4 Q.         Now, you mentioned ed that        Mr. Dorsey knows     Mr.

5 Goody through his aunt,         Tiffany Vessels; is that

6 correct?

7 A.         Yes.

8 Q.         Are you related at all to        Ms. Vessels?

9 A.         I'm related to     Raynard    Dorsey.

10 Q.        I'm sorry?

11 A.        I'm related to     Raynard.    His aunt is on his

12 father's side.

13 Q.        Do you have a common grandfather?

14 A.        No.

15 Q.        Do you know who his grandfather is?

16 A.        Yes.

17 Q.        Who is that?

18 A.        His name is    Chico .

19 Q.        Do you know where he lived?

20 A.        He lived on,     I believe, Aries, Northeast.

21 Q.        Where was    Mr. Dorsey living at the tame you had

22 this conversation?

23 A.        Raynard was living at 60        M Street, Southwest.

24 Q.        Did Mr. Dorsey ever stay with his grandfather?

25 A.        At one point, yes.




                                                               Page 155
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 156 of 249



 1 Q.        And his grandfather's name is?

 2 A.        Chico .

 3 Q.        Now, these conversations are occurring in the

 4 spring of 2003; is that correct?

 5 A.        Yes.

 6 Q.        Did you have any money to buy the drugs that             Mr.

 7 Dorsey was discussing with you?

 8           Do you want some water?

 9 A.        No.

10           Yes, I had received a check from a car accident

11 that I was involved in.

12 Q.        How much did you receive?

13 A.        It was around $4,000.

14 Q.        So what did you decide to do?

15 A.        I decided to go in with       Raynard    and invest in

16 selling drugs.

17 Q.        What happened next?

18 A.        We began to -- we set up a purchase.        The first

19 purchase was in northeast Washington,             D. C.

20 Q.        Could you give the jury the general location in

21 northeast    Washington,    D. C. where this purchase was set

22 up for?

23 A.        Outside Giant parking lot, off Eastern Avenue.

24 Q.        Did Mr. Dorsey tell you who he called to

25 purchase the drugs?




                                                                Page 156
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 157 of 249



 1 A.       Yes.     He had called     Mr. Goodwin's son.

 2 Q.       Why was that?

 3 A.       To meet.

 4 Q.       How much were you purchasing?

 5 A.       A quarter of a key.

 6 Q.       Of what?

 7 A.       Two eighth of keys.

 8 Q.       Of what?

 9 A.       Crack cocaine.

10 Q.       And what happened on that first occasion?

11 A.       We met outside of the parking lot.            Raynard got

12 out of the truck to meet with the individual -- his

13 son, and he got in the car with them and purchased the

14 crack cocaine, came back to the truck, gave me mines,

15 and we took off.

16 Q.       What was    Mr. Goodwin's son's name?

17 A.       Sonny.

18 Q.       Did you see him on that date?

19 A.       Yes.

20          THE COURT:     What was the name again he said his

21 name was?

22          THE WITNESS:     Sonny.

23          THE COURT:     Sonny.     Okay.

24          BY MS. GREENBERG :

25 Q.       Did you see     Mr. Dorsey go to Sonny's car to get




                                                                Page 157
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 158 of 249



1 the drugs?

2 A.         Yes.

3 Q.         What kind of car was Sonny driving?

4 A.         A green   Honda.

5 Q.         How much crack did you purchase that day?

6 A.         A quarter of a key.    It was in two eighth of

7 kilos.

8 Q.         And how much money did you pay for the crack

9 cocaine?

10 A.        Approximately $3,800.

11 Q.        Could you describe for the jury what this looked

12 like, the crack cocaine that you bought on that date?

13 A.        It was in the shape of a cookie -- a large

14 cookie.

15 Q.        Was it hard?   Soft?

16 A.        It was hard.

17 Q.        What color was it?

18 A.        Brownish-white.

19 Q.        Brownish-white?

20 A.        White.

21 Q.        And what did you do with that "cookie?"

22 A.        Broke it down into smaller quantities to sell.

23 Q.        How did it sell?

24 A.        It sold relatively fast.

25 Q.        Did you get any report back on the quality?




                                                               Page 158
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 159 of 249



1 A.          Yeah.   It was a good quality.

2 Q.          Approximately how much did you make -- would you

3 make on a cookie -- a quarter kilo of crack cocaine?

4 A.          Upwards of maybe $6,000, or a little over

5 $6,000.

6 Q.          Did you continue to meet there and get crack

7 cocaine from Sonny, along with            Mr. Dorsey?

8 A.          Yeah, on several occasions.

9 Q.          Based on your discussions with        Mr. Dorsey, who

10 did you understand that he was getting the crack

11 cocaine from?

12 A.         Mr. Learley.

13 Q.         Mr. Learley who?

14 A.         Goodwin.     Learley.

15 Q.         I'm sorry?

16 A.         Goodwin.     Learley.

17 Q.         What relation was       Learley to Sonny?

18 A.         His father.

19 Q.         How many times did you meet        Mr. Dorsey and Sonny

20 at the Riggs Road and Eastern location to get crack

21 cocaine?

22 A.         Numerous occasions.

23 Q.         Could you give the jury an approximation?

24 A.         Upwards of three to five times.

25 Q.         Would you always meet him there?




                                                               Page 159
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 160 of 249



 1 A.        Yes.   When we met with him, yes.

 2 Q.        Did you ever purchase crack cocaine from him at

 3 Chico's   house?

 4 A.        Not from Sonny.

 5 Q.        Now, would you ever talk on the telephone to let

 6 Mr. Dorsey or anyone else know that you were ready for

 7 more crack cocaine?

 8 A.        Say again?

 9 Q.        Would you ever call      Mr. Dorsey up on the

10 telephone to let him know that you were ready for more

11 crack cocaine?

12 A.        Yes.   Raynard    would contact    Mr. Learley    himself.

13 Q.        And would you contact       Mr. Dorsey?

14 A.        Yes.

15 Q.        How would you tell him that you were ready for

16 crack cocaine and how much you wanted?

17 A.        We didn't speak over the phone.       If we wanted an

18 eighth a key,      I would say   I wanted to meet him up on

19 Eighth Street.

20 Q.        Did you ever use any other expressions?

21 A.        We'd reference "T-shirts" or things of that

22 nature.

23 Q.        Would you ever say "crack cocaine" or --

24           MR. MARTIN:    Objection.

25           THE COURT:    Wait a minute.




                                                                Page 160
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 161 of 249



 1          MR. MARTIN:     Leading.

 2          THE COURT:      Don't lead him.

 3          BY MS. GREENBERG:

 4 Q.       Would you ever use words directly relating to

 5 drug trafficking on the phone?

 6 A.       No.

 7 Q.       Why not?

 8 A.       You never knew who would be listening, that's

 9 why.

10 Q.       Did you ever talk to Sonny directly when he made

11 these deliveries?

12 A.       On occasion.

13 Q.       Do you know what he looks like?

14 A.       Yes.

15 Q.       Did there come a time that         Mr. Dorsey was not

16 available to put you in connection with            Mr. Goodwin

17 where he was in the hospital for a while?

18 A.       Yes.   Around    June.

19 Q.       Do you remember the date exactly?

20 A.       Not the exact date, no.

21          MS. GREENBERG:       Your Honor, if     I may approach.

22          THE COURT:      You may.

23          BY MS. GREENBERG:

24 Q.       Showing you what's been marked as Miscellaneous

25 2 for identification only.




                                                                Page 161
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 162 of 249



 1          Does this document refresh your recollection

 2 about what date      Mr. Dorsey entered the hospital?

 3 A.       Yes.

 4 Q.       What date was that?

 5 A.       June 17.

 6 Q.       Of what year?

 7 A.       2003.

 8          MR. WARD:     What was the date again?

 9          MS. GREENBERG:       June 17, 2003.

10          MR. WARD:     Thank you.

11          BY MS. GREENBERG:

12 Q.       Given that    Mr. Dorsey was not available to

13 arrange these transactions for you, what did you do?

14 A.       I tried to contact       Mr. Learley    through either

15 Chico or someone else at the Aries Street location.

16 Q.       How did that go?

17 A.       On numerous occasions       Chico and another

18 individual's girlfriend would call           Mr. Learley    on

19 behalf of me to purchase drugs.

20 Q.       Who was the girlfriend that you mentioned?

21 A.       Vicki.

22 Q.       What happened when you went to the Aries Street

23 address and asked them for drugs?        Would you get drugs?

24 A.       Yes.

25 Q.       How did you get drugs?




                                                                Page 162
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 163 of 249



1 A.       They would coordinate the deal, and           Mr. Learley

2 would come over.     At first,      I wouldn't deal with them

3 directly.       I would get the drugs through them after           I

4 gave them the money.

5 Q.       Would they charge you extra at all for brokering

6 the deal?

7 A.       Yeah, they would.

8 Q.       How much extra?

9 A.       It was not a fixed amount.       It would sometimes

10 be in drugs.      I would give them drugs.

11 Q.      Approximately how many times did you buy -- what

12 were you purchasing?     Let me ask you this.     What were

13 you purchas ing?     What type of drugs?

14 A.      Eighth a key.

15 Q.      What kind of drugs?

16 A.      Crack cocaine.

17 Q.      How many times did you use Chico or his

18 girlfriend, Vicki, to get drugs from          Mr. Goodwin?

19 A.      About three or four times.

20 Q.      Just to be clear.     Would you be at the Aries

21 Street address when      Mr. Goodwin would show up?

22 A.      Yes.

23 Q.      How would you get drugs?

24 A.      Through Vicki or Chico.

25 Q.      And would they give you the drugs before or




                                                               Page 163
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 164 of 249



1 after Mr. Goodwin showed up?

2 A.       After.

3 Q.       And you said you got an eighth of a kilo how

4 many times?

5 A.       Three or four times.

6 Q.       That was all crack cocaine?

7 A.       Yes, it was.

8 Q.       While Mr. Dorsey was in the hospital, did you

9 get drugs from anyone else besides through             Mr. Goodwin

10 and Tiffany and     Chico ?

11 A.      Yes.

12 Q.      Who did you get drugs from?

13 A.      Some Dominicans in       New York.

14 Q.      Could you tell the jury what happened with the

15 Dominicans     in New York?

16 A.      After one successful purchase,          I went back up

17 there to purchase drugs and lost my money, basically,

18 through the deal.

19 Q.      What happened?

20 A.      The deal was arranged to give my money to a

21 mutual individual to get the drugs and deliver them

22 back, and that never transpired.

23 Q.      How much money had you given them?

24 A.      Around $7,000.

25 Q.      Did you talk to       Mr. Dorsey after this situation,




                                                               Page 164
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 165 of 249



1 where you lost $7,000, about your need to get drugs

2 locally?

3 A.         Yes.   I told him about that.

4 Q.         Could you tell the jury what you and          Mr. Dorsey

5 discussed?

6 A.         That he was going to arrange for me to deal with

7 Mr. Learley directly.

8 Q.         Did he tell you what he would tell          Mr. Goodwin

9 in order to get that accomplished?

10 A.        Yes.   That, you know,    I was his cousin, and

11 everything would be all right.

12 Q.        How much money did you have left at this point

13 for drug purchases?

14 A.        Around $2,000.

15 Q.        What happened next?

16 A.        I subsequently met with      Mr. Learley and

17 purchased an eighth of a key.          I gave him around

18 $2,000.   He credited me the additional $1,800 to bring

19 back once   I finished.

20 Q.        When you say "an eighth of a key," is that a

21 kilogram?

22 A.        Yes.

23 Q.        Of what type of drug?

24 A.        Crack cocaine.

25 Q.        Where did you meet with      Mr. Goodwin?




                                                               Page 165
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 166 of 249



 1 A.       At Chico's    house.

 2 Q.       That's the Aries Street address?

 3 A.       Yes.

 4 Q.       Did you have a discussion directly with him at

 5 that time?

 6 A.       Yes.

 7 Q.       What did the two of you discuss?

 8 A.       The purchase of the drugs.

 9 Q.       Did you have a way to get a hold of           Mr. Goodwin

10 again?

11 A.       Yes.

12 Q.       What was that?

13 A.       Pager.

14 Q.       How did you get his pager number?

15 A.       He gave it to me.

16 Q.       Do you see the person that you've mentioned as

17 "Learley    Goodwin" in the courtroom today?

18 A.       Yes.

19 Q.       Could you identify him by what he is wearing and

20 where he's sitting?

21 A.       He's sitting right here with the brown shirt on,

22 and brown suit and glasses.

23          MS. GREENBERG:       Let the record reflect the

24 witness has identified the defendant,            Learley   Goodwin.

25          MR. MARTIN:     No objection.




                                                                Page 166
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 167 of 249



1             THE COURT:   The record will so indicate.

2             BY MS. GREENBERG:

3 Q.          Did you continue to have meeting with         Mr.

4 Goodwin to obtain crack cocaine?

5 A.          Yes.

6 Q.          Where would you meet him?

7 A.          I'd meet him up at Eastern Avenue, outside of

8 the parking lot at Giant, and on Aries Street.

9 Q.          How does the Eastern Avenue, outside of Giant,

10 relate to where you and        Mr. Dorsey would meet Sonny?

11 A.         Excuse me?

12 Q.         You said that you met Sonny at Riggs Avenue and

13 Eastern.

14 A.         Yes.

15 Q.         How does that relate to where you met         Mr.

16 Goodwin?

17 A.         It's the same location.

18 Q.         Same location?

19 A.         Yeah.

20 Q.         Right by the Giant?

21 A.         Yeah.

22 Q.         Anywhere else that you would meet        Mr. Goodwin?

23 A.         On Aries Place -- Aries Street in Northeast.

24 Q.         Would you talk on the phone with        Mr. Goodwin

25 before you met him to get drugs?




                                                               Page 167
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 168 of 249



1 A.        Yes.

2 Q.        How would you let him know what you wanted?

3 A.        In terms of wanting to meet him on "Eighth

4 Street" or purchase a certain amount of "T-shirts."

5 Q.        Similarly, would you ever mention specific drug

6 terminology when you talked to him on the phone?

7 A.        No.    Never.

8 Q.        Why not?

9 A.        Because of the ability to -- for your phone to

10 be tapped.

11 Q.       Did you explicitly talk about that, or that was

12 implicit?

13 A.       That was implicit.

14 Q.       What would      Mr. Goodwin drive when he met you?

15 A.       Gold-colored Escort.

16 Q.       Where would he carry the drugs?

17 A.       Normally just in a plastic trash bag.

18 Q.       Could you describe that for the jury?

19 A.       A large plastic trash bag.

20 Q.       Where would he keep the trash bag?

21 A.       In the middle compartment of the car between the

22 seats.

23 Q.       How would you pay him?

24 A.       Cash.

25 Q.       And what type of drugs were you purchasing?




                                                               Page 168
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 169 of 249



 1 Large or small quantities?

 2 A.        Relatively large quantities.

 3 Q.        Did you ever see     Mr. Goodwin distribute drugs to

 4 others?

 5 A.        On occasion.

 6 Q.        What kind of drugs?

 7 A.        Crack cocaine.

 8 Q.        What kind of weight?

 9 A.        Smaller quantities.

10 Q.        How many times?

11 A.        Numerous occasions.

12 Q.        Would you say under ten?       Over ten?

13 A.        Under ten.

14 Q.        I'd like to show you what's been marked as

15 Goodwin   Exhibit 27.

16           If I may approach,        Your Honor.

17           THE COURT:     You may.

18           BY MS. GREENBERG:

19 Q.        Did I show you this Pepsi bottle in preparation

20 for your testimony here today?

21 A.        Yes.

22 Q.        Had you mentioned a        Pepsi bottle that you had

23 seen in connection with        Mr. Goodwin?

24 A.        Yes.

25 Q.        In connection with this one, are you aware that




                                                                Page 169
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 170 of 249



1 the top comes off and there is a compartment in there?

2 A.        Yeah.

3 Q.        Had you seen     Mr. Goodwin with something like

4 this before?

5 A.        Yes, I have.

6 Q.        Could you explain that to the jury?

7 A.        I've seen him over at Aries Place with a            Pepsi

8 bottle that had a compartment in it with drugs in the

9 inside.

10 Q.       Did you ever see him give anyone drugs from

11 inside the      Pepsi bottle?

12 A.       Yes.

13 Q.       What type of drugs?

14 A.       Crack cocaine.

15 Q.       Did you ever get crack cocaine from           Mr. Goodwin

16 personally from inside the        Pepsi bottle?

17 A.       No.

18 Q.       Why not?

19 A.       I wasn't buying the small quantity that fits in

20 there.

21 Q.       How many times between mid       -May, when    Mr. Dorsey

22 went into the hospital, as you previously testified,

23 and early    August, how many times did you receive crack

24 cocaine directly from       Mr. Goodwin?

25 A.       Upwards of ten times or more.




                                                               Page 170
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 171 of 249



1 Q.          What kind of quantity?

2 A.          Eighth a key and above.

3 Q.          So the smallest quantity that you got -- it's

4 your testimony -- was eighth a kilo of crack cocaine?

5 A.          Yeah.

6 Q.          What was the largest amount of crack cocaine

7 that you bought from         Mr. Goodwin?

8 A.          A kilo.

9 Q.          Of crack cocaine?

10 A.         Yes.    It was powder.

11 Q.         What was the largest amount of crack cocaine in

12 terms of quantity you got from           Mr. Goodwin?

13 A.         Half a key.

14 Q.         Now, you mentioned you got powder cocaine from

15 Mr. Goodwin.       When did you get that?

16 A.         Late July or early       August.   Around the first of

17 August, 2003.

18 Q.         How much did that kilo of cocaine cost?

19 A.         $26,000.

20 Q.         What did it look like?

21 A.         Duct tape.    Black duct tape, in the form of a

22 brick.

23 Q.         Did you know how to cook cocaine into crack

24 cocaine?

25 A.         Yes.




                                                               Page 171
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 172 of 249



1 Q.         Could you tell the ladies and gentlemen of the

2 jury how you do that?

3 A.         You use baking soda; you cook it in a Pyrex jar

4 with water until it becomes hard.

5 Q.         Did you cook the cocaine that you got from             Mr.

6 Goodwin?

7 A.         Yes, I did.

8 Q.         How did it turn out?

9 A.         I didn't think I got as much as        I should.

10 Q.        I'm sorry?

11 A.        I didn't think    I had gotten as much as       I should

12 back in the solid form.

13 Q.        Did you talk to      Mr. Goodwin about it?

14 A.        Yes, I did.

15 Q.        Could you tell the jury about your discussions

16 with him regarding this kilogram of cocaine?

17 A.        I informed him that      I only got back a certain

18 amount, and at that time he wanted to meet with me to

19 show me how to cook it in a certain way, but             I had

20 already cooked it all so it was too late for that.

21 Q.        Did he give you any advice about what you could

22 use to make it better?

23 A.        Yeah.   Use vodka.

24 Q.        Did he say what kind of vodka?

25 A.        Odessa.




                                                                Page 172
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 173 of 249



1 Q.        What did he say the Odessa vodka would do?

2 A.        It would help it come back better.

3 Q.        When were you arrested?

4 A.        August 3rd -- approximately        August 3rd of 2003.

5 Q.        Did you have drugs on you at the time of the

6 arrest?

7 A.        Yes.

8 Q.        How much drugs did you have?

9 A.        A little over 60 grams.

10 Q.       Of what?

11 A.       Crack cocaine.

12 Q.       From where did you get that crack cocaine?

13 A.       Mr. Learley.

14 Q.       Was that already cooked, or that was from the

15 kilo he gave you that wasn't cooked yet -- the kilo he

16 sold you that wasn't cooked yet?

17 A.       It was cooked from the kilo that          I bought from.

18 Q.       So it was from the kilogram of powder that you

19 just described.

20 A.       Yes.

21 Q.       You still had 60 grams of crack cocaine that you

22 had cooked up.

23 A.       Yes.

24 Q.       Did you -- in connection with that arrest in

25 September of that year, did you reach an agreement to




                                                               Page 173
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 174 of 249



 1 plead guilty to the charges against you in             Washington,

 2 D. C.?

 3 A.        Yes.

 4           MS. GREENBERG:      Your Honor, if I may approach

 5 again.

 6           THE COURT:    You may.

 7           BY MS. GREENBERG:

 8 Q.        Handing you what's been marked as A-4.             I'll

 9 direct    your attention to the      last page.

10           Is this your plea agreement with the           U. S.

11 Attorney's office in Washington,          D. C.?

12 A.        Yes, it is.

13 Q.        Does it require you to cooperate with the              United

14 States?

15 A.        Yes.

16 Q.        That was part of your agreement?

17 A.        Yes.

18 Q.        What is your understanding of what your

19 cooperation was pursuant to that agreement means?

20 A.        To cooperate within the guidelines set forth

21 within the bounds of the law.

22 Q.        In terms of your testimony.      What does that

23 require you to do?

24 A.        To be truthful.

25 Q.        Who gets to decide how much of a reduction you




                                                                Page 174
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 175 of 249



 1 get?

 2 A.         Ultimately, the judge.

 3 Q.         Did you ever talk to     Mr. Goodwin about where he

 4 got his drugs from?

 5 A.         On one occasion, yes.

 6 Q.         What did he tell you?

 7 A.         Somewhere in    Texas.

 8 Q.         Did you ever see     Mr. Goodwin with a gun?

 9 A.         No.

10 Q.         Did he ever talk to you about guns?

11 A.         On occasion, he asked me if       I could get a hold

12 of some.

13 Q.         What did you tell him?

14 A.         That I would work on it.

15 Q.         Court's indulgence.

16            I'd like to show you, sir -- it's a little bit

17 bulky -- what's been marked as          CH-1.

18            Take your time.    And if you could look at         CH-1

19 and just put your initials, with this pen and today's

20 date, which --     Ms. Merez , is it the fifteenth or the

21 sixteenth?

22            THE CLERK:     The fifteenth.

23            BY MS. GREENBERG:

24 Q.         Put your initials, and tell the jury who you

25 recognize on this board, if anyone.




                                                                Page 175
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 176 of 249



 1 A.        (Witness indicating.)

 2 Q.        I'm sorry.     You indicated a person on the bottom

 3 row.

 4 A.        Sonny.

 5 Q.        If you could put the date of 6/15.

 6 A.        (Witness indicating.)

 7 Q.        The second picture -- and it's sonny.        Is there

 8 anyone else you recognize?

 9 A.        (Witness indicating.)

10 Q.        You indicated a picture in the middle of the

11 board.    Who is that?

12 A.        Mr. Learley .

13 Q.        Anyone else that you notice, that you recognize?

14 A.        (No response.)

15           MS. GREENBERG:      Court's indulgence.

16           Your Honor,     I think   I messed up the procedure

17 here.    With counsel's agreement,        I forgot to note that

18 he shouldn't write on the tape, and           I just transfer it

19 to the board during the tape.

20           No further questions,        Your Honor.

21           THE COURT:     All right.    Cross-examination?

22           MR. MARTIN:     Thank you,     Your Honor.

23           Your Honor, this may be a while.           I don't know

24 if you want to take a break here --

25           THE COURT:     Le t's see how long you go.




                                                                Page 176
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 177 of 249



 1          MR. MARTIN:     Okay, sir.

 2                          CROSS-EXAMINATION

 3          BY MR. MARTIN:

 4 Q.       Horace    Smith.   You're known as "Horace        Smith;"

 5 right?

 6 A.       Yes.

 7 Q.       You're also known as "Jody?"

 8 A.       Yeah.

 9 Q.       And you're also known as "        Thomas   Smith?"

10 A.       That's my middle name.

11 Q.       And you're also known as "        Joe Smith?"

12 A.       No.

13 Q.       And you're known as "Jody X?"

14 A.       No.

15 Q.       And you're known as "Horace         Smith?"

16 A.       No.

17 Q.       So how many names are you known by?

18 A.       "Horace    Smith, "Jody," or "Joe."

19 Q.       So you've got three different names.

20          How should we call you today?

21 A.       You can call me Horace        Smith.

22 Q.       Horace    Smith it is.

23          Ms. Greenberg had asked you right at the

24 beginning whether or not you were convicted of larceny

25 -- convicted of larceny by check in             Fairfax County in




                                                                 Page 177
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 178 of 249



 1 1995, and    I think you agreed that you were, but you

 2 didn't indicate which county that was.         That was in

 3 Virginia; correct?

 4 A.       Fairfax County.

 5 Q.       In Fairfax County.      And you were also convicted

 6 of forgery of checks in        Arlington County in 1995; isn't

 7 that correct?

 8 A.       Yes.

 9 Q.       You were convicted of credit card fraud in

10 Fairfax County in 1997; isn't that correct?

11 A.       Yes.

12 Q.       And you were convicted of larceny in            Alexandria

13 in January of 1997; is that correct?

14 A.       Yes.

15 Q.       And you were convicted of burglary and grand

16 larceny in      Virginia in 1997; is that correct?

17 A.       Yes.

18 Q.       Those are just the crimes you were caught doing;

19 is that correct?

20          MS. GREENBERG:     Objection.

21          BY MR. MARTIN:

22 Q.       Well, you were supporting a habit at that time;

23 isn't that true?

24 A.       Yes.

25 Q.       In order to support that habit, you had to




                                                                Page 178
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 179 of 249



 1 engage in drug --        I mean, in activity to support it;

 2 right?

 3 A.         Yes.

 4 Q.         In 2003 you were using drugs again; is that

 5 correct?

 6 A.         Yes.

 7            No.

 8            2003?   No.

 9 Q.         You were using drugs -- well, when did you stop

10 using drugs?

11 A.         2001.

12 Q.         In 2001.

13            So you were just using or distributing drugs

14 most recently to survive; is that your testimony?

15 A.         Yes.

16 Q.         You weren't using it to support your habit.

17 A.         No.

18 Q.         Now, I think    Ms. Greenberg also mentioned that

19 you had met with her today prior to testifying; is

20 that correct?

21 A.         No, I haven't met with her today.

22 Q.         She didn't show you?

23 A.         That was yesterday.

24 Q.         That was yesterday?    You've met with        Ms.

25 Greenberg several times though, haven't you?




                                                                  Page 179
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 180 of 249



 1 A.         Approximately three times.

 2 Q.         Three times.

 3            And you've met with some of the agents involved

 4 in this case as well; right?

 5 A.         Yes.

 6 Q.         Each time you've met with them, you gave them

 7 information; correct?

 8 A.         Correct.

 9 Q.         And they asked you questions; right?

10 A.         Correct.

11 Q.         Sometimes they corrected you on things you said;

12 correct?

13 A.         No.    They may have clarified things.

14 Q.         They clarified -- excuse me, but at no time

15 during any of these meetings or these debriefings was

16 your testimony or your statements ever recorded; is

17 that correct?

18 A.         Correct.

19 Q.         Okay.    And nobody took a camera or videotape and

20 videotaped you while you were giving them information;

21 correct?

22 A.         Correct.

23 Q.         And with respect to the notes that were taken.

24            You were never shown the notes and asked to read

25 it and then confirm its accuracy; correct?




                                                                Page 180
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 181 of 249



 1 A.         Correct.

 2 Q.         But when you came in today -- before you came in

 3 today, you rehearsed your testimony; right?

 4 A.         No.

 5 Q.         You didn't rehearse your testimony?

 6 A.         No.

 7 Q.         You didn't go over the questions with          Ms.

 8 Greenberg yesterday that you were going to be asked

 9 today?

10 A.         Yesterday.

11 Q.         And you went over your testimony because the

12 government        decides whether or not you've met your

13 requirements under the plea agreement; correct?

14 A.         Yes.

15 Q.         And with respect to that plea agreement.       It

16 requires that you not only testify but, as she said,

17 that you testify truthfully; right?

18 A.         Correct.

19 Q.         Mr. Goodwin is sitting over here.       He's not the

20 one who decides whether or not you testify truthfully,

21 does he?

22 A.         No.

23 Q.         No.

24            Ms. Greenberg is going to decide that, isn't

25 she?




                                                                  Page 181
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 182 of 249



 1 A.       No.

 2 Q.       But the government, you would agree, is the one

 3 who has to make the motion for you to get the benefit

 4 of this plea agreement; correct?

 5 A.       I don't understand what you're saying.

 6 Q.       Do you have the plea agreement in front of you?

 7 A.       No.

 8          MR. MARTIN:      Ms. Greenberg, could you give me a

 9 clean copy so that      I might show it to him?         I think it

10 is an exhibit.

11          MS. GREENBERG:     Here you go.

12          MR . MARTIN:     Your Honor, may     I approach?

13          THE COURT:     You may.

14          BY MR. MARTIN:

15 Q.       Take a few moments, sir.

16          If you will,     Mr. Smith, look over that document.

17 And after you've looked it over, especially the last

18 page, where signatures appear,          I want you to look up so

19 I know you're finished.         I'll tell you what,       Mr. Smith.

20 Why don't you go to the last page and just look at the

21 signatures there on Page 9 and Page 8 and tell me if

22 you recognize -- well, page 9, specifically.

23          Tell me if you recognize any signatures on that

24 page.   The very last page, sir.

25 A.       Yeah, that's my signature.




                                                                Page 182
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 183 of 249



1 Q.          That's your signature, and it's dated September

2 30, 2003; isn't that right?

3 A.          Yeah.

4 Q.          And the front of the document is dated September

5 23, 2003; correct?

6 A.          Yes.

7 Q.          It's addressed to your attorney; isn't that

8 correct?

9 A.          Yes.

10 Q.         And if you turn to Paragraph 5, it says -- if

11 you go there on Page 3, it talks about you cooperating

12 truthfully; correct?

13 A.         Yes.

14 Q.         It says, "truthfully, completely and fully;"

15 correct?

16 A.         Yes.

17 Q.         And near the bottom of that -- three or four

18 lines from the bottom -- it talks about the government

19 making a motion pursuant to Section 5(K)(1); correct?

20 A.         Yes.

21 Q.         And your attorney explained to you that that's a

22 motion that would reduce your offense level, didn't

23 she?

24 A.         Yes, possibly.

25 Q.         Possibly.




                                                               Page 183
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 184 of 249



 1            And that possibly turns on the condition that

 2 you satisfy the government and that you've cooperated

 3 successfully; correct?

 4 A.         Correct.

 5 Q.         It also makes reference on the third line from

 6 the bottom of 5-A to 18 U.S.C., 3553(E).

 7            Do you see that?

 8 A.         Yes.

 9 Q.         And that motion,    I'm sure your attorney told

10 you, would allow the government to ask the judge to

11 sentence you below the statutory minimum; isn't that

12 correct?

13 A.         I'm not sure about that.

14 Q.         You're not sure about that?

15 A.         I don't know the code.       I don't know the

16 legalese.

17 Q.         Forget the legalese.     The point being that you

18 hope by testifying you're going to do less time in jail

19 than you would otherwise have to do without this

20 motion; is that correct?

21 A.         Correct.

22 Q.         Your testimony here -- part of the deal is

23 you 'll tell them what they want to know about             Learley

24 Goodwin in exchange for doing less time in jail; right?

25 A.         No.




                                                                Page 184
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 185 of 249



 1 Q.       Go back to Page 9.

 2 A.       (Witness indicating.)

 3 Q.       That's not your signature?

 4 A.       Yes, it is.

 5 Q.       Raynard    Dorsey, you said, is your family member;

 6 right?

 7 A.       Yes.

 8 Q.       And you said you met with         Mr. Goodwin at Aries

 9 Place; right?

10 A.       Yes.

11 Q.       That's    James Williams' house, isn't it?

12          You know him as Chico?

13 A.       I know him as Chico, yeah.

14 Q.       That's Chico's house?

15 A.       Yes.

16 Q.       And Chico is     Tiffany Vessels' dad; correct?

17 A.       Correct.

18 Q.       And Tiffany Vessels is        Raynard   Dorsey's --    I

19 think you said cousin, but that's his aunt?

20 A.       Aunt.

21 Q.       And she is related to Chico; right?

22 A.       Yes.

23 Q.       That's the house where you were getting the

24 drugs; right?

25 A.       Correct.




                                                                Page 185
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 186 of 249



 1 Q.       And that's the house where you saw that             Pepsi

 2 bottle with     the false bottom; right?

 3 A.       Correct.

 4 Q.       That is also the place where         Raynard    Dorsey

 5 stays from time to time; isn't that correct?

 6 A.       Yes.

 7 Q.       And Raynard     Dorsey has a white      Cadillac, doesn't

 8 he?

 9 A.       At one point he did.

10 Q.       He had a white      Cadillac at one point.

11          And you know that      Raynard    Dorsey is cooperating

12 with the government just like you; right?

13 A.       No, I'm not aware of that.

14 Q.       You're not aware of that?

15 A.       No.

16 Q.       Have you spoken to       Tiffany Vessels since you

17 were arrested?

18 A.       No.

19 Q.       Have you spoken to       Chico since you were

20 arrested?

21 A.       No.

22 Q.       Have you spoken -- have you seen the indictment

23 in this case since you were arrested?

24 A.       No.

25 Q.       So you don't know if any of your family members




                                                                Page 186
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 187 of 249



 1 are involved in this other than you.        That's your

 2 testimony.

 3 A.       Correct.

 4 Q.       Well, let's get back to this plea agreement and

 5 the terms of the agreement.

 6          You said,    I believe, that what you're supposed

 7 to do is testify truthfully; is that right?

 8 A.       Yes.

 9 Q.       Is that correct?

10 A.       Yes.

11 Q.       And Ms. Heather      Shayner   negotiated on your

12 behalf, and she worked out the terms of this plea

13 agreement; right?

14 A.       Yes, as my attorney.

15 Q.       Right, as your attorney.

16          She represented you during, the bargain, the

17 give and take; right?

18 A.       Correct.

19 Q.       Do you think the truth is something that should

20 be bargained for?

21 A.       I don't have an opinion on the truth.         The truth

22 is what it is.

23 Q.       That's not the question.

24          Do you think the truth is something that should

25 be bargained for?




                                                                Page 187
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 188 of 249



 1          MS. GREENBERG:     Objection,      Your Honor.

 2          THE COURT:     Sustained.

 3          BY MR. MARTIN:

 4 Q.       So you didn't come forward to testify today of

 5 your own free will.     You came because you have a sort

 6 of Damocles     hanging over your head, and that is jail

 7 time.

 8          MS. GREENBERG:     Objection.

 9          THE COURT:     Sustained.

10          BY MR. MARTIN:

11 Q.       Were you subpoenaed to appear here today?

12          MS. GREENBERG:     Objection.

13          THE COURT:     Sustained.

14          BY MR. MARTIN:

15 Q.       Mr. Smith, you would agree with me that there's

16 nothing that     Mr. Goodwin can do to reduce your jail

17 time.

18          Would you agree with that?

19 A.       Yes.

20 Q.       Only the government can help you in that regard;

21 right?

22 A.       Correct.

23 Q.       And you would also agree with me that            Mr.

24 Goodwin is not a family member; correct?

25 A.       Correct.




                                                                Page 188
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 189 of 249



1 Q.       And you would also agree with me that             Learley

2 Reed Goodwin -- as far as you're concerned -- is

3 somebody that you're never going to see again; right?

4 A.       I don't know.

5 Q.       You don't know?

6 A.       No.

7 Q.       Do you hope to see him again?

8 A.       No.

9 Q.       Besides    Ms. Greenberg, did you also meet with

10 Agent Eveler or Mr. Sakala in this case?

11 A.      Yes.

12 Q.      How many times did you meet with them?

13 A.      Two or three times.

14 Q.      They showed you pictures of different people

15 that they were interested in; is that correct?

16 A.      Correct.

17 Q.      And you told them what you knew about those

18 different people; right?

19 A.      Correct.

20 Q.      Did they show you pictures of Chico?

21 A.      No.    I never saw a picture of Chico.

22 Q.      Did they show you pictures of          Raynard?

23 A.      Yes.

24 Q.      Did they show you pictures of any of your other

25 family members besides      Raynard?




                                                               Page 189
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 190 of 249



 1 A.       No.

 2 Q.       Just Mr. Goodwin; right?

 3 A.       It was numerous pictures.

 4 Q.       But they showed you       Mr. Goodwin's picture, as

 5 well; right?

 6 A.       Yeah.

 7 Q.       Now, you had mentioned something also about

 8 going up to      New York to get drugs.

 9          That wasn't a connection that had anything to do

10 with Learley      Goodwin, was it?

11 A.       No.

12 Q.       That was through your own contacts and

13 connections, wasn't it?

14 A.       Yes.

15 Q.       You knew how to do that because you know your

16 way around the streets, don't you?

17 A.       Correct.

18 Q.       Now, you've been charged,         I guess, through an

19 Information, if      I remember correctly, here in         Maryland.

20          I don't want to misstate myself here, but you

21 were not placed on the same indictment with the rest of

22 the defendants in this case; is that correct?

23          MS. GREENBERG:     Objection,      Your Honor.

24          Misstating the evidence.       It was a      Washington,

25 D. C. charge.




                                                                Page 190
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 191 of 249



1           MR. MARTIN:    That's correct.

2           THE COURT:    Sustained.

3           BY MR. MARTIN:

4 Q.        You were charged by a criminal Information in

5 Washington,      D. C.; right?

6 A.        Correct.

7 Q.        And you were charged by yourself; right?

8 A.        No.    Someone was with me.

9 Q.        One other person was with you?

10 A.       Yes.

11 Q.       But you weren't charged in        Maryland, were you?

12 A.       No.

13 Q.       So you weren't charged in the federal system

14 here in Greenbelt; right?

15 A.       Correct.

16 Q.       And you weren't charged in Upper Marlboro in

17 Prince   George's   County; right?

18 A.       No.

19 Q.       And you didn't only deal here in          Maryland and    D.

20 C.; you also purchased drugs in         New York, and you

21 weren't charged with that either, were you?

22 A.       Correct.

23 Q.       That was all part of the consideration that you

24 got for your cooperation; right?

25 A.       Correct.




                                                               Page 191
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 192 of 249



 1 Q.       Indeed, further consideration that you got               was

 2 the fact that while this is pending you're not locked

 3 up, are you?

 4 A.       Correct.

 5 Q.       You're out on the street every day; right?

 6 A.       Correct.

 7 Q.       And you will continue to be out on the street as

 8 long as the government is satisfied with your

 9 cooperation; right?

10 A.       I don't know.

11 Q.       Well, do you expect to walk out of here today?

12 A.       Correct.

13 Q.       You think you're doing all right; correct?

14 A.       I'm doing what      I need to do.

15 Q.       You 're doing what you need to do.        Exactly.

16          Your indulgence, please, sir.

17          THE COURT:     That's all right.

18          BY MR. MARTIN:

19 Q.       Now, with respect to       Raynard   Dorsey.    You've

20 already established his relationship to you.

21          Would it be fair to say that         Learley    Goodwin is

22 not really your friend; this is not somebody that you

23 hang out with and go to the bar with, is it?

24 A.       No.

25 Q.       And Raynard     Dorsey is somebody you expect to see




                                                                 Page 192
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 193 of 249



 1 again; right?

 2 A.       I'm not certain of that.

 3 Q.       You're not sure about that either?

 4          You expect to see the rest of your family

 5 members, though; right?

 6 A.       Yes.

 7 Q.       Do you have children?

 8 A.       Yes.

 9 Q.       Did you testify before the Grand Jury?

10 A.       No.

11          MR. MARTIN:      Court's indulgence just a second,

12 Your Honor.

13          BY MR. MARTIN:

14 Q.       But for    Raynard   Dorsey, is it fair to say that

15 you would have never known of         Learley Reed     Goodwin?

16 A.       Correct.

17          MR. MARTIN:      I have nothing further,        Your Honor.

18          THE COURT:     Any further cross?

19          MR. MONTEMARANO:      Just a couple questions,         Mr.

20 Smith, if you don't mind.

21                          CROSS-EXAMINATION

22          BY MR. MONTEMARANO:

23 Q.       You and    I have never met before; correct?

24 A.       Say again?

25 Q.       You and    I have never met before?




                                                                Page 193
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 194 of 249



 1 A.       No.

 2 Q.       If I understood your testimony, you said your

 3 first purchase from       Mr. Goodwin was a quarter key of

 4 crack; correct, sir?

 5 A.       Incorrect.

 6 Q.       One time you bought a quarter key of crack?

 7 A.       At one point.

 8 Q.       Okay.   I'm sorry.       I must be getting the order

 9 mistaken.

10          Now, you have testified you have sources for

11 drugs other than      Mr. Goodwin; correct?

12 A.       Yeah.

13 Q.       And you've bought kilogram lots of cocaine in

14 the past?

15 A.       Yes.

16 Q.       What is a kilogram of cocaine -- plain, regular

17 powder cocaine -- going to cost you?

18 A.       It cost me, at the time, $26,000.

19 Q.       $26,000.

20 A.       Mm-hmm.

21 Q.       Okay.   And that you would then cook into crack;

22 correct, sir?

23 A.       Yes.

24 Q.       You would have how much crack -- after you

25 cooked that key, or kilogram, of cocaine, how much




                                                                Page 194
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 195 of 249



 1 crack would you end up with?

 2 A.         Monetarily?   Or what are you talking about?

 3 Are you talking about monetarily or --

 4 Q.         How much weight?

 5            How much crack would you end up with?

 6 A.         It varies.    You could end up with anywhere from

 7 26 ounces to 28 ounces.       It depends on how it -- the

 8 cocaine is -- how it cooks.       It's not a set amount.

 9 Q.         Not a set amount.

10            Generally speaking, you're going to end up with

11 less crack than you began with cocaine?

12 A.         Generally.

13 Q.         Excuse me?

14 A.         Generally, yeah.

15 Q.         Generally.

16            Okay.   At one point you said you bought a

17 quarter key of crack from         Mr. Goodwin for $3,800;

18 correct?

19 A.         No.

20 Q.         No?

21            You bought a key -- quarter key of crack from

22 Mr. Goodwin for $3,800.        Is that your testimony?

23 A.         No.

24 Q.         You didn't say that you gave him $2,000 and he

25 fronted you the other $1,800?




                                                                Page 195
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 196 of 249



 1 A.       I said that was in reference to an eighth of a

 2 kilo.

 3 Q.       You said it was two eighths?

 4 A.       That was the first occasion that we met with

 5 him, Raynard     and myself.

 6 Q.       I don't understand.      How much did -- how much

 7 did you buy?

 8 A.       On what occasion?

 9 Q.       On that occasion.

10 A.       Which occasion, specifically, are you talking

11 about?

12 Q.       The $3,800.    When he allegedly --

13 A.       It was an eighth a key.

14 Q.       And it cost you how much?

15 A.       I gave him $2,000.      I owed him $1,800.

16 Q.       That was only for an eighth of a key?

17 A.       Yes.

18          MR. MONTEMARANO :      N o further questions,       Your

19 Honor.

20          MR. HALL:     I have no questions,       Your Honor.

21          THE COURT:     Anyone else?

22          MR. MITCHELL:     No questions,      Your Honor.

23          THE COURT:      Mr. Ward?

24          MR. WARD:     Yes,    I do have a couple,     Your Honor.

25 Thank you.




                                                                Page 196
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 197 of 249



 1                          CROSS-EXAMINATION

 2          BY MR. WARD:

 3 Q.       Mr. Smith, when you started out as an addict,

 4 you were not selling.      Initially, you were just copping

 5 and using; is that correct, sir?

 6 A.       Correct.

 7 Q.       And I think the crimes you talked about were

 8 larceny, credit card fraud, burglary, grand larceny --

 9 those were the kinds of crimes that you were committing

10 in order to support your habit; is that correct, sir?

11 A.       Correct.

12 Q.       And you hung out with other addicts, too,             I

13 would suppose; is that correct?

14 A.       On occasion.

15 Q.       Huh?

16 A.       On occasion.

17 Q.       On occasion.

18          That was typical addict crime:        Larceny, credit

19 card fraud, grand larceny; is that right?

20 A.       In my case, yeah.

21 Q.       In your case, yes.

22          Did you ever have any drug dealings with             Lavon

23 Dobie?

24 A.       I don't know that name.

25 Q.       You've never heard that name?




                                                                Page 197
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 198 of 249



 1 A.       No.

 2 Q.       How about    Becky?

 3 A.       Say again?

 4 Q.       Becky Dobie.

 5 A.       No.

 6 Q.       Ever hear that name?

 7 A.       No, I never heard that name.

 8 Q.       I'm going to ask the lady on the end to stand

 9 up, please.

10          Take a look at that lady and tell us if you know

11 her.

12 A.       No, I don't.

13          MR. WARD:     Okay.    Thank you, sir.

14          That's all.

15          THE COURT:     Anyone else?

16          All right.    Redirect?

17          MS. GREENBERG:      Yes,   Your Honor.      I'll be brief.

18                            REDIRECT EXAMINATION

19          BY MS. GREENBERG:

20 Q.       Mr. Smith,    I want to clear up what        Mr.

21 Montemarano    brought up.     There might be some confusion.

22          The first time that you went with           Mr. Dorsey to

23 get drugs, how much were you purchasing?

24 A.       A quarter key, in quantities of two eighth a

25 keys.




                                                                Page 198
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 199 of 249



1 Q.          Could you explain to the jury what you mean by

2 the "two eighth of a keys?"

3 A.          Two separate cookie-like substances.

4 Q.          Were you getting both?

5 A.          No.    I was getting one of them.

6 Q.          Who was getting the other one?

7 A.          Raynard    Dorsey.

8 Q.          Would you ever be able to buy a quarter key for

9 $3,800?

10 A.         No.

11 Q.         What does that price relate to?

12 A.         An eighth of a key.

13 Q.         Just to be clear.    A key -- we're talking about

14 kilograms of crack cocaine?

15 A.         Yes.

16 Q.         You also testified in cross-examination by          Mr.

17 Martin that you met with         Mr. Eveler -- Detective      Eveler

18 or Sergeant       Sakala on two or three occasions; is that

19 correct?

20 A.         Yes.

21 Q.         And you also testified earlier in that testimony

22 that you met with me on two or three occasions; is that

23 correct?

24 A.         Correct.

25 Q.         Does that make a total of four to six occasions,




                                                               Page 199
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 200 of 249



 1 or two to three total when we were all at the same

 2 meeting?

 3 A.         Total two to three.

 4 Q.         Okay.   So in other words,      I was with one of the

 5 officers when you talked to me.

 6 A.         Yes.

 7 Q.         And so the total times we met and talked were

 8 two or three times?

 9 A.         Yes.

10 Q.         Did anyone on behalf of the government ever tell

11 you what you should say?

12 A.         No.

13 Q.         How would these meetings go, if you could just

14 explain to the jury, when we would meet in connection

15 with your testimony here today?

16 A.         They would annotate what      I recollected.

17 Q.         What do you mean by "annotate" what you

18 recollected?

19            We would ask you questions?

20 A.         They you would ask me questions of my

21 involvement in this situation and annotate them on a

22 notepad.

23 Q.         Oh.    In other words, we'd take notes.

24 A.         Yes.

25 Q.         Did we ever tell you -- strike that.




                                                                Page 200
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 201 of 249



1          Who gave the information in connection with

2 these meetings?     Myself, the detectives, or you?

3          MR. MONTEMARANO:      Objection,     Your Honor.

4          Leading.     This is not a multiple choice exam.

5          THE COURT:     Overruled.

6          THE WITNESS:     Say again?

7          BY MS. GREENBERG:

8 Q.       Who gave the answers in response to the

9 questions?      Myself, detectives, or you?

10 A.      I did.

11 Q.      When you talked about the pictures, could you

12 describe to the jury how are these -- were these

13 pictures shown to you?

14 A.      In a large binder, or book, with multiple other

15 pictures.

16 Q.      Would it be safe to say there was over 100

17 pictures?

18 A.      Yeah.

19 Q.      How were they shown to you?

20 A.      Randomly, asking to identify anybody            I would

21 recognize throughout the book.

22 Q.      Did you tell us which you did recognize and

23 which you didn't recognize?

24 A.      Yes.

25 Q.      Now, the false bottom       Pepsi can that      Mr. Martin




                                                               Page 201
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 202 of 249



 1 asked you that you saw over at Aries.

 2          When did you see it?      Approximately when?

 3 A.       What time period?

 4 Q.       Yes.

 5 A.       Probably    May or June of 2003.

 6 Q.       Who had it when you saw it?

 7 A.       Mr. Learley .

 8 Q.       What was he doing with it?

 9 A.       Retrieving crack cocaine from it.

10 Q.       For what purpose?

11 A.       To sell.

12 Q.       Were you there for the transaction?

13 A.       I seen the retrieval of it, and          I stood by, and

14 when the transaction was going on.

15 Q.       Was it to someone other than you?

16 A.       Yes.

17 Q.       But you observed it?

18 A.       Yes.

19 Q.       Did you know the person who was purchasing the

20 crack cocaine, Mr. Goodwin?

21 A.       No.

22 Q.       And Mr. Martin also asked you if you were

23 charged in this case or if you were charged in

24 Washington,     D. C.

25          When were you charged with the crimes to which




                                                                Page 202
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 203 of 249



 1 you pled guilty to?

 2 A.       In August 2003.

 3 Q.       That's when you were arrested?

 4 A.       Yeah.

 5 Q.       And your plea agreement's dated September 2003?

 6 A.       Yes.

 7 Q.       Well before this case started?

 8 A.       Yes.

 9 Q.       And did you admit, in connection with that plea

10 agreement, your dealings with         Mr. Goodwin?

11 A.       Yes.

12          MS. GREENBERG:       Court's indulgence.

13          Nothing further,      Your Honor.

14          THE COURT:     All right.    Anything -- any recross?

15          MR. MONTEMARANO:      Court's indulgence, please.

16          Your Honor, since it 3:15, could we just talk

17 about it over the break, since y         our ho nor is going to

18 be breaking soon anyway?

19          THE COURT:     All right.

20          MS. GREENBERG:     For brief cross,        Your Honor?

21          THE COURT:     You make up your mind so we can get

22 him finished and get him out of here.             I don't want to

23 give you too much more energy.

24          MR. MARTIN:      I appreciate my brethren's advice,

25 but I'm going to pass on the redirect            Your Honor.




                                                                Page 203
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 204 of 249



 1           THE COURT:     Recross.

 2           MR. MARTIN:      I'm sorry.   Recross.

 3           THE COURT:     Your pass is accepted.

 4           Ladies and gentlemen, we'll take a recess until

 5 25 minutes of four.

 6                         (Jury excused at 3:19 p.m.)

 7                         (Witness excused from the stand.)

 8                         (Off the record at 3:19 p.m.)

 9                         (On the record      at 3:44 p.m. )

10           THE COURT:     Counsel , I have been advise d that ,

11 through    some snafu,     the person   to be sentence d tomorrow

12 can't be here .      So , I do not have a sentenci ng at 9:00 .

13 Now I can bring the jury in earlier            and I can   spend

14 more time on preliminary        matter s.     I can start at 9:30

15 and start with you at 9:00 on preliminary             matter s.

16           I see heads shaki ng .

17           MS. JOHNSTON:      I would ask that the court not do

18 that .    We have three witness es comi ng in from out of

19 state who are arrivi ng late tonight , so we will be

20 meet ing with them at 8 o'clock , and I based those

21 meet ings based on the 10 o'clock           start .

22           THE COURT:     I will leave it on 10:00.

23           Do you want me to meet with you at 9:30 on

24 preliminary    mat ters?

25           MS. JOHNSTON:      I would prefer      to do it at 9:45 .




                                                                Page 204
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 205 of 249



 1           THE COURT:     I've gotten      one note from Mr.

 2 McKnett , and if you can give me your additional              matter s

 3 --

 4           MR. MCKNETT:     Your Honor , Mr. Montemarano           has

 5 written   his on the bottom        of my note .

 6           THE COURT:     So that 's what I     need ?    I will    do

 7 that .

 8           MS. JOHNSTON:      The only thing we would ask           is

 9 that we are able to finish          with this witness     today ,

10 because   we has a 7 o'clock        flight   to Ohio .

11           THE COURT:     If we can stop talk ing , we can get

12 him in and out .

13           MR. MCKNETT:     Your Honor , just for the record , I

14 have provide d a copy of my note to the government .

15           THE COURT:     Are we ready for the jury ?

16           MS. GREENBERG:        Yes , Your Honor .

17           THE COURT:     Bring them in .

18            What 's the nam e of the next witness ?

19           MS. GREENBERG:    S    pecial   Agent Kyle Fulmer .

20                  (J ury return s at 3:46 p.m. )

21           THE COURT:     You may proceed .

22           THE CLERK:     If you will raise your right hand

23 for me , please .

24 Thereupon,

25                             KYLE FULMER ,




                                                                Page 205
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 206 of 249



 1 having been called as a witness on behalf of the

 2 Plaintiff , and having been first duly sworn by the

 3 Courtroom Deputy, was examined and testified as

 4 follows:

 5            THE CLERK:     If you would state your name         for the

 6 record ?

 7            THE WITNESS:     My name is Kyle , K Y L E, Fulmer ,

 8 F U L M E R.

 9                           DIRECT EXAMINATION

10            BY MS. GREENBERG:

11 Q.         Sir , where are you employ ed ?

12 A.         With the Federal     Bureau    of Investigation .

13 Q.         In what capacity ?

14 A.         I'm a Special    Agent .

15 Q.         Can you tell the jury , sir , some of your

16 background , train ing , and experience s with           the FBI?

17 A.         Well , prior to the FBI, I was a police officer

18 in the state of Ohio for approximately            seven year s, and

19 I've been in the FBI almost           ten year s now .

20 Q.         What are the nature        of your -- general ly , the

21 nature     of your duti es and responsibilities ?

22 A.         I was previous ly assign ed to the Wash ington,          D.

23 C. field office      with the Safe Street s Task Force .

24 Q.         If I could stop you there .

25            What is the "S afe Street s Task Force ?"




                                                                Page 206
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 207 of 249



1 A.         Basically , it 's a group of FBI agent s and

2 Metropolitan        Police     Department    officer s that work on a

3 violent     crime and gang s task force in the District of

4 Columbia , and we wind up work ing in the Maryland                 and

5 Virginia     suburb s as well .

6 Q.         As part of your work on that squad , did you

7 investigate        narcotic s activity ?

8 A.         Yes .

9 Q.         Was it in this capacity            that you were work ing on

10 October    17 , 2002 ?

11 A.        Yes .

12 Q.        Have you since move d from the area ?

13 A.        Yes .

14 Q.        You're    still a member         of the FBI?

15 A.        Yes .    I'm out of the Cleveland         division    now , the

16 Toledo , Ohio office .

17 Q.        Closer    to back home ?

18 A.        A little    bit .

19 Q.        That was n't a result        of any problem s here .      It

20 was just a natural          --

21 A.        No .    It was an OP transfer         -- O ffice of

22 Preference       transfer .

23 Q.        That 's where you want ed to go ?

24 A.        Correct .

25 Q.        Could you tell the jury , on or about October                 17 ,




                                                                   Page 207
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 208 of 249



 1 2002 , while you were a special         agent with the FBI

 2 as signed to      the Safe St reet s Task Force , did you

 3 execute    a D. C. Superior       Court search    warrant   at 1323

 4 Anacostia     R oad , Apartment    No. 4 , Southeast , in

 5 Washington,       D. C. ?

 6 A.        Yes .

 7 Q.        At approximately      what time did you execute       that

 8 search    warrant ?

 9 A.        It was sometime      right after noon .

10 Q.        I'd like to show you -- and put up on the screen

11 -- do you recognize         what is depict ed in P- 68 ?

12 A.        Yes .    That 's a photograph    of the front door of

13 that apartment .

14 Q.        Did you knock on that door ?

15 A.        Yes .

16 Q.        Could you de scribe      to the jury how you knock ed

17 and attempt ed to gain entry ?

18 A.        If you 'd like me to demonstrate , I could do

19 that .

20 Q.        Sure .

21 A.        Basically , I perform ed the knock and announce .

22 We got to the build ing ; we came in the front door .

23 There 's actual ly a front -- exterior           front door to that

24 build ing .    You walk up a flight       of step s, and it 's the

25 first door on the right .          I bang ed on it as hard as I




                                                                Page 208
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 209 of 249



 1 could (witness       indicati ng ) very similar    to that , and

 2 probably     actual ly much loud er ; yell ed , "P olice , search

 3 warrant " about three time s, and wait ed for the door to

 4 be answered .

 5 Q.         What happened ?

 6 A.         No one answered    the door , and we breach ed the

 7 door at that time .

 8 Q.         Were there any concerns        you had about being

 9 observe d down the hall way ?

10 A.         Yes .   The information      that we had with reference

11 to this residence        specifically    is that there were

12 surveillance       camera s on the exterior    of the build ing ,

13 and I believe       in the hall way as well , a nd in fact         there

14 were .

15 Q.         You observe d these surveillance       camera s?

16 A.         Yes .

17 Q.         Was there anyone    in side the particular       location ?

18 That would be 1323 Anacostia         R oad , No. 4 , Southeast ,

19 Washington     D. C. when you entered       the apartment     on

20 October    17 , 2002 ?

21 A.         Yes .

22 Q.         And who was there ?

23 A.         A male identifi ed as "Richard       Johnson ," and also

24 a female     by the name of "Bridget Reeder."

25            THE COURT:     What was the second     name ?




                                                                 Page 209
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 210 of 249



 1            THE WITNESS:     Bridg et Reeder , R E E D E R.

 2            By MS. GREENBERG:

 3 Q.         The first name was Richard       Johnson ?

 4 A.         Correct .

 5 Q.         What was your role in connection          with the search

 6 warrant ?

 7 A.         I was the seizi ng agent and the knock and

 8 announce     -- basically , the team leader        that day .

 9 Q.         When you say "seizi ng agent ," could you describe

10 to the jury what you mean ?

11 A.         There was approximately      -- somewhere        between

12 seven to nine agent s and /or detective s that were

13 present     during   that search   warrant .     Once we begin a

14 search     of the residence , and item s are identifi ed that

15 are going to be seize d as evidence , I will come ,

16 observe     them , photograph s will be taken of them , and

17 then I will     seize them , place them in a bag , label them

18 with the case number , date , where they were locate d,

19 and then I'll list that on the -- what's                 call ed the

20 FD-597 .     It 's a property   inventory      sheet .

21 Q.         So the practice    for somebody      -- a law

22 enforcement     agency    finds an item , notifi es the seizi ng

23 agent , who come s over and seize s the item s.              That 's

24 standard     operati ng procedure    as far as     you know in the

25 FBI?




                                                                   Page 210
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 211 of 249



 1 A.        It 's standard      operati ng procedure    for our task

 2 force , yes .

 3 Q.        That 's to enable      one person   to come into court

 4 instead    of however       many are at the scene ?

 5 A.        That 's part of it , yes .

 6 Q.        So , based on your work in law enforcement , is

 7 that also the way that some police            department s conduct

 8 their business ?

 9 A.        Yes .

10 Q.        So the item s that were seize d that day , they

11 were actual ly physically         taken by you ?

12 A.        Yes .

13 Q.        Did you observe       P-69 ?   Did you observe   this

14 particular      exhibit ?

15 A.        Yes .

16 Q.        It says , "R oom D."

17           Could you de scribe      to the jury what that mean s?

18 A.        Part of the procedure s -- when we would execute

19 search    warrant s, we would come into the residence           --

20 and this would be any residence           that we search -- we'll

21 take -- we'll label each room , give it a letter

22 designation , and then take what we call pre- search

23 photograph s and then post -search         photograph s, as well

24 as item s -- photograph s of the item s of evidence .

25 Typically , drug s, gun s, or quantiti es of U. S. currency




                                                                Page 211
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 212 of 249



 1 that we would typically        seize .

 2          What you see in this photograph          here is one of

 3 our letter s that we put up in that specific            room , and

 4 this is a pre- search      photograph    of Room D.

 5 Q.       Where is Room D in relation         to the front door

 6 that we just saw ?

 7 A.       That is the front door right there that you see .

 8 Q.       Right here ?

 9 A.       That 's correct .

10 Q.       So this is right in side the door way ?

11 A.       That 's correct .

12 Q.       I'm going to point to an item .

13          Do you see the white bottle with           the black cap ?

14 A.       Yes , I do .

15 Q.       Do you recognize      that as one of the item s that

16 you seize d?

17 A.       Yes .

18 Q.       Could you tell the jury what that is ?

19 A.       It 's a false contain er .      It 's a can of

20 Fix -A-F lat that has a -- the bottom         of the can

21 un screw s, and there 's a false compartment , basically             a

22 void in side the can where item s can be secret ed .

23 Q.       Have you seen that in connect ion with your work

24 in narcotic s trafficking ?

25 A.       Many time s.




                                                                Page 212
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 213 of 249



 1 Q.       What is that false compartment           typically    use d

 2 for ?

 3 A.       Nar cot ic s.

 4 Q.       Do you remember        the brand name on this item ?

 5 A.       I think    it 's Gunk.     Like , Gunk Fix-A-Fl at .

 6 Q.       Are you sure of that , or do you need to refer to

 7 your note s?

 8 A.       I could refer to my note s.

 9 Q.       R?

10 A.       Yeah .    It was item 13 :       One Gunk Fix-A-Flat

11 false contain er locate d in Room D on table by myself .

12 Q.       Did you make those note s at or about the time of

13 the search      warrant ?

14 A.       This was at the time of the search           warrant.

15          Again , the note s that I'm look ing at is just a

16 copy of the inventory .

17 Q.       This bottle        here , the tall bottle   with the white

18 liquid   and the cap .       Did you seize that item ?

19          Look s like a bottle       of liquor ?

20 A.       Not th at I'm       aware of .

21 Q.       You would n't necessarily         seize a bottle     of

22 liquor , would you ?

23 A.       No .

24 Q.       Liquor    is legal here in Washington,        D. C. and

25 Maryland ?




                                                                 Page 213
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 214 of 249



1 A.         Yes .

2 Q.         But does that appear     to you to be a bottle         of

3 liquor ?

4 A.         Yes .

5 Q.         Do you remember     what type of liquor     it was ?

6 A.         No , I certain ly don't .

7 Q.         Did you -- it 's kind of a bad picture .           I'll put

8 it up.

9            What's    depict ed in P-70?     D o you recognize     that ?

10 A.        Yeah .    That 's a small digital    scale that was

11 also locate d right there .

12 Q.        Can you show us on P-69 where that scale was ?

13 A.        Yes .

14 Q.        Or can you de scribe    where it was .

15 A.        When I touch the screen        here , will it --

16 Q.        It should .

17 A.        Approximately     right there .    Just above the green

18 mark there .       (Witness indicating.)

19 Q.        For the record , that 's right next to the false

20 contain er Gunk can ?

21 A.        Correct .

22 Q.        Actual ly , if you're   look ing at the picture        to

23 the right ?

24 A.        That 's correct .

25 Q.        Could you tell the jury what is depict ed in




                                                                Page 214
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 215 of 249



 1 P-71 ?

 2 A.         This is a box of .38 caliber       handgun    ammunition

 3 -- ammunition        that was locate d in a closet , o n a shelf .

 4 Q.         And you mark ed that as Item 12 .

 5            Was that also in Room D, the room we were

 6 talk ing about ?

 7 A.         Yes .     It was also in Room D, in side the closet .

 8 Q.         And P-72 .     Could you tell the jury what is

 9 depict ed in P-72 ?

10 A.         This is a black -- I would n't call it leather ,

11 but maybe pleather         bag that zip s up in the middle       there

12 that contain ed a number        of item s, to include     some

13 handgun    ammunition , I believe      two black mask s with

14 hole s cut where the eye s and the mouth , I belie ve,

15 would be , as well as some other item s, from what I

16 recall .

17 Q.         Where was that black pleather        bag locate d?

18 A.         That was also in Room D, on the floor , very

19 close to that closet .

20 Q.         And is Room D an open area as soon as you walk

21 into the house ?

22 A.         Right .     The apartment   as a whole is relative ly

23 small .    As you enter the apartment , the door swing s in

24 and to the right , and where you would come into is

25 basically     a common     area that it seem s that it would be




                                                                Page 215
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 216 of 249



 1 somewhat     of a, like , little     very small dini ng room , but

 2 it 's complete ly open to a living        room area .     And the

 3 kitchen    was off to the left , and the kitchen          was

 4 basically     like a hall way lead ing to a back area , and

 5 then the bedroom        was off to the left , and then the

 6 closet    was straight     ahead .

 7 Q.         And P-73 .    Is that just a better      shot of the

 8 .357 Magnum     ammunition     in side the black leather        bag ?

 9 A.         That 's correct .

10 Q.         That would be P-73 .

11            P-74 .

12 A.         This is a handgun     box and ammunition      that was

13 locate d in the living       room area right as you look -- as

14 you're    look ing from the door , you would see the couch .

15 It was right on the left-hand side           of the couch , on a

16 coffee    table .

17 Q.         So , walk ing in the door , the first room you see

18 is Room D?

19 A.         Correct .

20 Q.         And then attach ed to it , is that the living            room

21 you're    talk ing about now ?

22 A.         Correct .

23 Q.         Which you term ed Room E?

24 A.         Correct .

25 Q.         This was out in plain sight in Room E, what 's




                                                                Page 216
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 217 of 249



 1 depict ed in P-74 ?

 2 A.         The way it 's depict ed is exact ly the way it was

 3 sitting    when we entered        the apartment .

 4 Q.         Again , not a great picture , but could you tell

 5 the jury what's        depict ed in P-75 ?

 6 A.         This is a Colt .38 caliber         handgun   that was

 7 load ed , and this was locate d right on the coffee            table ,

 8 right in front of the couch in the living               room area .

 9 Q.         Again , in plain view ?

10 A.         That 's correct .      Just how it is there is how it

11 was when we entered .

12 Q.         And P-76 .

13 A.         This photo depict s hold ing the handgun         with the

14 revolver     open where you can actual ly see that it was

15 load ed with       six rounds .

16 Q.         Are we still in the same location , the living

17 room ?

18 A.         Yes .    Actual ly , what you're    see ing is me hold ing

19 the gun right over the coffee           table next to another

20 false contain er right there .

21 Q.         Okay .    Get ting to that .

22            Is that -- actual ly , could you mark where you

23 see the false contain er ?

24 A.         Yes .    Right there .    (Witness indicating.)

25 Q.         You've    put a green mark on that ?




                                                                 Page 217
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 218 of 249



 1 A.        Correct .

 2 Q.        Can you tell us what the false contain er is

 3 labeled ?

 4 A.        That was a Brute by Faberge        green can that ,

 5 again , had a screw -- an opening          at the bottom    where

 6 you just un screw it and the bottom          come s off .

 7 Q.        For the record , this is immediate ly adjacent             to

 8 the gun -- the thing separati ng it from the gun or a

 9 set of key s?

10 A.        Correct .

11 Q.        Can you read what kind of Brute can it is ?

12 A.        Shavi ng cream .

13 Q.        This is similar        to the Gunk can that you talk ed

14 about earlier ?

15 A.        Yeah .   In that it 's a false contain er and the

16 bottom    screws   off , yes .

17 Q.        Did you also seize certain        document s from this

18 residence ?

19 A.        Yes .

20 Q.        And without     going through    all the document s.

21 Did you re view some document s relating          to a customer

22 service     number,   1-800- 937 -8997 , item ized account     for

23 (202) 390-7875        for Voice Stream Wire less ?

24 A.        Yes .

25           MS. GREENBERG:         Your Honor , may I approach    the




                                                                Page 218
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 219 of 249



 1 witness ?

 2            THE COURT:          You may .

 3            BY MS. GREENBERG:

 4 Q.         Show ing you what 's been mark ed as Goodwin             31 .

 5            MR. WARD:          I'm sorry ?

 6            BY MS. GREENBERG:

 7 Q.         Goodwin     31 .

 8            Are these document s that you seize d from the

 9 Anacostia R oad location            during   the search   warrant ?

10 A.         Yes .

11 Q.         And you re move d from the original            exhibit s any

12 of your personal         note s on that exhibit ?

13 A.         Yes , I did .

14 Q.         That 's where there are some little             white -out s?

15 A.         Yeah .     On Page 1 on the left and the right .

16 Q.         But you recognize         this as the exhibit      you

17 seize d?

18 A.         Yes .

19            MS. GREENBERG:          Your Honor , I have     no further

20 question s.

21            May I publish         these exhibit s to the jury ?

22            THE COURT:          You may .

23            MR. MARTIN:          Madam Government , may I see that

24 before     you do ?

25                                CROSS-EXAMINATION




                                                                    Page 219
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 220 of 249



 1          BY MR. MARTIN:

 2 Q.       Good afternoon , officer .

 3 A.       Good afternoon .

 4 Q.       Anthony     Martin    here .   I represent    Learley

 5 Goodwin .

 6          If I remember        correct ly , you said when you went

 7 in there,    the apartment       was lease d by someone     name d

 8 "Richard    Johnson ?"

 9 A.       No , that 's not what I said .

10 Q.       What did you say , sir ?

11 A.       He was in the apartment .

12 Q.       He was in the apartment ?

13 A.       Correct .

14 Q.       Mr. Johnson      did tell you that was his apartment ,

15 did he not ?

16 A.       No , he did not .

17 Q.       There was someone        else in the apartment         at the

18 time you arrested        him ; correct ?

19 A.       That 's correct .

20 Q.       There was a female ?

21 A.       Correct .     Bridge t Reeder .

22 Q.       There was no indication           -- strike   that .

23          When you got in there , he was n't dress ed , was

24 he ?

25 A.       No , he was n't .      Neither    of them were .




                                                                   Page 220
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 221 of 249



 1 Q.         In fact , the woman was somewhat          hysterical .    She

 2 want ed to put on her clothe s; correct ?

 3 A.         Eventually .       Yeah , she wanted to    put on her

 4 clothe s immediate ly , and we let her .

 5 Q.         And Mr. Johnson       put on some clothe s that were

 6 out in the living        room area ; correct ?

 7 A.         Correct .

 8 Q.         And in fact , both of their clothe s were in the

 9 living    room area ; is that correct ?

10 A.         Correct .    There was a lot of clothes, actually.

11 Q.         By all indications, the clothing that you saw in

12 the closet was the same size as Richard Johnson;

13 correct?

14 A.         No.

15 Q.         The shoe s that were in the closet .          Those all

16 were the same size as Mr. Johnson , too , weren't             they ?

17 A.         No .

18 Q.         Was there any indication , or at any time did you

19 measure     the clothi ng to see if they fit Mr. Johnson             or

20 not ?

21 A.         Well , it 's relative ly tough to gauge men 's

22 clothi ng .       We didn't   specifically   go out and look at

23 each of the pant s size , but I can tell you that we did

24 look at the shoe s, and the shoe s were of different

25 size s, from what I recall -- at least           some of the pair s




                                                                 Page 221
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 222 of 249



1 that were out in that bedroom         where he was locate d.

2 The specific     shoe -- I don't recall       the exact size , but

3 all the clothi ng that he request ed to put on was the

4 clothi ng that was locate d in the living          room , in a ball

5 on the floor , along with the female 's clothi ng .

6 Q.       Johnson    told you he was stay ing there , did he

7 not ?

8 A.       He said he was stay ing there and that a friend

9 of his was allow ing him to stay there , but he said his

10 permanent   residence    was a different     location .

11 Q.      Did you look in the refrigerator ?

12 A.      Yes , we did .

13 Q.      And there was food in the refrigerator ?

14 A.      I don't recall      much, but I believe      there was

15 stuff in there .

16 Q.      Did you look in the cupboards ?

17 A.      Yes .   Absolute ly.

18 Q.      There was food in the cupboards ?

19 A.      I don't recall      much food being in the cupboards ,

20 but, like , some plate s and different        thing s like that .

21 Q.      You seize d various      item s that were shown to you ,

22 and you said there was a bag and there was a gun and

23 there was some ammunition       and the like ; correct ?

24 A.      There was quite a bit of -- I can't recall

25 exact ly how many item s, but I think we had about three




                                                               Page 222
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 223 of 249



1 page s -- three page s -- two and a little              bit more .     So ,

2 two and a half page s of item s.

3 Q.         Do you remember        the very first exhibit       photo

4 that you were shown ?         I believe       that was the one with

5 the various       can s --

6 A.         Correct .

7 Q.         -- and so forth on top .           I think that was P-69 .

8 It was a photo of R oom D.           And there was      a table there ?

9 A.         Correct .

10 Q.        There were some cans and bottle s with false

11 bottom s and the like ?

12 A.        Right .

13 Q.        With respect      to those can s and bottle s, did Mr.

14 Johnson    tell you those were his ?

15 A.        No .     Mr. Johnson    didn't    have really    much to say

16 to us that day .

17 Q.        Did you send those to the forensic              lab to

18 examine    for fingerprint s?

19 A.        No .

20 Q.        Okay .     So there is no indication , as far as

21 you're    concerned , that Mr. Learley          Reed Goodwin 's

22 fingerprint s were on any of those can s; correct ?

23 A.        No .

24 Q.        And the same can be true with respect              to -- the

25 same can be said with respect              to the bottle s as well .




                                                                  Page 223
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 224 of 249



 1 You don't have any fingerprint            analysis   indicati ng that

 2 Mr. Goodwin       at any time handle d any of those , do you ?

 3 A.         No .   Not that I recall , no .

 4 Q.         The handgun    that you were shown earlier         -- the

 5 photo of the handgun        -- same thing .     Was that sent to a

 6 forensic     lab ?

 7 A.         It was .   I don't recall      exact ly what the

 8 analysis     was on that .

 9 Q.         Do you remember      if it was sent to the lab at

10 Quantico     to determine      whether   or not there was any DNA

11 on it ?

12 A.         I don't recall      that we asked for DNA.      Just

13 fingerprint       evidence .

14 Q.         With respect     to that handgun , you don't recall

15 any fingerprint       analysis    comi ng back indicati ng that

16 Mr. Learley       R eed Goodwin   ever handle d that gun , do you ?

17 A.         No .   I don't recall    any fingerprint     evidence

18 comi ng back on it at all .

19 Q.         You said that there were various          size clothi ng

20 in the closet s and shoe s as well .

21            Did you send any of those to Quantico          for DNA

22 analysis ?

23 A.         No .

24 Q.         So there 's no indication       that Mr. Goodwin , at

25 any time , own ed any of those clothi ng -- any of that




                                                                 Page 224
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 225 of 249



 1 clothi ng that was in that apartment ; correct ?

 2 A.        No .    I could n't say that he was wear ing any of

 3 the clothi ng or anything         like that , no .

 4 Q.        And other than the fact that Mr. Richard              Johnson

 5 told you that a friend       was let ting him stay there , you

 6 have no reason       to believe    that Learley      Reed Goodwin

 7 stay ed there , did you ?

 8 A.        Well , we did locate      several   item s of paperwork

 9 bear ing his name .      We also spoke with the residen t

10 manager .     At a later date we inter view ed her -- I

11 believe     her name was Marry Mc Carter         or something    like

12 that .    This was sometime       later when we were attempt ing

13 to execute       a grand jury subpoena     on Bridget     Reed er , and

14 she indicated       that she actual ly work ed for Mr. Goodwin

15 at that time and that she knew that Richard               would stay

16 up in the apartment       at time s.

17 Q.        In fact , the resident       manager    told you she

18 work ed for Learley      Reed Goodwin , because        you found out

19 that Mr. Goodwin       own ed that build ing ; is that correct ?

20 A.        No .    She told me he own ed it .

21 Q.        That 's wh at I said .     You found out that he own ed

22 the build ing ; right ?

23 A.        I found out when I spoke with her .            I think you

24 were indicati ng I found out prior to that , but I found

25 out -- I knew prior to that , but no one had told me .                  I




                                                                   Page 225
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 226 of 249



 1 knew from a check of records , and she told me that day

 2 that in fact        she work ed for him .

 3 Q.         And as the resident        manager , I would take it

 4 that she had access        to other apartment s as well ;

 5 correct ?

 6 A.         I could n't really    tell you that .     I'm not her

 7 boss .

 8 Q.         You're    not her boss .     But as the owner of the

 9 build ing , were you able to find -- did you determine

10 that there was other mail and other apartment s, or

11 other part s of the build ing that might have had Mr.

12 Goodwin 's name on it ?

13 A.         I had a search     warrant    for that particular

14 apartment .       How could I search       the other apartment s?

15 Q.         I'm just asking     if you went into the resident

16 manager 's apartment       or any place elsewhere      you might

17 have seen out in the plain -- in plain view other

18 document s that had his name on it .

19 A.         No .   When I was at Ms. McCarter 's apartment , I

20 didn't     see any mail out in plain view with his name on

21 it .     No , I don't think    I would .

22 Q.         Now , the document s that you said you found in

23 that particular        apartment .    You said you found Mr.

24 Goodwin 's name on it .

25 A.         Correct .




                                                               Page 226
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 227 of 249



 1 Q.        Did it also have his address         for that particular

 2 apartment ?

 3 A.        I don't recall .      I think it may have      had other

 4 address es .    There might have been multiple         address es ,

 5 actual ly .

 6 Q.        Did the resident      manager    actual ly indicate    to

 7 you which one of the apartment s that she use d herself ,

 8 if she use d any ?

 9 A.        Well , she was in No. 2 , right as you walk in the

10 door , on the right-hand       side .     I mean , I assumed    that

11 she live d there .       She answered     -- she was in a robe and

12 appear ed to be re sidi ng there .

13 Q.        Was this on the first , second , or third floor of

14 the build ing ?

15 A.        First .     There 's only two floor s to the build ing .

16 There's   four apartment s in the build ing .

17 Q.        So it 's a quad ?

18 A.        Correct .

19 Q.        Were there any empty apartment s in that

20 build ing ?

21 A.        I don't recall      if there was any empty apartment s

22 at the time .

23 Q.        You said Richard      Johnson    didn't   make any

24 statement s; is that correct ?          He didn't   have much to

25 say ?




                                                                  Page 227
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 228 of 249



 1 A.        He didn't    really    have much to say .          He provided

 2 us his date of birth , his Social Security                  number , his

 3 address    where he said he was -- what he said was his

 4 permanent    address ; and Mrs. Reeder             didn't   really    have a

 5 lot to tell us either .

 6 Q.        Now , you said you found some article s of

 7 clothi ng for different         size .     I think you said that

 8 there was some that was larger              than the other s or

 9 different    shoe size s.

10 A.        There was lot s of clothe s in that apartment .

11 Q.        Did you see any documentation              or paperwork      with

12 the name "Michael       Thurman"      on it ?

13 A.        Michael   Thurman ?     No , not that I recall .

14 Q.        Not that you recall .           Did you at any time hear

15 Mr. Richard      Johnson    mention      Michael    Thurman 's na me as

16 being the resident         of that apartment ?

17 A.        No .

18           MR. MARTIN:       Thank you , officer .

19           THE COURT:       Additional      cross ?    Anyone ?

20           MR. HALL:     No , Your Honor .          I have   no cross .

21           MR . MITCHELL:      No , Your Honor .

22           MR. WARD:     No , Your Honor .          Thank you .

23           THE COURT:       Re direct ?

24                              REDIRECT EXAMINATION

25           BY MS. GREENBERG:




                                                                        Page 228
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 229 of 249



 1 Q.       Defense     counsel   asked you about Mr. Johnson , who

 2 was at the apartment , and you indicated           that he was not

 3 the owner , he was just stay ing there , according             to your

 4 investigation , on that day .

 5 A.       Correct .

 6 Q.       And based on your investigation , did you

 7 determine    who own ed the apartment ?

 8 A.       Who own ed the build ing ?

 9 Q.       Yes .

10 A.       Yes .    Mr. Goodwin    did .

11 Q.       You indicated     that you re covered      a number    of

12 item s with his name on that ; is that correct ?

13 A.       Yes .    From what I recall , there was different

14 item s with his name on it , and we just -- we pull ed a

15 lot of document s from the rear of the -- the rear --

16 it 's almost     like an en close d porch on the back of the

17 build ing , on the back of the -- that apartment .              Like ,

18 the hall way , that 's kind of the kitchen , and it            leads

19 to a back room , and there was a number           of document s

20 that we seize d back there , as well .

21 Q.       Court 's indulgence .

22          Now , your case file .          Did you turn that over to

23 Detective    Eveler   in connection       with his investigation ?

24 A.       I didn't     turn it over , but one of my partner s

25 that I use d to work with did .




                                                                Page 229
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 230 of 249



 1 Q.        You didn't    specifically    bring the item s that we

 2 were present ing here as evidence         before    the jury ; is

 3 that correct ?

 4 A.        No .   I actual ly hadn't    seen that case file until

 5 earlier    today when I arrive d here at the build ing .

 6 Q.        You understand , being an FBI agent for so many

 7 year s, we try and limit what we show the jury to get

 8 them out of here before        the year 2006 expire s.

 9           MR. WARD:     Objection , Your Honor .

10           THE COURT:     Sustained .

11           BY MS. GREENBERG:

12 Q.        Show ing you , for identification        only , because    I

13 don't want to take up more time , Miscellaneous 3 ,

14 Miscellaneous     4 -- I'm not going to introduce          them into

15 evidence .

16           Your Honor , may we approach ?

17                    (At the bar of the Court.)

18           MS. GREENBERG:      Your Honor --

19           THE COURT:     Wait , wait , wait .

20           MS. GREENBERG:      All I want to do is -- he

21 cross ed him and said there were a number            of doc uments

22 with Learley     Goodwin's   name on these .       I don't want to

23 introduce    these ; I just want to rehabilitate          him that

24 he retrieved     these document s.

25           MR. MARTIN:     T here are other name s on here as




                                                                Page 230
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 231 of 249



 1 well .

 2           MS. GREENBERG:      Your Honor , we will connect         them

 3 up later .    We can connect     them up later .      I just want

 4 him to identify      these are document s that he found with

 5 the search    warrant .

 6           THE COURT:      They will be identifi ed and

 7 identifi ed only .

 8           MS. GREENBERG:      So he does n't have     to come back

 9 from Ohio an d we don't have to waste a half hour .

10           MR. MARTIN:      He said there was n't anything         with

11 Thurman 's name on it .

12           THE COURT:      You haven't   even look ed at it .

13           MS. GREENBERG:      Your Honor , we're not seek ing to

14 admit them now .       I just didn't    want to take the time to

15 have all counsel       look ing at all these exhibit s which ,

16 of course , have been available         for year s.

17           THE COURT:      Is there an objection ?

18           MR. MARTIN:      Well , there 's no objection , but I'd

19 like to --

20           MS. GREENBERG:      Once we get them authenticated

21 --

22           MR. MARTIN:      I'd like to re cross .

23           THE COURT:      You can re cross .

24           MS. GREENBERG:      He can ask Detective       Eveler

25 later .




                                                                Page 231
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 232 of 249



 1           MR. WARD:    Your Honor , there 's no purpose .          How

 2 are we    suppose d to go through      the evidence    when there

 3 is all this paper sitting        around ?

 4           THE COURT:     They will be present ed with an

 5 exhibit     number , but they won't be offered        at this time .

 6 Correct ?

 7           MS. GREENBERG:      Correct .

 8           THE COURT:     All right .      You may inquire .

 9                        (Back in open court .)

10           BY MS. GREENBERG:

11 Q.        Sir , so we don't have to bring you back from

12 Ohio .    Would you look at Miscellaneous         3 and tell me --

13 you 're referenci ng two document s in the name of Learley

14 Goodwin .

15           Are those some of the document s you're           refer ring

16 to?

17 A.        Yes .   This is Item 9 I've labeled        "miscellaneous

18 document s and court document s in the name of Learley

19 Goodwin     locate d in Room B shoe box , by S/A Fulmer ."

20 Q.        Do you recall    what Room B was ?

21 A.        B is the rear room off the kitchen , as I

22 indicated .

23 Q.        If you could authenticate         Miscellaneous     4.   Is

24 that also from the search        warrant    that we're talk ing

25 about here today ?




                                                                 Page 232
    Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 233 of 249



 1 A.      Yes .

 2 Q.      What is that ?

 3 A.      This is de scribe d as "numerous           document s, phone

 4 records , number s, owe sheet s, locate d on a table and

 5 Room D by S/A Lockhart        and myself ."

 6 Q.      That room D was the room we saw those picture s

 7 in when you first walk ed in the door ?

 8 A.      That 's correct .

 9 Q.      You didn't     re view each and every one of those

10 document s, did    you ?

11 A.      No , I haven't       seen those .

12 Q.      In how many year s?

13 A.      A while .

14 Q.      Three year s?

15 A.      Three year s, yeah .

16 Q.      Now , you also were asked some question s about

17 fingerprint     analyses .

18 A.      Correct .

19 Q.      Why would n't fingerprint           an alyses   come back to

20 you ?

21 A.      I'm sorry ?

22 Q.      Why would n't these fingerprint            analyses   come

23 back to you ?

24 A.      Why would n't they come back to me ?

25 Q.      Yes .




                                                                 Page 233
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 234 of 249



 1 A.         They would .    It 's just -- I don't recall       there

 2 being fingerprint s that were positive           to my

 3 recollection .       I would have that in the case file if in

 4 fact that were the fact .

 5 Q.         Is that a term that 's use d -- "of value ?"

 6 "F ingerprint s of value ?"        Have you heard that term

 7 before ?

 8 A.         Yes .

 9 Q.         That mean s fingerprint s that somebody        can --

10            MR. MARTIN :    Objection .

11            MS. GREENBERG:     What does that mean ?

12            THE COURT:     Wait a minute .    Wait a minute .

13            Are you withdraw ing the question ?

14            MS. GREENBERG:     Yes , Your Honor .

15            THE COURT:     You're   going to ask it again ?

16            BY MS. GREENBERG:

17 Q.         What does that mean , "of value ?"

18 A.         You could have finger print s all over an object ,

19 but they have to be of value or enough            ridge s, enough

20 ridge de tail on the print s in order         for them    to be

21 analyze d and identifi ed .

22 Q.         Is that un usual in your experience        not to get

23 fingerprint s of value off item s like these ?

24 A.         No .    It 's actual ly more the norm than it is to

25 get fingerprint s back on item s.




                                                                Page 234
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 235 of 249



 1 Q.       So , relating    to the juror s what they see on TV,

 2 how does that --

 3 A.       Yeah .     It 's complete ly --

 4          MR. MONTEMARANO :       Objection , Your Honor .

 5          THE COURT:      I'm sorry ?

 6          MR. MONTEMARANO :       I'm not sure how the special

 7 agent know s what the juror s see on TV.

 8          MR. WARD:      I'm not sure what they watch on TV.

 9          THE COURT:      Just ask a different       question .    You

10 can get it another       way .

11          Sustained .

12          BY MS. GREENBERG:

13 Q.       Sort of common      parlance   is you can get

14 finger print s off of anything .        Based on your law

15 enforcement     experience , how do you -- do you agree with

16 that ?

17 A.       No .     I would -- I mean , just to use my -- the

18 entire   time I've been in law enforcement , I think of

19 the many weapon s that I have been present            and seize d,

20 or item s that we have submitted         for fingerprint s, and I

21 would say less than five percent           of the time do you get

22 fingerprint s back .      At least   in my experience      in

23 work ing in law enforcement , when I have submitted              item s

24 for fingerprint      analysis , it 's rare that you get

25 fingerprint     -- usable   print s back that can be




                                                                Page 235
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 236 of 249



 1 identifi ed .

 2            MS. GREENBERG:        No further     question s, Your

 3 Honor .

 4            THE COURT:        Any re cross ?

 5            MR. MARTIN:        Just a second , Your Honor .

 6            May I approach , Your Honor ?

 7            THE COURT:        You may .

 8                           RECROSS EXAMINATION

 9            BY MR. MARTIN:

10 Q.         What is the correct           term to address    you by ?     Is

11 it "S pecial      Agent ?"

12 A.         Agent .     It does n't matter .

13 Q.         All right .       I'm show ing you what 's been mark ed

14 as Government 's Exhibit          -- I guess 's it's 39 .

15 A.         Okay .

16 Q.         It has a number       of document s in it ; correct ,

17 sir ?

18            One of the document s you see there is a business

19 card .

20 A.         Correct .

21 Q.         Do you remember       me asking     you earlier    if you saw

22 anything     with Michael       Thurman 's name on it ?

23 A.         No .     You asked me if I was told anything              about

24 Michael     Thurman , I think .       I don't recall       see ing

25 anything     with Thurman 's name on it .




                                                                    Page 236
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 237 of 249



 1 Q.        It 's been too long , though , for you to remember ;

 2 right ?

 3 A.        I don't recall      that name comi ng up at all .

 4 Q.        Do you see anything         there with the name

 5 "Thurman"    on it now ?

 6 A.        It says , "Goodwin      and Thurman,   food service s

 7 specialist s."

 8 Q.        And you said you went in that apartment , I

 9 think , on October      17 , 2002 , and there were various

10 document s you said you found in there ?

11 A.        Yes .

12 Q.        These are the document s; right ?

13 A.        These are some of them , yes .

14 Q.        These document s were found in a rear roo m -- a

15 room be hind the kitchen ; isn't that correct ?

16 A.        That 's correct .

17           MS. GREENBERG:       Your Honor , if we could have an

18 exhibit   number , because     there are two exhibit s in two

19 different    place s.

20           THE COURT:     Yeah .      If you could make that clear .

21           MR. MARTIN:      I think I did say , this is

22 Government 's Exhibit 39 .

23           MS. GREENBERG:       It 's the   white sticker , counsel ,

24 with this case number        on it .

25           MR. MARTIN:      I see .     What I'm look ing at now is




                                                                Page 237
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 238 of 249



 1 Government 's Exhibit       -- it says Miscellaneous          3.

 2           MS. GREENBERG:      Yes .

 3           MR. MARTIN:      Miscellaneous    3.

 4           MS. GREENBERG:      Thank you .

 5           BY MR. MARTIN:

 6 Q.        And there are some other name s in here , as well ?

 7 A.        Correct .

 8 Q.        One of those name s being "Tiffany          Vessel s," I

 9 think ?

10           MS. GREENBERG:      Your Honor , I'm happ y, if

11 counsel    want s, to introduce       that exhibit    if he 's

12 reading    from it , but we need to introduce          that exhibit

13 if he 's reading      from it .

14           MR. MARTIN:      I'm just asking       him if there are

15 other name s in here .

16           MS. GREENBERG:      Your Honor , I'll withdraw           it .

17           BY MR. MARTIN:

18 Q.        You will admit , agent , that there are other

19 name s that were found in that apartment             other than Mr.

20 Goodwin 's name ; right ?

21 A.        Yes .

22 Q.        Indeed , when I asked you before          whether    you

23 found out anything       in there indicati ng that Michael

24 Thurman might     have been in there , you had said that you

25 didn't    see anything     with Michael    Thurman 's name on it ;




                                                                  Page 238
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 239 of 249



 1 in fact , there was something          with --

 2           MS. GREENBERG:      Object    to the compound    nature       of

 3 the question .

 4           THE COURT:     Sustained.

 5           BY MR. MARTIN:

 6 Q.        You will admit that there is something           in here

 7 with Michael       Thurman 's name in there ; correct ?

 8 A.        There 's something    that says "Thurman " on it .

 9 Q.        These document s that you found in this back room

10 also included       the name s and address es of some other

11 individuals    be sides Mr. Thurman       and Mr. Goodwin , did it

12 not ?

13 A.        I don't know .     Again , I haven't    seen them in

14 year s.

15 Q.        How about if I just bring it over to you and ask

16 you to per use it , rather      than me reading      this piece by

17 piece ?

18 A.        That would be great .

19 Q.        That 's okay with the government .

20           What I'm now look ing at is Miscellaneous           4.

21 A.        I'll look through     it .

22 Q.        When you're    finish ed , just look up .

23 A.        Okay .

24           MS. GREENBERG:      Your Honor , at this point I

25 think it 's simpler      if we just move in Miscellaneous           3




                                                                Page 239
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 240 of 249



 1 and 4.

 2           THE COURT:     Any objection ?

 3           MR. MARTIN:      No objection .

 4           THE COURT:     It will be received .

 5           MS. GREENBERG:      Thank you .

 6           BY MR. MARTIN:

 7 Q.        Officer , would it be fair to say that these are

 8 different     paper s and document s related      to different

 9 individuals      that were found in that rear room ?

10 A.        There 's different    name s for different

11 individuals .      There 's Mr. Goodwin 's name s; there 's

12 document s for a business       that is associate d to Mr.

13 Goodwin     as well .

14           There 's a lot of document s in here .         That 's

15 correct .

16 Q.        Is there a driver 's license        in there , as well ?

17 A.        There 's a driver 's license       in here .   Correct .

18 Q.        That does n't have    Mr. Goodwin 's name on it ;

19 correct ?

20 A.        No .

21 Q.        There are other document s, as I said before ,

22 add ressed    to other people    at the     same address ?

23 A.        No .   Different   address es .

24 Q.        When you found these document s, they weren't              in

25 any particular      order , were they ?




                                                                Page 240
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 241 of 249



 1 A.        No , not all of them .      I mean , some of them were .

 2 But , these specifically       in here ?      No .

 3 Q.        Tell us , agent .    When you found          them , were they

 4 box ed and catalog ed ?

 5 A.        No .

 6 Q.        How did you find them ?       Were they just strewn

 7 about ?

 8 A.        No .   They were in different        box es in different

 9 location s.      From what I recall , some of the box es on

10 one side had different        item s in it , and then there

11 would be some paperwork        in them .      There was also -- I

12 mean , it 's not like it was a bunch of document s in

13 box es only back there .       There was other item s, and if I

14 recall    maybe some yard work material              or equipment    or

15 something     like that back there as well .

16 Q.        The resident    manager    that you spoke to .            You

17 said she was in the first apartment             when you came in?

18 A.        Number   2.

19 Q.        Number 2.

20           Did you ask her at any time if she had ever

21 stay ed upstairs      in the other apartment ?

22 A.        No .

23           MR. MARTIN:     I have    nothing    further , Your Honor .

24           Thank you, sir .

25           THE COURT:     Anything    further ?




                                                                   Page 241
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 242 of 249



 1          MS. GREENBERG:       No , Your Honor .

 2          THE COURT:      Well , unless    you have a four -minute

 3 witness , we will recess       for the day .

 4          Ladies and gentlemen      , please    return , and we will

 5 have testimony     resuming    at 10 o'clock     tomorrow    morn ing .

 6          Counsel , please     stay be hind one second .

 7                  (Witness excused at 4:27 p.m.)

 8                  (Jury excused     at 4:27 p.m. )

 9          THE COURT:      All right .     Counsel , are there any

10 other preliminary      matter s other than these transcript

11 reference s and Mr. Montemarano 's intend ed motion            with

12 regard   to the striki ng of the testimony          of Officer

13 Martini ?

14          Mr. Montemarano , are there any preliminary

15 matter s we will be hear ing , other than your motion                with

16 regard   to Officer    Martini   and the two -- I think three

17 excerpt s from the transcript s that there 's objections

18 to ?   Are there any other matter s that you anticipate

19 being preliminary      matter s tomorrow      morn ing ?

20          MR. SUSSMAN :     I'd ask the government          if they

21 think they're     going to get to Detective         Sakala

22 tomorrow .

23          MS. JOHNSTON:       I don't believe      so .

24          MR. SUSSMAN :     Th ere will obvious ly be

25 preliminary    matter s with pend ing question s about his




                                                                 Page 242
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 243 of 249



 1 limit s of his testimony , his expertise , thing s of that

 2 nature .

 3            THE COURT:     All right .     Well , it sounds   to me

 4 like I'll have enough            time between   9:45 and 10:00   to

 5 resolve    these matter s.         If you think I need more than

 6 that , then now is the time to tell me .

 7            MS. JOHNSTON:         Your Honor , there is only one

 8 issue that the government            -- well , really , sort of two

 9 related    issue s that the government          would like to bring

10 up , and that is that Mr. Montemarano , in his opening

11 statement , made reference           to some business   of Ms.

12 Martin 's and the fact that she had inherited             some

13 money .    We have not received         any discovery   from defense

14 counsel    concern ing any evidence , any document s or other

15 physical    evidence     -- tangible     evidence   that they intend

16 to introduce     during    trial .     We were entitle d to that

17 prior to trial .        We are asking     the court to compel      them

18 to give it to us at this point in time , and certain ly

19 not at the beginning        of their case .       We're entitle d to

20 have it prior to trial so if there 's something              we need

21 to address     in our case in chief , we can do that .           We

22 haven't    received     that .

23            Like wise , Mr. Montemarano       made reference s to ,

24 "W here is John Martin ?"           Well , the court and government

25 know s where Mr. Martin           is , as does Mr. Montemarano .




                                                                Page 243
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 244 of 249



 1 He 's serving    a 31 -year sentence       for his involve ment in

 2 this conspiracy .        We think it was an in appropriate

 3 comment    at that time , and we will make a motion               in

 4 limine    to preclude     him from asking        any of the    agent s

 5 about where Mr. Martin        is .     Perhaps    the government

 6 should n't , but it 's an im proper        question .     We would

 7 probably    deal with that in term s of instruction s if

 8 it 's appropriate , but the          government 's main concern          is

 9 the fact that we have not received               any tangible     item s

10 that any defendant        want s to introduce       at trial .         We're

11 entitle d to it , and we would like the court -- I

12 recognize    it 's a long trial to give it -- make sure we

13 get it so that we can deal wit h it in              our case in chief

14 if we think it 's appropriate .

15            I've also advise d defense       counsel     that the

16 government    is hopi ng we will be in their case sometime

17 around    July 17 and suggest ed that if they're              going to

18 do subpoena s they even do them for the week of July 11

19 and put the     people    on standby .     I have tri ed -- I will

20 keep the court abreast , as I did defense               counsel , that

21 if we finish     with the witness es scheduled           for tomorrow ,

22 the government     believe s we're on track to finish              its

23 case so that they could start around               the eighteenth .

24 Now , that may change       depend ing on how quick ly Agent

25 Sakala    and the surveillance         agent s get through       all of




                                                                    Page 244
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 245 of 249



 1 the wiretap     materials .

 2            THE COURT:     All right .

 3            MS. JOHNSTON:      I'm raisi ng that , because      we are

 4 entitled    -- we were entitle d to have that discovery

 5 prior to the commence ment of trial .

 6            THE COURT:     Mr. Montemarano .

 7            MR. MONTEMARANO :     Your Honor sign ed an order

 8 this week , as Ms. Martin 's counsel , with the for feiture

 9 matter   that the government         has been going around ,

10 regard ing the seiz ure of about $7,000          from her .        I

11 received    that at the MS-13 hear ing on Monday          from Mr.

12 Biddell .     The document s -- it 's my understand ing many

13 of the document s have been provided          to the government ,

14 but those which I intend         to use I will    have organize d

15 and provide     to the government       well before   the end of

16 next week .     As I said , I should      have those early this

17 week .

18            THE COURT:     All right .

19            MR. MARTIN:     There is one other thing , Your

20 Honor , and I'm not sure how this is going to play out .

21 There were some witness es call ed and some statement s

22 made , and during       the course    of their testimony      my

23 client   has indicated      to me that he would like to            call

24 this person     to rebut that and this person         to rebut

25 this .   Of course , when we gave our list of expect ed




                                                                 Page 245
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 246 of 249



 1 witness es that you read to the juror s, at least               one or

 2 two of those name s were not included              on that list .    I

 3 doubt that any of the juror s know any of these people ,

 4 but still .

 5           THE COURT:     If anybody      contemplate s any

 6 witness es that were not reveal ed to the jury , you need

 7 to tell me so I can ask the jury now .               I don't   want to

 8 wait until the end of the           trial .

 9           MR. MARTIN:      Yes, sir .     I will    also have that

10 for you tomorrow       morn ing .    I'm going to firm that up

11 with Mr. Goodwin , and I want to get that out of the

12 way .

13           THE COURT:     Please , all counsel , if you have any

14 contemplation       of witness es whose name s were not

15 dis close d to this jury , let know me know so I can

16 inquire    of the    jury whether      anyone   know s them , and also

17 if there 's name s like "John Brown " or something , please

18 tell me something       about that person         so that if it 's a

19 common    name I can give them some limit er s that would

20 make them comfortable        that they don't know that person .

21           MR. MARTIN:      Yes, sir .

22           MR. MONTEMARANO :         Your Honor,    as to the John

23 Martin    issue .    I was not intend ing to        bring up Mr.

24 Martin 's sentence , regard less how much I might want to .

25           THE COURT:     Somehow      I didn't think    you were




                                                                  Page 246
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 247 of 249



 1 going to do that .

 2            MR. MARTIN:      Thank you , Y our Honor .

 3            THE COURT:      Yeah .    I think you should     be care ful

 4 not to ask a question         like that .    That somehow     im pl ies

 5 that there 's something        mysterious    about his absence .

 6            MR. MONTEMARANO :        I'm not sure how to answer

 7 that , inasmuch as       Mr. Mart in had    access    to my client 's

 8 home and my client 's business , as has been testifi ed to

 9 by witness es already        in a week of trial .       I think

10 pointing    the finger     at Mr. Martin     is entire ly

11 appropriate .     However , point ing to his having          been

12 convict ed or what kind of sentence           he received     is

13 clear ly wrong , and I was n't going to go down that

14 second    part of the road .

15            THE COURT:      I'm not going to let you go down

16 there , and Ms. Johnston        will be hollering       if you try .

17            MS. JOHNSTON:      Your Honor , what was clear ly

18 wrong was for him to say , in opening             statement , "W here

19 is John Martin ?        Why isn't the government        call ing

20 him ?", w hich is what he said in his opening             statement .

21 I'm para phras ing, but it specifically            made reference      as

22 to why the government         was n't call ing him .     "Where is

23 John Martin?      Why isn't the government           call ing him ?"

24 That was im proper , and the         government    is mov ing to

25 exclude    any of those kind of question s from any of the




                                                                 Page 247
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 248 of 249



 1 case agent s.

 2          THE COURT:      That kind of argument       should   not be

 3 made , Mr. Montemarano .       You know that.

 4          Anything    further ?

 5          Okay .   We will see you tomorrow        at 9:45 .

 6                        (Off the record      at 4:35 p.m. )

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                                                 Page 248
     Case 8:04-cr-00235-DKC Document 1184 Filed 04/30/08 Page 249 of 249



 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, criminal Action Number            RWT -04-0235 on

10 June 15, 2006.

11

12       I further certify that the foregoing            248 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 15th day of June         2007 .

19

20                              ___________________________
                                TRACY RAE DUNLAP, RPR , CRR
21                              OFFICIAL COURT REPORTER

22

23

24

25




                                                                Page 249
